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14
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
                                 SOUTHERN DIVISION
16
     MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
17   a Delaware corporation; and            )
     CERCACOR LABORATORIES, INC.,           ) DECLARATION OF
18   a Delaware corporation                 ) BENJAMIN KATZENELLENBOGEN
                                            ) IN SUPPORT OF PLAINTIFFS’
19               Plaintiffs,                ) OPPOSITION TO APPLE’S MOTION
                                            ) TO DE-DESIGNATE
20         v.                               )
                                            )
21   APPLE INC., a California corporation   ) [Discovery Document: Referred to
                                            ) Magistrate Judge John D. Early]
22               Defendant.                 )
                                            ) Date: April 22, 2021
23                                          ) Time: 1:30pm
                                            )
24                                          ) Ctrm: 10C
                                            )
25                                          ) Discovery Cut-Off:    7/5/2021
                                            )
26                                          ) Pre-Trial Conference: 3/21/2022
                                            ) Trial:                4/5/2022
27                                          )
                                            )
28
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1    I, Benjamin A. Katzenellenbogen, hereby declare as follows:
2          1.       I am a partner in the law firm of Knobbe, Martens, Olson & Bear, LLP,
3    counsel for Plaintiffs Masimo Corporation (“Masimo”) and Cercacor Laboratories, Inc.
4    (“Cercacor”) (collectively, “Plaintiffs”) in this action. I have personal knowledge of the
5    matters set forth in this declaration and, if called upon as a witness, would testify
6    competently thereto. I submit this Declaration in Support of Plaintiffs’ Opposition to
7    Apple’s Motion to De-Designate.
8          2.       Attached hereto as Exhibit 1 is a true and correct copy of a filing in this
9    case entitled “Joint Stipulation Regarding Plaintiffs’ Motion For A Protective Order,”
10   filed at Dkt. 61-1.
11         3.       Attached hereto as Exhibit 2 is a true and correct copy of a filing in this
12   case entitled “Memorandum Of Points And Authorities In Support Of Defendant Apple
13   Inc.’s Motion For Partial Reconsideration Of Protective Order,” filed at Dkt. 72-1.
14         4.       Attached hereto as Exhibit 3 is a true and correct copy of a filing in this
15   case entitled “Apple’s Opposition to Plaintiffs’ Application To Seal Documents Filed In
16   Support Of Apple’s Opposition To Plaintiffs’ Motion For Preliminary Injunction,” filed
17   at Dkt. 148.
18         5.       Attached hereto as Exhibit 4 is a true and correct copy of a filing in this
19   case entitled “Reply In Support of Plaintiffs’ Application To Seal Documents Filed In
20   Support Of Apple’s Opposition to Plaintiffs’ Motion For Preliminary Injunction,” filed at
21   Dkt. 149.
22         6.       Attached hereto as Exhibit 5 is a true and correct copy of Judge Selna’s
23   “Order Granting Plaintiffs’ Application To Seal Documents Filed In Support Of Apple’s
24   Opposition To Plaintiffs’ Motion For Preliminary Injunction,” filed at Dkt. 152.
25         7.       Attached hereto as Exhibit 6 [Filed Under Seal] is a true and correct copy
26   of a filing in this case entitled “Fourth Amended Complaint For (1) Patent Infringement
27   (2) Trade Secret Misappropriation (3) Correction Of Inventorship And (4) Ownership of
28   Patents,” filed at Dkt. 296-1.
                                                 -1-
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1               8.    Attached hereto as Exhibit 7 [Filed Under Seal] is a true and correct copy
2    of an email from Adam Powel to Angelique Kaounis, sent March 5, 2021, at
3    approximately 5:14pm, copying counsel of record including me. The email attached a
4    PDF reflecting a proposed compromise with respect to Plaintiffs’ confidentiality
5    designations of the Fourth Amended Complaint. In the PDF, Plaintiffs highlighted in
6    blue the current AEO material that Plaintiffs offered to allow Apple in-house counsel to
7    see and highlighted in green the current AEO material that Plaintiffs offered to de-
8    designate.
9               9.    Attached hereto as Exhibit 8 [Filed Under Seal] is a true and correct copy
10   of an email from Angelique Kaounis to Adam Powel, sent March 22, 2021, at
11   approximately 2:46pm, copying counsel of record including me. The email states that
12   counsel for Apple showed Apple’s in-house counsel Plaintiffs’ proposed compromise via
13   WebEx.
14              10.   Attached hereto as Exhibit 9 [Filed Under Seal] is a true and correct copy
15   of a filing in this case entitled “Memorandum Of Points And Authorities In Support Of
16   Defendant Apple Inc.’s Motion To Dismiss The Thirteenth Cause Of Action In
17   Plaintiffs’ Third Amended Complaint,” filed UNDER SEAL at Dkt. 241.
18              11.   Attached hereto as Exhibit 10 [Filed Under Seal] is a true and correct copy
19   of Judge Selna’s “Order Regarding Motion to Dismiss Thirteenth Cause of Action of the
20   Third Amended Complaint,” filed UNDER SEAL at Dkt. 264 in this case.
21              12.   Attached hereto as Exhibit 11 [Filed Under Seal] is a true and correct copy
22   of an email from Adam Powel to Ilissa Samplin, sent February 17, 2021, at
23   approximately 11:55am, copying counsel of record including me. The email agreed to
24   allow Apple’s in-house counsel to view Plaintiffs’ AEO ESI disclosure.
25              I declare under the penalty of perjury that the foregoing is true and correct.
26   Executed on April 7, 2021, at Laguna Niguel, California.
27                                       /s/ Benjamin Katzenellenbogen
                                             Benjamin Katzenellenbogen
28   34746823

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                        EXHIBIT 1
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 16                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                               SOUTHERN DIVISION
 17
      MASIMO CORPORATION,                      ) Case No. 8:20-cv-00048-JVS-JDE
 18   a Delaware corporation; and              )
      CERCACOR LABORATORIES, INC.,             ) JOINT STIPULATION
 19   a Delaware corporation                   ) REGARDING PLAINTIFFS’
                                               ) MOTION FOR A PROTECTIVE
 20               Plaintiffs,                  ) ORDER
                                               )
 21         v.                                 ) [Discovery Document: Referred to
                                               ) Magistrate Judge John D. Early]
 22   APPLE INC., a California corporation     )
                                               ) Date:        July 23, 2020
 23               Defendant.                   ) Time:        10:00 a.m.
                                               ) Ctrm:        6A
 24                                            )
                                               ) Discovery Cut-Off:       7/5/2021
 25                                            ) Pre-Trial Conference:    3/21/2022
                                               ) Trial:                   4/5/2022
 26                                            )
                                               ) Hon. James V. Selna
 27                                            ) Magistrate Judge John D. Early
                                               )
 28




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  28




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  1         Plaintiffs MASIMO CORPORATION (“Masimo”) and CERCACOR
  2   LABORATIES, INC. (“Cercacor”) and Defendant APPLE INC. (“Apple”)
  3   hereby submit this Joint Stipulation Regarding Plaintiffs’ Motion for a
  4   Protective Order, pursuant to Fed. R. Civ. P. 26(c) and L.R. 37-1 et seq.
  5                       I. INTRODUCTORY STATEMENTS
  6         Pursuant to Judge Selna’s June 23, 2020 Order (ECF No. 59), the parties
  7   have appended to Adam Powell’s Declaration as Exhibit 4 a redlined version of
  8   the protective order that shows the parties’ competing proposals on the disputed
  9   provisions addressed herein. The redline changes reflect Apple’s proposals that
 10   differ from Plaintiffs’ proposals. In addition, a clean version of Plaintiffs’ full
 11   proposed protective order is appended to Adam Powell’s Declaration as Exhibit
 12   2, and a clean version of Apple’s full proposed protective order is appended to
 13   Ilissa Samplin’s Declaration as Exhibit A.
 14   A.    Plaintiffs’ Introductory Statement
 15         Plaintiffs understand the Court expects customized protective orders to be
 16   based on its Model Protective Order (the “Model Order”), which is attached as
 17   Powell Decl., Ex. 1. Thus, Plaintiffs offered to prepare a draft based on the
 18   Model Order. Powell Decl. ¶ 6. Apple refused and insisted on preparing the
 19   initial draft. Id. Plaintiffs agreed, but only on the condition that Apple would
 20   base its draft on the Model Order. Id. Unfortunately, Apple provided a draft
 21   several weeks later that bore no relationship to the Model Order. See id., Ex. 5
 22   at 11-41. Plaintiffs again asked Apple to provide a draft based on the Model
 23   Order, but Apple refused. Id., Ex. 6 at 2. Thus, Plaintiffs prepared a draft based
 24   on the Model Order. Id., Ex. 6 at 1, 15-37. Since then, the parties engaged in
 25   numerous meet-and-confers and exchanged numerous drafts to narrow their
 26   disputes. Id. ¶¶ 9-10 and Exs. 7-8. The parties were unable to resolve all issues
 27   and now present competing proposals.
 28         Plaintiffs’ proposal tracks the Court’s Model Order as closely as possible.

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  1   For issues not addressed by the Model Order, Plaintiffs proposed using the
  2   language this Court recently adopted in Masimo v. True Wearables, No. 8:18-
  3   cv-02001-JVS-JDE (“True Wearables”). The provisions this Court adopted in
  4   True Wearables make sense here because Apple argued the two cases were
  5   related and involve “nearly identical” allegations. See Powell Decl., Ex. 24
  6   (Apple’s Notice of Related Cases) at 3. Instead of using this Court’s Model
  7   Order, or the True Wearables Order, Apple primarily relies on provisions from
  8   something it calls “Apple’s standard protective order.” Apple’s proposals are
  9   inappropriate for many reasons.
 10         First, many of Apple’s proposals conflict with the Court’s Model Order,
 11   Local Rules, and Ninth Circuit precedent.        For example, Apple proposes
 12   changing the Model Order by: (1) providing that the mere designation of
 13   information as “Highly Confidential” or “Source Code” constitutes good cause
 14   for sealing the information (Section II.A, infra), (2) eliminating this Court’s
 15   provisions concerning how information is used at trial (Section II.B, infra), (3)
 16   improperly limiting the individuals who can access “Confidential” information
 17   (Section II.D, infra), and (4) modifying the process of returning or destroying
 18   designated information after Final Disposition (Section II.J, infra). Apple fails
 19   to justify these changes to the Court’s Model Order.
 20         Second, the parties agreed to add a “Highly Confidential” tier to the
 21   Model Order, but Apple inappropriately narrows who may access such
 22   information.    See Section II.F, infra. Apple proposes language that would
 23   deprive Plaintiffs of their chosen counsel, Stephen Jensen, who has been
 24   representing Plaintiffs in litigation against Plaintiffs’ competitors for decades.
 25   This Court rejected nearly identical language in True Wearables. Powell Decl.,
 26   Ex. 13 at 8. This Court then affirmed Jensen is not a “competitive decision-
 27   maker” and may access Highly Confidential information. Id., Ex. 14 at 5-6.
 28

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  1   Apple identifies no reason why this Court should reach a contrary conclusion in
  2   this case.
  3          Third, the parties agreed to add a “Source Code” tier to the Model Order,
  4   but Apple defines “source code” to include technical documents that are not
  5   source code and imposes unreasonable restrictions on reviewing “source code.”
  6   Section II.H, infra.    As a result, Apple’s proposal significantly hinders
  7   Plaintiffs’ ability to review anything Apple designates as source code. Apple
  8   also includes numerous provisions seeking Plaintiffs’ work product, including a
  9   provision requiring advanced notice of the specific source code printouts
 10   Plaintiffs will use at depositions. Apple’s counsel also insists they may review
 11   any work product inadvertently left behind by Plaintiffs in the source code
 12   review room, which is contrary to their ethical duties.
 13          Fourth, Apple asserts that a consultant that worked for Plaintiffs in True
 14   Wearables may serve as Apple’s e-discovery consultant in this case, despite
 15   Apple asserting the two cases are “nearly identical.” See Section II.E, infra.
 16   Apple takes that position even though the consultant obtained access to
 17   Plaintiffs’ highly confidential and privileged information in True Wearables.
 18   The consultant also obtained privileged information while serving as Plaintiffs’
 19   expert witness in another matter that Apple asserted is relevant to this case.
 20   Apple does not explain why it cannot use one of the dozens of other available
 21   consultants who have not worked for Plaintiffs on related matters.
 22          Fifth, the parties agreed to add a patent prosecution bar to the Model
 23   Order, but Apple proposes unworkable terms. See Section II.G, infra. For
 24   example, Apple proposes that Plaintiffs’ outside counsel may participate in inter
 25   partes review, but only if Plaintiffs waive their right to amend the claims. That
 26   is one-sided and forces Plaintiffs to choose between using its preferred counsel
 27   and waiving its right to amend the claims. The Court should adopt Plaintiffs’
 28

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   1   proposal, which properly allows outside counsel to participate so long as they
   2   are not involved in amending the claims.
   3         Finally, Apple insists that Protected Material may not be taken outside the
   4   U.S. or provided to any foreign national.      See Section II.C, infra.       Apple
   5   attempts to justify its proposal on U.S. export regulations, but its proposal is
   6   more onerous than U.S. export regulations. For example, Apple’s proposal bars
   7   Plaintiffs from using foreign nationals as expert witnesses or conducting
   8   depositions outside the U.S., even if doing so does not violate export
   9   regulations.   The Court should adopt Plaintiffs’ proposal, which places the
 10    burden on the Receiving Party to comply with applicable export regulations.
 11          Accordingly, Plaintiffs respectfully request the Court enter their proposed
 12    protective order, which is attached to the Powell Declaration as Exhibit 2.
 13    B.    Defendant’s Introductory Statement
 14          Plaintiffs have approached the protective order negotiations from the
 15    premise that this Court’s model protective order—what Plaintiffs term the
 16    “Model Order”—governs in the event of any disputes between the parties.
 17    Apple respectfully disagrees with Plaintiffs’ position, and further notes that
 18    Plaintiffs have been more than willing to take a contrary stance when it suits
 19    their interests (e.g., advocating for an unprecedented provision that would
 20    restrict Apple from using the e-discovery vendor of its choosing). This Court’s
 21    instructions state merely that “[a] model protective order is attached below.”
 22    The Court’s rules do not instruct parties to adopt all provisions in the Model
 23    Order, do not provide that the Model Order controls in the event of any disputes,
 24    and do not even require parties to submit a redline between their protective
 25    order proposals and the Model Order. Plaintiffs’ suggestion that their proposed
 26    protective order is more appropriate because it purportedly “tracks the Court’s
 27    Model Order as closely as possible” therefore is not persuasive. Nor is it true.
 28    Plaintiffs are proposing many provisions that do not appear in the Model Order

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                                                                                             Exhibit 1
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   1   at all, proving Apple’s point—which is that this case involving patent, trade
   2   secret, and highly sensitive information requires different protections against the
   3   use and disclosure of confidential information than a run-of-the mill litigation.
   4         Equally unpersuasive is Plaintiffs’ argument that any departures from the
   5   Court’s Model Order should track the language in the protective order entered in
   6   the True Wearables case. While it is true that Apple filed a notice of related
   7   cases given certain allegations common to this lawsuit and True Wearables,
   8   Apple is differently situated from True Wearables, including in ways that bear
   9   directly on the protective order disputes here. Apple is one of the largest
 10    technology companies in the world and the accused products in this case, the
 11    Apple Watch Series 4 and 5, are extremely valuable products already in the
 12    wearables space. True Wearables, Inc., by contrast, is a six-year old medical
 13    device start-up. Moreover, Apple is not a party in True Wearables and therefore
 14    was not involved in the negotiations regarding the protective order in that case
 15    or the briefing leading up to entry of that protective order. Plaintiffs’ suggestion
 16    that Apple should be automatically or presumptively bound by the True
 17    Wearables protective order or any other rulings entered in that case therefore is
 18    not sensible or fair. This lawsuit is a separate action involving different parties,
 19    considerations, and confidential information. These protective order disputes
 20    should be decided with those facts in mind; the protective order and decisions in
 21    True Wearables should not be treated as presumptively valid or binding here.
 22          Notably, Plaintiffs have resisted—and fail to mention at all—the Model
 23    Order the Northern District of California has adopted for cases “involving
 24    patents, highly sensitive confidential information and/or trade secrets,” in
 25    recognition of the heightened protections necessary for, and sensitivities
 26    involving, information of the type at issue in this action. See Samplin Decl. Ex.
 27    D. Apple proposed provisions from the Northern District’s Model. Plaintiffs
 28    dismissed them on the mere basis that they are not in this Court’s Model Order.

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                                                                                              Exhibit 1
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   1   But Plaintiffs have recognized the value in adopting provisions from the
   2   Northern District’s Model for like cases proceeding in this District. See, e.g.,
   3   Joint Stip. at 9, Masimo Corp. v. Mindray DS USA Inc, 2014 WL 12597116
   4   (C.D. Cal. Feb. 13, 2014), ECF No. 111 (“Masimo’s proposal is modeled after
   5   the Northern District of California’s Model Protective Order . . . which was the
   6   basis for nearly every other aspect of the parties’ Proposed Stipulated Protective
   7   Order.”) (emphasis added).      Judge Selna likewise has looked to Northern
   8   District rules in cases like this one. See Samplin Decl. Ex. C, at 52.
   9         Apple has agreed to the majority of the provisions contained in this
 10    Court’s Model Order. Apple respectfully submits, however, that in this case
 11    involving patent, trade secret, and source code information—some of the most
 12    sensitive information in Apple’s and Plaintiffs’ possession—certain heightened
 13    protections are necessary, including those proposed by Apple here, for example:
 14           precluding a party’s competitive decision-makers and Board members
 15             form accessing Apple’s highly confidential information given the
 16             inherent risk for the inadvertent disclosure of confidential information;
 17           extending the agreed-upon prosecution bar to those who receive access
 18             to confidential information from participating in the acquisition of new
 19             patents given the risk that litigation counsel will use their acquired
 20             knowledge to advise a client on which patents to acquire;
 21           barring counsel who receive access to highly confidential materials
 22             from participating in IPR proceedings that involve claim amendments
 23             given the likelihood that counsel’s knowledge will be used to guide
 24             co-counsel toward or away from making amendments;
 25           access by a limited number of Apple’s in-house counsel to Plaintiffs’
 26             highly confidential information, including their alleged trade secrets,
 27
 28

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                                                                                            Exhibit 1
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   1              which is fairly standard in high stakes trade secret cases like this one;1
   2          prohibitions on the export of confidential materials—in this case that
   3              does not involve parties, experts, or evidence located abroad—given
   4              the heightened risk of misuse and unauthorized access; and
   5          automatic return or destruction of the parties’ confidential material—
   6              including their highly sensitive source code and trade secret-related
   7              information—60 days following the final disposition of this action.
   8   Apple is advocating for standard and reasonable protections for its sensitive
   9   Apple Watch-related information, and respectfully requests that the Court enter
 10    its proposed protective order attached to the Samplin Declaration as Exhibit A.
 11                II. DISPUTES REGARDING PROTECTIVE ORDER
 12          The parties have reached an impasse on the following issues.
 13    A.    Section 3 – Filings Under Seal
 14          The Parties’ dispute on Section 3 is shown below, with underlined text
 15    showing Apple’s proposed additions to Plaintiffs’ proposal and strikethrough
 16    text showing Apple’s proposed deletions to Plaintiffs’ proposal:
 17          3.      ACNOWLEDGMENT              OF     UNDER       SEAL      FILING
 18                  PROCEDURE
 19          . . . The parties’ mere designation of Disclosure or Discovery
 20          Material as CONFIDENTIAL does not—without the submission
 21          of competent evidence by declaration, establishing that the
 22          material sought to be filed under seal qualifies as confidential,
 23          privileged, or otherwise protectable—constitute good cause. But
 24          designation of information as HIGHLY CONFIDENTIAL –
 25
             1
 26             On June 25, 2020, the Court dismissed Plaintiffs’ trade secret claim.
       ECF No. 60. However, the Court granted Plaintiffs 30 days to amend. Apple is
 27
       cognizant of, and objects to, any protective order provisions that will hinder its
 28    ability to defend against a future trade secret misappropriation claim.

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                                                                                               Exhibit 1
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   1         SOURCE CODE or HIGHLY CONFIDENTIAL – ATTORNEYS’
   2         EYES ONLY shall be presumptively deemed to present good
   3         cause for filing under seal. Nothing in this section shall in any way
   4         limit or detract from this Protective Order’s requirements as to
   5         Source Code.
   6         1.     Plaintiffs’ Position
   7         Plaintiffs propose adopting the language from this Court’s Model Order.
   8   Compare Powell Decl., Ex. 1 (Model Order) at 3 with Ex. 2 (Plaintiffs’
   9   proposal) at 2. Plaintiffs’ proposal (and the Model Order) are consistent with
 10    the Local Rules, which state that merely designating information “confidential
 11    pursuant to a protective order is not sufficient justification for filing under seal;
 12    a person seeking to file such documents under seal must comply with
 13    L.R. 79-5.2.2(b).”   L.R. 79-5.2.2(a)(i) (emphasis added).        Apple’s proposal
 14    deviates from the Model Order and Local Rules by including a provision that
 15    the designation of information as highly confidential or source code is
 16    “presumptively deemed to present good cause for filing under seal.” See Powell
 17    Decl., Ex. 4 at 2-3. Plaintiffs’ objection was based solely on the Court’s Model
 18    Order and Local Rules.
 19          2.     Defendant’s Position
 20          Apple’s proposal does not alleviate the parties’ obligations to follow the
 21    procedures set forth in Local Civil Rule 79-5 relating to “CONFIDENTIAL”
 22    information. Apple’s proposal merely recognizes that because this case will
 23    involve the production of source code, highly confidential competitive
 24    information, and potentially trade secrets, elevated designations for such
 25    material necessarily raise a presumption of good cause for filing under seal.
 26    Throughout the course of the parties’ negotiations, Plaintiffs’ counsel stated that
 27    while they would not advocate for Apple’s proposed language, they would
 28    indicate to the Court that they do not object to it. See, e.g., Samplin Decl. Ex.

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   1   G, at 153 [June 3, 2020 Email from A. Powell] (stating, with respect to Section
   2   3 of the protective order, that Plaintiffs “will not include Apple’s edits in our
   3   draft, but we will indicate that we do not oppose the changes if the Court deems
   4   them acceptable”). Apple therefore was surprised when Plaintiffs failed to
   5   indicate their non-opposition in this submission.
   6         The public’s right of access is important, and clearly upheld in Apple’s
   7   proposed protective order (Samplin Decl. Ex. A [Apple’s proposed protective
   8   order]; see also Powell Decl. Ex. 4 [parties’ combined proposed protective
   9   orders]), but such a right “is not absolute and can be overridden given
 10    sufficiently compelling reasons for doing so.” Foltz v. State Farm Mut. Auto
 11    Ins. Comp., 331 F.3d 1122, 1135 (9th Cir. 2003). Compelling reasons include
 12    to protect “sources of business information that might harm a litigant’s
 13    competitive standing” (Ctr. For Auto Safety v. Chrysler Grp., LLC, 809 F.3d
 14    1092, 1097 (9th Cir. 2016), cert. denied sub nom. FCA U.S. LLC v. Ctr. for Auto
 15    Safety, 137 S. Ct. 38 (2016) (citing Nixon v. Warner Commc’ns, Inc., 435 U.S.
 16    589, 597 (1978)), and “to prevent disclosure of materials . . . including, but not
 17    limited to, trade secrets or other confidential research, development, or
 18    commercial information” (Phillips v. Gen. Motors Corp., 307 F.3d 1206, 1211
 19    (9th Cir. 2002) (emphasis in original)). The parties’ agreed definitions of the
 20    elevated designations of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
 21    ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” presumptively fall
 22    into those categories worthy of protection:
 23           “‘HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY’:
 24             extremely confidential and/or sensitive “Confidential Information or
 25             Items,” disclosure of which to another Party or Non-Party is likely to
 26             cause harm or significant competitive disadvantage to the Producing
 27             Party.”
 28           “‘HIGHLY CONFIDENTIAL – SOURCE CODE’: extremely

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                                                                                            Exhibit 1
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   1            sensitive “Confidential Information or Items” representing computer
   2            code, scripts, assembly, binaries, object code, source code listings
   3            (e.g., file names and path structure), descriptions of source code (e.g.,
   4            descriptions of declarations, functions, and parameters), object code
   5            listings, and Hardware Description Language (HDL) or Register
   6            Transfer Level (RTL) files that describe the hardware design of any
   7            ASIC or other chip, disclosure of which to another Party or Non-Party
   8            is likely to cause harm or significant competitive disadvantage to the
   9            Producing Party . . . .”
 10    Compelling reasons are fairly certain to justify the filing under seal of any
 11    materials marked with these elevated designations in this case—where highly
 12    confidential information, source code, competitive information, and potentially
 13    trade secrets are at issue.     Put differently, Plaintiffs have no cognizable
 14    argument that materials satisfying the above definitions should be available to
 15    the public.   In this case where Plaintiffs have asserted that Apple has
 16    misappropriated Plaintiffs’ purported trade secrets (and may continue to attempt
 17    to assert their misappropriation claim even though it has thus far been
 18    dismissed), Plaintiffs should be equally interested in a presumption preventing
 19    disclosure of their highly confidential and source code information. That is why
 20    Apple’s proposed language—which would have bilateral effect—makes sense.
 21    And if a situation arises in which the presumption is too broad for a particular
 22    application, the presumption can be rebutted.
 23          Further, this presumption will relieve administrative burden for both the
 24    parties and the Court, as it will curtail numerous submissions seeking to justify
 25    highly confidential and source code redactions where the parties are in
 26    agreement about those redactions. Apple’s proposal would limit the need for
 27    briefing on this topic to those situations where the designations actually are
 28    disputed. Apple’s proposed approach makes practical and efficient sense in a

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                                                                                            Exhibit 1
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   1   case where the parties already know that information designated highly
   2   confidential will feature source code and potentially trade secrets that should be
   3   redacted in Court submissions.
   4   B.    Sections 5.5 and 6 – Use of Protected Material at Trial
   5         The Parties’ dispute on Sections 5.6 and 6 is shown below, with
   6   underlined text showing Apple’s proposed additions to Plaintiffs’ proposal and
   7   strikethrough text showing Apple’s proposed deletions to Plaintiffs’ proposal:
   8         5.     SCOPE
   9         ...
 10          5.6    Any use of Protected Material at trial shall be governed by
 11          the orders of the trial judge and other applicable authorities a
 12          separate agreement or order. This Order does not govern the use of
 13          Protected Material at trial.
 14          6.     DURATION
 15          Even after Final Disposition of this litigation, the confidentiality
 16          obligations imposed by this Order shall remain in effect until a
 17          Designating Party agrees otherwise in writing, a court order
 18          otherwise directs, or the information was made public during trial.
 19          For purposes of this Order, “Final Disposition” occurs after an
 20          order, mandate, or dismissal finally terminating the above-
 21          captioned action with prejudice, including all appeals. Once a case
 22          proceeds to trial, information that was designated or maintained
 23          pursuant to this protective order used or introduced as an exhibit at
 24          trial becomes public and will be presumptively available to all
 25          members of the public, including the press, unless compelling
 26          reasons supported by specific factual findings to proceed otherwise
 27          are made to the trial judge. See Kamakana, 447 F.3d at 1180-81
 28          (distinguishing “good cause” showing for sealing documents

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                                                                                            Exhibit 1
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   1         produced in discovery from “compelling reasons” standard when
   2         merits-related documents are part of court record).Pursuant to
   3         Paragraph 5.6 above, any use of Protected Material at trial shall be
   4         governed by a separate agreement or order.
   5         1.      Plaintiffs’ Position
   6         Plaintiffs again propose adopting this Court’s Model Order on these
   7   provisions.   Compare Powell Decl., Ex. 1 (Model Order) at 6 with Ex. 2
   8   (Plaintiffs’ proposal) at 7.2 Plaintiffs’ proposal (and the Court’s Model Order)
   9   properly recognize that a separate order from the trial Court will govern the use
 10    of Protected Material at trial and that Ninth Circuit precedent imposes a higher
 11    burden to seal information introduced at trial.    See Kamakana v. City and
 12    County of Honolulu, 447 F.3d 1172, 1180-81 (9th Cir. 2006). This language is
 13    commonly included in protective orders. See, e.g., Glaukos Corp. v. Ivantis,
 14    Inc., No. 8:18-cv-00620-JVS-JDE, Dkt. No. 36 (C.D. Cal. Aug. 3, 2018)
 15    (Powell Decl., Ex. 21) at 3.
 16          Apple proposes modifying these provisions to improperly provide that the
 17    treatment of protected material at trial may be governed by a separate
 18    “agreement” without the Court’s input. Powell Decl., Ex. 4 at 7. Apple also
 19    removes the Court’s recitation of the Ninth Circuit standard for sealing material
 20    at trial. See Kamakana, 447 F.3d at 1180-81; Oliner v. Kontrabecki, 745 F.3d
 21    1024, 1025–26 (9th Cir. 2014) (“In keeping with the strong public policy
 22    favoring access to court records, most judicial records may be sealed only if the
 23    court finds ‘compelling reasons.’”).      Apple provides no justification for
 24
 25
             2
 26              The parties agreed to minor changes to the Model Order to make clear
       that information designated pursuant to the Protective Order but not introduced
 27    at trial remains protected by the Protective Order. Compare Powell Decl., Ex. 1
 28    (Model Order) at 6 with Ex. 2 (Plaintiffs’ proposal) at 7.


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                                                                                           Exhibit 1
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   1   removing this Court’s correct recitation of the law. The Court should adopt its
   2   standard language and reject Apple’s unsupported modifications.
   3         2.      Defendant’s Position
   4         Apple does not take issue with the Ninth Circuit law cited in this Court’s
   5   Model Order, or with the uncontroverted fact that there is a strong public policy
   6   favoring access to court records, including at trial. Apple’s simple position is
   7   that the parties are far off from any trial in this action—having yet to even
   8   produce a single confidential document in this case—and therefore the Court
   9   should defer entering orders about how the parties’ highly sensitive information,
 10    including source code and potentially trade secrets, will be treated at a trial.
 11    Indeed, this Court’s instructions to parties about protective orders states that “no
 12    proposed discovery protective order should purport to control the handing of
 13    materials at trial,” and is precisely what Apple seeks to avoid.
 14          Notably, the Northern District’s Model Order for cases “involving
 15    patents, highly sensitive confidential information and/or trade secrets” provides
 16    that “[a]ny use of Protected Material at trial shall be governed by a separate
 17    agreement or order”—which is the exact language Apple is proposing here.
 18    Samplin Decl. Ex. D, at 59 [Northern District of California’s Model Protective
 19    Order for Litigation Involving Patents, Highly Sensitive Confidential
 20    Information and/or Trade Secrets (“N.D. Cal. Model Order”) § 3]; see also id.
 21    Ex. A, at 12 [Apple’s proposed protective order provision for this case]. While
 22    Apple recognizes that the Central District of California has not published its
 23    own distinct Model Order for cases “involving patents, highly sensitive
 24    confidential information and/or trade secrets” (this case involves all three),
 25    courts within the Central District routinely follow the Northern District’s
 26    model.3 See, e.g., Masimo Corp. v. Mindray DS USA Inc, No. 12-02206-CJC
 27
 28          3
                 The Northern District also uses a default Patent Local Rule 2-2 Interim

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                                                                                              Exhibit 1
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   1   (JPRx), 2014 WL 12597116 (C.D. Cal. Apr. 15, 2014) (affirming the magistrate
   2   judge’s protective order, which was based on the Northern District of
   3   California’s model protective order and provided for a two-year prosecution
   4   bar); see also Order at 2, Freed Designs, Inc. v. Sig Sauer, Inc., No. 13-9570-
   5   ODW (AGRx) (C.D. Cal. July 9, 2014), ECF No. 28 (“The Court is agreeable to
   6   the entry of a protective order that tracks the language of the Northern District
   7   of California’s Patent Local Rule 2-2 Model Protective Order.”); Order at 3,
   8   Black Hills Media, LLC v. Pioneer Corp., No. 13-05980-SJO (PJWx) (C.D. Cal.
   9   Sep. 24, 2013), ECF No. 59 (“If the parties are unable to agree on a protective
 10    order, the Court will enter the Northern District of California's Patent Local
 11    Rule 2-2 Interim Model Protective Order.”). The Northern District’s position
 12    on this issue is sensible given the type of Protected Material that will be
 13    involved in, and the current posture of, this case. Indeed, Plaintiff Masimo has
 14    previously agreed in this District to the Northern District language that Apple is
 15    proposing for this case. See Joint Stip. at 9, Masimo Corp. v. Mindray DS USA
 16    Inc, 2014 WL 12597116 (C.D. Cal. Feb. 13, 2014), ECF No. 111.
 17          To be clear, Apple does not dispute that this Court will need to be
 18    involved in any decision about how Protected Material will be treated at trial,
 19    should a trial occur in this action. Apple therefore is confused by Plaintiffs’
 20    suggestion that Apple has recommended that the parties reach agreements about
 21    trial procedure without this Court’s involvement. To the contrary, Apple fully
 22    expects the Court to be instrumental in deciding this issue—with final say about
 23
 24
       Model Protective Order, which courts within the Central District routinely
 25    follow as well. See N.D. Cal., Patent Local Rule 2-2 Interim Model Protective
 26    Order,         https://www.cand.uscourts.gov/wp-content/uploads/forms/model-
       protective-orders/Interim-Patent-Protective-Order-Rule-2-2.docx (last visited
 27    June 24, 2020). The two Northern District model orders are identical in relevant
 28    respects.


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                                                                                            Exhibit 1
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   1   how the parties’ Protected Material will be treated at trial.       Apple simply
   2   proposes that the Court adopt the Northern District’s proffered method for
   3   handling the treatment at trial of Protected Material in cases like this one—that
   4   is, deferring the issue until the case gets closer to trial, as most litigations
   5   resolve before that point, thereby mooting this issue completely.
   6   C.    Section 9.1 – Export Regulations
   7         The Parties’ dispute on Section 9.1 is shown below, with underlined text
   8   showing Apple’s proposed additions to Plaintiffs’ proposal and strikethrough
   9   text showing Apple’s proposed deletions to Plaintiffs’ proposal:
 10          9.1    Basic Principles.
 11          ...
 12          Protected Material must be stored and maintained by a Receiving
 13          Party at a location in the United States and in a secure manner that
 14          ensures that access is limited to the persons authorized under this
 15          Order. The Receiving Party will take any reasonably necessary
 16          precautions to comply with applicable United States Export
 17          Administration Regulations. To ensure compliance with applicable
 18          United States Export Administration Regulation, Protected Material
 19          may not be exported outside the United States or released to any
 20          foreign national (even if within the United States).
 21          1.     Plaintiffs’ Position
 22          Plaintiffs again proposed adopting the Court’s Model Order, which does
 23    not discuss export regulations. Apple insists that no Protected Material may be
 24    taken to any foreign country or provided to any foreign national (even within
 25    the United States). Powell Decl., Ex. 4 at 12. Apple attempted to justify those
 26    provisions by referencing U.S. export regulations. But Apple’s proposal goes
 27    far beyond what is required by U.S. export regulations. For example, Apple’s
 28    proposal would prevent a Canadian citizen who is a U.S. permanent resident

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                                                                                           Exhibit 1
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   1   from serving as outside counsel or as an expert witness. Apple’s proposal
   2   would also prevent the parties from taking depositions in any other country.
   3   Additionally, Apple’s proposal could be interpreted as requiring outside counsel
   4   to discriminate based on national origin.
   5         During the conference of counsel, Apple argued the parties could
   6   consider deviating from Apple’s draconian language on a case-by-case basis.
   7   For example, Apple suggests Plaintiffs could ask Apple’s permission to
   8   designate a foreign national as an expert, or to take Apple’s materials outside
   9   the country for depositions. Apple thereby proposes giving itself improper
 10    leverage to deny Plaintiffs their choice of expert witness and prevent depositions
 11    that Apple deems undesirable.
 12          The Court should adopt Plaintiffs’ proposal, which would accomplish
 13    Apple’s stated goals without providing Apple undue leverage.            Plaintiffs
 14    propose requiring the Receiving Party to take whatever procedures may be
 15    reasonably necessary to comply with applicable export regulations.          Such
 16    language is common when one or more parties alleges protected material may
 17    be subject to export regulations.     Indeed, Apple has recently stipulated to
 18    similar language. Pinn, Inc. v. Apple Inc., Case No. 8:19-cv-01805-DOC-JDE,
 19    Dkt. No. 60 (C.D. Cal. March 13, 2020) (Powell Decl., Ex. 17) at 16 (“Each
 20    party receiving Protected Material shall comply with all applicable export
 21    control statutes and regulations”).
 22          2.     Defendant’s Position
 23          Apple’s proposal regarding export control is not controversial.           It
 24    provides that Protected Material should not be exported outside the United
 25    States or to any foreign national in order to comply with federal regulation and
 26    protect the parties’ sensitive information. This provision should not impose any
 27    burden on Plaintiffs, given that all of Plaintiffs’ counsel are located in the
 28    United States and discovery regarding the claims and defenses in this case

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                                                                                            Exhibit 1
                                                                                                -24-
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   1   should not involve sending sensitive information abroad.4 By the opposite
   2   token, it should be clear why these provisions are critical—given the heightened
   3   risk of misuse and unauthorized access of information in countries outside the
   4   United States, differing views of business sensitivity and privacy, and Apple’s
   5   inability to obtain justice, enforce the protective order, or reverse or prevent
   6   ongoing harm should its Protected Material be compromised outside the United
   7   States.
   8         Plaintiffs’ quote from one of Apple’s “recently stipulated” protective
   9   orders does not support their position on this issue. While Plaintiffs are correct
 10    that the protective order they reference from an entirely different case says that
 11    the parties “shall” comply with export rules, Plaintiffs omit the lengthy
 12    remainder of the paragraph, which is key:         “No party receiving Protected
 13    Material may allow it to leave the territorial boundaries of the United States of
 14    America or to be made available to any foreign national who is not (i) lawfully
 15    admitted for permanent residence in the United States or (ii) identified as a
 16    protected individual under the Immigration and Naturalization Act (8 U.S.C.
 17    1324b(a)(3)).” The protective order further provided an exception from export
 18    prohibitions where non-source code Protected Material is reasonably necessary
 19    for use in a deposition in a foreign country. Apple offered in this case to
 20    consider reasonable carve outs to address Plaintiffs’ concerns, but Plaintiffs did
 21    not propose a workable solution.
 22          Instead, Plaintiffs took the position that they should have the right to
 23    export Apple material outside the United States at will—but that they would
 24
 25          4
                If the case eventually requires depositions or experts located outside the
 26    United States, the parties can revisit the issue at that time, and attempt to reach
       agreement about the export of specific materials to the extent necessary. Thus
 27    far, Plaintiffs have not expressed that they anticipate any need to hire experts or
 28    conduct depositions abroad.


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                                                                                             Exhibit 1
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   1   agree to a provision requiring them to give notice to Apple before doing so, and
   2   then Apple would have the burden of proving that Plaintiffs should be prevented
   3   from exporting. Plaintiffs’ proposal was unworkable, because it would have
   4   imposed on Apple the burden to prevent transfer of Apple materials abroad,
   5   when the burden should be on Plaintiffs to justify any such transfer in the first
   6   place. Notably, in proposing this notice provision, Plaintiffs at least recognized
   7   that Apple could be harmed by unfettered disclosure of its confidential material
   8   abroad. Yet, once the parties failed to reach agreement on this export provision,
   9   Plaintiffs reverted to their original proposal (sans any notice of export), which
 10    leaves Apple’s confidential material without any protections in this regard.
 11           It is not clear to Apple why Plaintiffs are insisting on a provision to
 12    permit export of Apple’s data outside the United States—particularly given that
 13    when Apple asked Plaintiffs if they have export plans, Plaintiffs responded in
 14    the negative. Apple has yet to hear a compelling justification for this dispute,
 15    and therefore continues to seek sensible and definitive protections against the
 16    export of its sensitive materials abroad, particularly given the information that
 17    will be at issue in this case.5
 18
 19
              5
                The theft of intellectual property by foreign companies and nationals is
 20    an indisputable issue for American companies, including Apple; in fact, it is
 21    considered one of the greatest threats to American businesses and the U.S.
       economy. The United States has responded in kind, including with the White
 22    House Annual Intellectual Property Report from 2019 discussing the country’s
 23    focus on combatting the theft of trade secrets by international actors
       (https://www.whitehouse.gov/wp-content/uploads/2020/04/IPEC-2019-Annual-
 24    Intellectual-Property-Report.pdf), the Department of Justice Task Force on
 25    Intellectual Property, which “confront[s] the growing number of domestic and
       international intellectual property (IP) crimes” (https://www.justice.gov/iptf),
 26    and a trade deal with China entered earlier this year to, among other things,
 27    protect trade secrets, increase the scope of liability for trade secret
       misappropriation, and prohibit unauthorized disclosure by government
 28    personnel or third parties in proceedings (Economic and Trade Agreement

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                                                                                            Exhibit 1
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   1   D.    Section 9.2(b) and (j)– Disclosure of Confidential Information
   2         The Parties’ dispute on Sections 9.2(b) and (j) is shown below, with
   3   underlined text showing Apple’s proposed additions to Plaintiffs’ proposal and
   4   strikethrough text showing Apple’s proposed deletions to Plaintiffs’ proposal:
   5         9.2   Disclosure of “CONFIDENTIAL” Information or Items.
   6         ...
   7         (b) the officers, directors, and employees (including House
   8         Counsel) of the Receiving Party to whom disclosure is reasonably
   9         necessary for this Action Not more than three (3) representatives of
 10          the Receiving Party who are officers or employees (including
 11          House Counsel) to whom disclosure is reasonably necessary for
 12          this Action, provided that: (a) each such person has agreed to be
 13          bound by the provisions of the Protective Order by signing a copy
 14          of Exhibit A; and (b) no unresolved objections to such disclosure
 15          exist after proper Pre-Access Disclosure Requirements are
 16          provided to all Parties and all objections have been resolved under
 17          the Objections Process under 9.2(c) below;
 18          ...
 19          (j) during their depositions, witnesses, and attorneys for witnesses,
 20          in the Action to whom disclosure is reasonably necessary
 21          provided: (1) the deposing party requests that the witness sign the
 22          form attached as Exhibit A hereto; and (2) they will not be
 23          permitted to keep any confidential information unless they sign the
 24          “Acknowledgment and Agreement to Be Bound” (Exhibit A),
 25
 26
       Between the United States of America and the People’s Republic of China:
 27    Phase 1 (January 15, 2020)). In this context, Apple’s proposal to limit export of
 28    its extremely sensitive materials is not only reasonable, but critical.


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                                                                                           Exhibit 1
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   1         unless otherwise agreed by the Designating Party or ordered by the
   2         court. Pages of transcribed deposition testimony or exhibits to
   3         depositions that reveal Protected Material may be separately bound
   4         by the court reporter and may not be disclosed to anyone except as
   5         permitted under this Stipulated Protective Order.
   6         1.     Plaintiffs’ Position
   7         Plaintiffs again propose adopting the Court’s Model Order. Compare
   8   Powell Decl., Ex. 1 (Model Order) at 10-11 with Ex. 2 (Plaintiffs’ proposal) at
   9   13, 16. Courts in this district routinely include similar provisions in protective
 10    orders. See, e.g., Uniloc 2017 LLC v. Netflix, Inc., No. 8:18-cv-02055-GW-
 11    DFM, Dkt. No. 80 (C.D. Cal. Aug. 5, 2019) (Powell Decl., Ex. 19) at 3-4
 12    (permitting disclosure of confidential material to “[t]he officers, directors, and
 13    employees of the receiving party to whom disclosure is reasonably necessary,
 14    and who have signed the Agreement to Be Bound (Exhibit A)” and “During
 15    their depositions, witnesses in the action to whom disclosure is reasonably
 16    necessary and who have signed the Agreement to be Bound (Exhibit A)”); XR
 17    Comms., LLC v. D-Link Systems, Inc., No. 8:17-cv-00596-JVS-JCG, Dkt. No.
 18    113 (C.D. Cal. Mar. 6, 2018) (Powell Decl., Ex. 20) at 4 (same).
 19          Apple proposes limiting Section 9.2(b) to only three individuals who
 20    must be disclosed and approved by the opposing party. Powell Decl., Ex. 4 at
 21    13. Apple completely strikes Section 9.2(j). Id., Ex. 4 at 16. During the
 22    conference of counsel, Apple provided no justification for its proposals.
 23    Instead, it asserted its proposal on 9.2(b) was a “standard” Apple provision and
 24    that it has not agreed to a provision similar to Section 9.2(j) in other cases.
 25    Apple’s asserted preference is not sufficient justification for departing from the
 26    Court’s Model Order.
 27          Plaintiffs’ proposal (and the Model Order) are reasonable. Section 9.2(b)
 28    allows the parties to show “Confidential” information to party employees if it is

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                                                                                            Exhibit 1
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   1   reasonably necessary. For example, litigants routinely designate non-public
   2   communications between the parties as “Confidential” because they need not be
   3   kept confidential from employees of the opposing party, but should not be made
   4   public. Section 9.2(j) allows the parties to show “Confidential” information to
   5   witnesses during their depositions if it is “reasonably necessary” and the
   6   individual agrees to be bound by the Protective Order. These provisions are
   7   entirely appropriate because they apply only to the lowest tier of “Confidential”
   8   information. See Section 9.3 and 11, infra. More sensitive information, like
   9   trade secrets, may be designated “Highly Confidential – Attorneys’ Eyes Only”
 10    or “Highly Confidential – Source Code” and may not be viewed by individuals
 11    authorized under Sections 9.2(b) and (h). That is one important purpose of a
 12    multi-tier Protective Order. The Court should adopt Plaintiffs’ proposal.
 13          2.     Defendant’s Position
 14          The parties dispute how many and which types of individuals should have
 15    access to Protected Material on behalf of the Receiving Party.           Plaintiffs’
 16    proposal seeks an unlimited grant of access to all of their officers, directors, and
 17    employees under the ambiguous cover of “reasonably necessary” without any
 18    advanced designation.     Under this proposal, Apple would have no way of
 19    knowing, for example, how many people at Masimo have been shown Apple’s
 20    confidential information or any basis to discern how Masimo concluded that
 21    disclosure to those people was “reasonably necessary.” Apple should not be
 22    forced to provide that type of discretion to an adversary.
 23          Apple’s proposal provides an appropriate safeguard against Plaintiffs
 24    applying the vague “reasonably necessary” language in a way that would
 25    unnecessarily expose Apple’s confidential information to Plaintiffs’ employees.
 26    In addition, a restriction on the number of employees that may view confidential
 27    materials is appropriate to further limit the risk of misuse. Plaintiffs’ proposal
 28    does not afford Apple either protection and such protections are absolutely

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                                                                                              Exhibit 1
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   1   necessarily.   For example, if Plaintiffs have a team of engineers currently
   2   working on the development of a potentially competing product (e.g., a
   3   competing smartwatch), Apple should have the right to oppose disclosure before
   4   Plaintiffs determine that disclosure of Apple’s confidential information to that
   5   team of engineers is reasonably necessary. Under Plaintiffs’ proposal, Plaintiffs
   6   could provide this sensitive information to a team of four or more such
   7   engineers if Plaintiffs deemed it reasonably necessary.        Under Plaintiffs’
   8   proposal, Apple would not have a right to oppose this disclosure, nor would it
   9   even know that the disclosure occurred.
 10          Plaintiffs have submitted provisions from protective orders in other cases
 11    that do not limit the number of people with access to confidential information
 12    and that do not provide a right of objection, but those provisions are inapposite
 13    here. In contrast to the parties in the cited cases, Apple is one of the largest
 14    technology companies in the world, whose value lies in the protection and
 15    security of its proprietary and confidential information. The need to limit the
 16    exposure and dissemination of its confidential information is apparent and
 17    should be observed.     In expanding the number of Plaintiffs’ recipients of
 18    Apple’s confidential information, Plaintiffs’ proposal unnecessarily extends the
 19    vulnerability and exposure of Apple’s confidential information beyond any level
 20    necessary to the prosecution of this case.
 21          Moreover, to support their proposal, Plaintiffs identify a practice that
 22    some litigants “routinely designate non-public communications between the
 23    parties as ‘Confidential’ . . . because they should not be made public.” In so
 24    doing, Plaintiffs disregard the purpose of confidentiality designations as
 25    protections against the improper access to private information.       Plaintiffs’
 26    argument also neglects the fact that a majority of documents that receive the
 27    “confidential” designation receive do so not merely because they should be kept
 28    private, but also because they should be kept confidential from employees of the

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                                                                                           Exhibit 1
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   1   opposing party—particularly where those employees may be working on a
   2   future competitive product or are involved in some other work that would
   3   provide the Producing Party with a basis to object.
   4          Plaintiffs’ Section 9(j) proposal is objectionable for many of the same
   5   reasons as their proposal in 9(b). Like 9(b), Plaintiffs’ proposal in Section 9(j)
   6   would enable disclosure of confidential information to a deposition witness
   7   without any prior ability for Apple to object. Section 9(j) permits Plaintiffs to
   8   transmit Apple’s “confidential” information to any individual who signs an
   9   acknowledgement form, even one signed on the spot during a deposition.
 10    Denying Apple the ability to raise any objections to that person seeing Apple’s
 11    confidential information would create an end-run around the provisions needed
 12    in 9(b) for Plaintiffs’ employees and is even more important if Plaintiffs seek to
 13    depose Apple’s competitors, business partners, or others who should not be
 14    permitted to review Apple confidential information at all. Plaintiffs’ proposed
 15    Section 9(j) would enable anyone that Plaintiffs call for deposition in this case
 16    to view Apple’s non-public information.        That is not how the process is
 17    supposed to work—and it risks improper disclosure of Apple’s highly sensitive
 18    information and gamesmanship on the part of Plaintiffs in noticing depositions
 19    in this case. The Court should reject Plaintiffs’ proposed Section 9(j) in its
 20    entirety.
 21    E.     Section 9.2(f) – Disclosure of Confidential Information
 22           The Parties’ dispute on Section 9.2(f) is shown below, with underlined
 23    text showing Apple’s proposed additions to Plaintiffs’ proposal and
 24    strikethrough text showing Apple’s proposed deletions to Plaintiffs’ proposal:
 25           (f) professional jury or trial consultants, mock jurors, and
 26           Professional Vendors to whom disclosure is reasonably necessary
 27           for this Action and who have signed the “Acknowledgment and
 28           Agreement to Be Bound” (Exhibit A), provided that the name of

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                                                                                            Exhibit 1
                                                                                                -31-
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   1          any e-discovery vendors must be disclosed at least fourteen (14)
   2          days before providing the e-discovery vendor with Protected
   3          Material so that the Producing Party has an opportunity to object
   4          pursuant to the objection procedure set forth in subparagraph (c)
   5          above;
   6          1.    Plaintiffs’ Position
   7          Plaintiffs propose the parties provide advance disclosure of e-discovery
   8   consultants and an opportunity to object. This provision is not present in the
   9   Model Order, but is necessary in this case to prevent a specific risk associated
 10    with Apple using Consilio LLC as an e-discovery consultant. Consilio working
 11    for Apple in this case is highly problematic because Consilio worked for
 12    Plaintiffs in matters that Apple considers directly relevant to this case. Consilio
 13    thereby obtained access to Plaintiffs’ highly confidential and privileged
 14    information relevant to this case.
 15           In particular, Plaintiffs retained Consilio in True Wearables, which Apple
 16    asserts is a related case that involves issues “nearly identical” to this case.
 17    Powell Decl. ¶ 11 and Ex. 24 (Apple’s Notice of Related Cases) at 3. Apple has
 18    already pursued discovery concerning True Wearables, including requesting
 19    “All documents produced by Masimo and Cercacor in [True Wearables].”
 20    Powell Decl. ¶ 13. In its role as Plaintiffs’ e-discovery consultant in that “nearly
 21    identical” case, Consilio collected Plaintiffs’ highly confidential and privileged
 22    information. Id. ¶ 11. Consilio hosted Plaintiffs’ documents in a database,
 23    including non-produced documents that were not responsive and/or privileged.
 24    Id.   While Plaintiffs have since terminated Consilio’s involvement in True
 25    Wearables, Consilio still had access to those files around the time Plaintiffs
 26    filed this lawsuit. Id.
 27           Consilio was also Plaintiffs’ forensic expert in Masimo Corp. v. Sotera
 28    Wireless Inc., No. 30-2013-00649172-CU-IP-CJC (Cal. Sup. Ct.) (“Sotera”).

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                                                                                              Exhibit 1
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   1   Id. ¶ 12. In Sotera, Consilio analyzed forensic images of devices used by
   2   former Masimo employees who left to work for Sotera. Id. One of those
   3   employees was a Masimo executive involved in both Masimo’s engineering and
   4   marketing departments. Id. Consilio even testified for Masimo at trial in that
   5   matter. Id. Two individual forensic consultants who worked for Plaintiffs in
   6   Sotera are presently Consilio’s “Senior Director – Digital Forensics & Expert
   7   Services” and “Senior Manager in Digital Forensics and Expert Services (DFES
   8   group).” Id., Ex. 9. Sotera is currently stayed and Consilio retains access to
   9   Plaintiffs’ information because the matter has not yet been dismissed. Id. ¶ 12.
 10          Similar to True Wearables, Apple initially asserted Sotera was relevant to
 11    this case by seeking production of “All Documents and Communications
 12    relating to the trade secrets which You alleged were misappropriated by the
 13    defendants in [Sotera].” Id. ¶ 13. Apple claims it no longer asserts Sotera is
 14    relevant because Plaintiffs indicated they are not aware of overlapping trade
 15    secrets in the two cases. Id. ¶ 14. However, Apple expressly reserved the right
 16    to pursue discovery regarding Sotera. Id. Additionally, Apple cannot deny that
 17    Consilio obtained privileged information in Sotera regarding other related
 18    issues, including Masimo’s strategies for litigating trade secret cases.
 19          During the conference of counsel, Plaintiffs told Apple this provision was
 20    necessary only to prevent Consilio from working for Apple on this case. Id.
 21    Plaintiffs told Apple they would agree to remove this provision if Apple agreed
 22    not to use Consilio. Id. Doing so would both protect Plaintiffs’ information
 23    and reduce the risk of Apple’s counsel being disqualified if Consilio
 24    intentionally or inadvertently conveyed to them Plaintiffs’ privileged
 25    information. Apple refused, but never explained why Apple must use Consilio
 26    instead of the dozens of other available e-discovery consultants. Id. Apple’s
 27    insistence on using Consilio is troubling. Consilio apparently has no concern
 28    about working for Plaintiffs in True Wearables and working for Apple in this

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                                                                                          Exhibit 1
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   1   case. Consilio presents an unacceptably high risk of improperly disclosing
   2   Plaintiffs’ confidential and privileged information to Apple, even inadvertently,
   3   as well as unquestionably presenting an appearance of impropriety and
   4   conflicted loyalty.
   5         Disqualification is appropriate where both (1) a confidential relationship
   6   exists and (2) confidential information was disclosed to the consultant.
   7   Broadcom Corp. v. Emulex Corp., 2010 WL 11465478, at *1 (C.D. Cal. Apr. 5,
   8   2010) (J. Selna). The Court should “also consider prejudice to both parties and
   9   whether disqualification would promote the integrity of the legal process.” Id.
 10    (granting motion for disqualification). As discussed above, Consilio had a
 11    confidential relationship with Plaintiffs and received confidential and privileged
 12    information from Plaintiffs in cases that Apple asserts are relevant to this matter.
 13    While the prejudice to Plaintiffs of improper disclosure would be severe (and
 14    the appearance of impropriety is already highly concerning), Apple will suffer
 15    no prejudice from simply using a different e-discovery consultant. See id.
 16    (finding no prejudice because the defendant could find a new expert). Requiring
 17    Apple to use a different consultant would promote the integrity of the legal
 18    process by avoiding actual and apparent conflicts of interest.
 19          Accordingly, the Court should bar Apple from using Consilio in this case,
 20    or at least adopt Plaintiffs’ proposal so that Plaintiffs have an opportunity to
 21    object if Apple attempts to retain Consilio in connection with this case.
 22          2.     Defendant’s Position
 23          Plaintiffs’ efforts to disqualify Apple’s discovery vendor Consilio through
 24    a proposed protective order provision is unprecedented and inappropriate. If
 25    Plaintiffs have concerns about Apple’s use of Consilio in this case, they should
 26    attempt to satisfy their burden of disqualifying Apple’s discovery vendor
 27    through a properly noticed motion on the issue. A proposed protective order
 28    provision is not the appropriate vehicle.

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                                                                                              Exhibit 1
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   1         Indeed, Apple suspects that Plaintiffs are attempting to backdoor this
   2   issue in through a proposed protective order provision precisely because the
   3   case law does not support a request for a discovery vendor’s disqualification
   4   under the circumstances present here.         In Gordon v. Kaleida Health, for
   5   example, a discovery vendor (D4) provided services to both the plaintiffs and
   6   the defendants in the same matter, and the court determined there was “no need
   7   to protect Defendants from the risk of possible prejudicial disclosure of
   8   Defendants’ confidential information as a result of D4’s providing ESI
   9   consulting services to Plaintiffs.” 2013 WL 2250506, at *10 (W.D.N.Y. May
 10    21, 2013). Here, Consilio did not provide any discovery services to Plaintiffs in
 11    connection with the present lawsuit—and, therefore, this is even more of a
 12    clear-cut case than the Gordon case involving services provided to both the
 13    plaintiffs and the defendants in the same matter.         Consilio’s services for
 14    Plaintiffs on the related True Wearables lawsuit were minimal and short-lived.
 15    And Consilio’s services for Plaintiffs in the Sotera lawsuit were for a matter that
 16    Plaintiffs have steadfastly represented has nothing to do with this case.
 17          With respect to the True Wearables case, to which Apple is not a party,
 18    approximately a year and a half ago, Plaintiffs’ counsel sent Consilio a
 19    comparatively small amount of data. Consilio processed and hosted that data
 20    from Plaintiffs but never reviewed the data. After a few months of no activity,
 21    Plaintiffs’ counsel asked Consilio to return the data—because Plaintiffs had
 22    decided to host the data through their outside counsel—and Consilio complied.
 23    Consilio later informed Plaintiffs’ counsel that it would work with Apple, not
 24    Plaintiffs, on any matters involving Masimo where Apple is a defendant
 25    (including this case). Consilio no longer has possession of any of Plaintiffs’
 26    data from True Wearables, did not review any of the small amount of True
 27    Wearables-related data that it previously received from Plaintiffs, and has not
 28    performed any work for Plaintiffs in connection with the present case.

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                                                                                             Exhibit 1
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   1         Plaintiffs’ reference to the Sotera matter is even more perplexing. As
   2   Apple explained to Plaintiffs during multiple meet and confers, the only reason
   3   Apple propounded a discovery request in this case that mentioned the Sotera
   4   matter is because Sotera involved allegations of trade secret misappropriation
   5   by Plaintiff Masimo. Given the vague nature of Plaintiffs’ allegations of their
   6   purported trade secrets in this case, Apple had no basis to rule out the potential
   7   relevance of any other claim of trade secret misappropriation brought by either
   8   Plaintiff, including by Plaintiff Masimo in the Sotera case. As soon as Plaintiffs
   9   represented to Apple that they did not believe that any of the trade secrets
 10    alleged in Sotera overlap with the purported trade secrets alleged in this case,
 11    Apple agreed not to further pursue the request—but reserved all rights because
 12    Plaintiffs’ representation was not a conclusive or definitive one. In any event,
 13    Plaintiffs’ repeated position has been that Sotera is not relevant to this lawsuit,
 14    and Apple has not pressed the issue (and has no plans to do so, particularly now
 15    that the trade secret claim has been dismissed). Plaintiffs’ reference to Sotera in
 16    this submission therefore is surprising, to say the least—as is Plaintiffs’
 17    suggestion that Apple would agree or concede that Consilio has obtained
 18    “privileged information” about “Masimo’s strategies for litigating trade secret
 19    cases” that would preclude Consilio from serving as a discovery vendor for
 20    Apple in this case. Apple disagrees with that assertion, and believes the case
 21    law is clear that the facts at issue here do not create a conflict that warrants
 22    Consilio’s exclusion, let alone an unprecedented protective order provision with
 23    the same effect.
 24          Plaintiffs’ efforts to disqualify Apple’s discovery vendor through a
 25    proposed protective order provision are meritless.       If Plaintiffs have non-
 26    frivolous concerns about Apple’s use of Consilio in this case, they can file a
 27    properly noticed motion. That will give Apple a full and fair opportunity to
 28    respond—including with citations to all of the case law that refutes Plaintiffs’

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                                                                                             Exhibit 1
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   1   argument, with a response to Plaintiffs’ bald assertion that Apple “will suffer no
   2   prejudice from simply using a different e-discovery consultant,” which is false,
   3   and with a declaration from Consilio that, among other things, refutes Plaintiffs’
   4   suggestion that Consilio has reviewed or continues to have possession of
   5   Plaintiffs’ privileged information.6 A disqualification ruling does not belong in
   6   a protective order provision.7
   7   F.    Section 9.3 – Use of Highly Confidential Information
   8         The Parties’ dispute on Section 9.3 is shown below, with underlined text
   9   showing Apple’s proposed additions to Plaintiffs’ proposal and strikethrough
 10    text showing Apple’s proposed deletions to Plaintiffs’ proposal:
 11          9.3.   Disclosure     of     “HIGHLY        CONFIDENTIAL           –
 12          ATTORNEYS’ EYES ONLY” Information or Items.                   Unless
 13          otherwise ordered by the court or permitted in writing by the
 14          Designating Party, a Receiving Party may disclose any information
 15          or item designated “HIGHLY CONFIDENTIAL – ATTORNEYS’
 16          EYES ONLY” only to the individuals identified in Paragraphs 9.2
 17          (a), (c)-(i), who are not competitive decision-makers of a Party.
 18          provided that such Outside Counsel under Paragraph 9.2(a) is not
 19          involved in competitive decision-making, as defined by U.S. Steel
 20          v. United States, 730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on
 21
             6
 22             Apple has not submitted a declaration from Consilio with this Joint
       Stipulation given its position that this dispute is not ripe for adjudication in
 23
       connection with protective order briefing. Apple certainly will be prepared with
 24    such a declaration if and when the Court considers this issue, and therefore
       respectfully requests an opportunity to submit such a declaration at the
 25
       appropriate time—before the Court decides this issue.
 26
             7
               Adding a “notice and objection” provision like the one alternatively
 27    proposed by Plaintiffs will serve only to kick the can down the road on the same
 28    (meritless) issue, and therefore should be rejected.

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                                                                                            Exhibit 1
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   1         behalf of a Party or a competitor of a Party and such proposed
   2         Outside Counsel did not, at the time the lawsuit was filed or within
   3         the previous two (2) years from the date the lawsuit was filed, have
   4         a business or ownership interest in a Party (i.e., was not a Board
   5         member, Director, officer, employee, or hold a title with a Party).
   6         Additionally, whether Plaintiffs’ trade secret disclosure under
   7         California Code of Civil Procedure Section 2019.210 is designated
   8         “CONFIDENTIAL” or “CONFIDENTIAL – ATTORNEYS’
   9         EYES ONLY,” access to said disclosure shall be permitted for
 10          three (3) Apple House Counsel.
 11          1.    Plaintiffs’ Position
 12          Plaintiffs again propose language similar to the language this Court
 13    adopted in True Wearables. Compare Powell Decl., Ex. 2 (Plaintiffs’ proposal)
 14    at 16 with Ex. 13 (True Wearables) at 8. Apple replaced that language with a
 15    proposal that (a) seeks to prevent certain of Plaintiffs’ outside counsel from
 16    accessing “Highly Confidential” information, yet (b) seeks to allow three of
 17    Apple’s in-house counsel access to Plaintiffs’ “Highly Confidential” trade secret
 18    information in Plaintiffs’ Section 2019.210 statement. Id., Ex. 4 at 17. The
 19    Court should adopt Plaintiffs’ proposal on both issues.
 20                a.     The Court Should Reject Apple’s “Relationship”
 21                       Restriction
 22          Apple proposes language that is nearly identical to the language this
 23    Court previously rejected in True Wearables. In that case, the defendant asked
 24    this Court to allow access only to individuals who, within two years prior to
 25    filing suit, did “not have a business or ownership interest in a Party (i.e., not
 26    competitive decision makers, Board members, Directors, employees, owners,
 27    shareholders, or affiliates of a Party).”     Powell Decl., Ex. 12 at 9.     The
 28    defendants were trying to prevent Stephen Jensen from participating in the case.

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   1   After extensive briefing, this Court rejected the defendants’ proposal and
   2   adopted language similar to the language Plaintiffs propose in this case, which
   3   bars only “competitive decisionmakers.” Id., Ex. 13 at 8. This Court then
   4   rejected the defendants’ direct challenge to Jensen and concluded he was not a
   5   “competitive decisionmaker.” Id., Ex. 14 at 5-6.
   6         Here, Apple proposes language that is nearly identical to the language this
   7   Court previously rejected. In particular, Apple seeks to allow access only to
   8   individuals who, within two years prior to filing suit, did not “have a business or
   9   ownership interest in a Party (i.e., was not a Board member, Director, officer,
 10    employee, or hold a title with a Party).” Powell Decl., Ex. 4 at 17. Apple has
 11    not explained why this provision is necessary or provided any factual or legal
 12    basis, whatsoever, for this provision. Indeed, Apple recently stipulated to a
 13    protective order without such language. See Pinn (Powell Decl., Ex. 17) at 8. It
 14    appears Apple is proposing this unusual language to exclude Jensen because
 15    Apple added the language to its proposal as the parties in True Wearables were
 16    litigating the same issue. Moreover, it does not appear that any of Plaintiffs’
 17    other outside counsel could be impacted by this provision.             Thus, while
 18    Plaintiffs are in the dark as to Apple’s reason or basis for this provision,
 19    Plaintiffs will direct their arguments towards Jensen in particular.
 20          To restrict access to highly confidential information, Apple has the
 21    burden of showing an unacceptably high risk of inadvertent disclosure. See
 22    Brown Bag Software v. Symantec Corp., 960 F.2d 1465, 1470 (9th Cir. 1992).
 23    Apple also bears “the burden of showing that specific prejudice or harm will
 24    result from the disclosure of each document (or item of information) that it
 25    seeks to protect.” Nutratech, Inc. v. Syntech (SSPF) Int’l, Inc., 242 F.R.D. 552,
 26    554 (C.D. Cal. 2007) (citing Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d
 27    1122, 1130 (9th Cir. 2003)). The district court must balance the risk of the
 28    disclosure against the risk to the receiving party that the denial of access would

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   1   impair prosecution of its claims. Brown Bag, 960 F.2d at 1470; see also In re
   2   Deutsche Bank, 605 F.3d 1373, 1380 (Fed Cir. 2010). Apple cannot satisfy any
   3   of those requirements here.
   4                       i.    Apple Cannot Show Jensen Will Inadvertently
   5                             Disclose Protected Material
   6         To evaluate the risk of inadvertent disclosure, the Court should examine
   7   “the factual circumstances surrounding [Jensen’s] activities, association, and
   8   relationship with a party.” U.S. Steel, 730 F.2d at 1468. A “crucial factor” is
   9   whether Jensen is “involved in ‘competitive decisionmaking’; that is advising
 10    on pricing or design ‘made in light of similar or corresponding information
 11    about a competitor.’” Brown Bag, 960 F.2d at 1470 (quoting U.S. Steel, 730
 12    F.2d at 1468 n.3). Here, this Court recently determined Jensen is not involved
 13    in “competitive decisionmaking” for Plaintiffs. Powell Decl., Ex. 14 at 5-6; see
 14    also Jensen Decl. ¶ 10; Kiani Decl. ¶ 6.
 15          A protective order also mitigates risk because courts presume attorneys
 16    will abide by protective orders and not expose themselves to contempt
 17    sanctions. Coventry First LLC v. 21st Servs., No. 05CV2179-IEG (NLS), 2005
 18    WL 8173350, at *5 (S.D. Cal. Dec. 22, 2005) (“[I]n the absence of any actual
 19    evidence of bad faith, the Court declines to presume [the attorneys] will disclose
 20    [the] confidential information, thereby breaching the protective order and
 21    exposing themselves to contempt sanctions.”) (citing Truswal Sys. Corp. v.
 22    Hydro-Air Eng’g, Inc., 813 F.2d 1207, 1211 (Fed. Cir. 1987)). Not only have
 23    the parties agreed to a protective order, they even agree on barring Jensen and
 24    the rest of Plaintiffs’ litigation team from engaging in patent prosecution.
 25          At most, Apple may show Jensen is in contact with corporate officers
 26    who make competitive decisions. But that is not enough. See Matsushita Elec.
 27    Indus. Co. v. United States, 929 F.2d 1577, 1580 (Fed. Cir. 1991) (finding
 28    “largely irrelevant” regular contact with corporate officials who make policy or

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                                                                                            Exhibit 1
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   1   competitive decisions). Rather, “the factual circumstances surrounding each
   2   individual counsel’s activities, association, and relationship with a party . . .
   3   must govern any concern for inadvertent or accidental disclosure.” U.S. Steel,
   4   730 F.2d at 1468 (“Whether an unacceptable opportunity for inadvertent
   5   disclosure exists, however, must be determined, as above indicated, by the facts
   6   on a counsel-by-counsel basis”).
   7         Interaction with decision makers is insufficient because the issue does not
   8   turn on the functions of the people a lawyer meets with, but on the functions of
   9   the lawyer. As the Federal Circuit observed, “the standard is not ‘regular
 10    contact’ with other corporate officials who make ‘policy,’ or even competitive
 11    decisions, but ‘advice and participation’ in ‘competitive decisionmaking.’” Id.
 12    at 1580.   Lead litigation lawyers regularly report to boards and corporate
 13    officers about ongoing litigation, despite the lawyers having access to highly
 14    confidential information and the boards and officers engaging in competitive
 15    decision-making. The point is that the people who have access to the highly
 16    confidential information are not the people making the competitive decisions. If
 17    the standard were physical proximity to, or regular interaction with, competitive
 18    decision makers, no lead litigation counsel would ever see confidential
 19    information.
 20          Apple cannot meet its burden of showing Jensen, or any other lawyer at
 21    Knobbe Martens, poses an unacceptably high risk of inadvertent disclosure.
 22                       ii.   Apple Cannot Show It Will Suffer Harm
 23          Apple also has not even attempted to meet its “burden of showing that
 24    specific prejudice or harm will result from the disclosure of each document (or
 25    item of information) that it seeks to protect.” Nutratech, 242 F.R.D. at 554.
 26    Apple’s proposed language does not specify any particular information Jensen
 27    should be excluded from viewing. Apple also failed to explain any particular
 28    harm that Apple would suffer from Jensen viewing such information.

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                                                                                           Exhibit 1
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   1                       iii.      Apple’s Restriction Would Prejudice Plaintiffs
   2           Exclusion of Jensen would also prejudice Plaintiffs. See In re Deutsche
   3   Bank, 605 F.3d 1373, 1380 (Fed. Cir. 2010) (“[T]he district court must balance
   4   [the risk of disclosure] against the potential harm to the opposing party from
   5   restrictions on that party’s right to have the benefit of counsel of its choice”).
   6   Jensen has served as Masimo’s outside counsel for over twenty-five years. See
   7   Kiani Decl. ¶ 4; Jensen Decl. ¶ 2. During that time, Jensen has represented
   8   Plaintiffs in numerous cases involving Masimo’s direct competitors and the
   9   exchange of highly confidential information. Jensen Decl. ¶ 3. Plaintiffs rely
 10    heavily on Jensen to evaluate and manage all of their intellectual property
 11    litigation and other litigation concerning the companies’ technologies. Id. ¶¶ 6-
 12    7; Kiani Decl. ¶¶ 4-5. Over the years, Jensen has gained extensive knowledge
 13    of Plaintiffs’ technology. This has given him a unique ability to readily discern
 14    when others are using that technology, assuming, of course, he can see the
 15    relevant evidence. No other lawyer has Jensen’s breadth of understanding of
 16    Plaintiffs’ technology and trade secrets. Kiani Decl. ¶¶ 5, 9; Jensen Decl. ¶ 5-6,
 17    9-10.
 18            Although numerous opponents have tried to deprive Masimo of Jensen’s
 19    leadership in litigation, they have never succeeded. Every court to address this
 20    issue has allowed Jensen access to highly confidential materials or information.
 21    Jensen Decl. ¶ 4.          Indeed, this Court twice rejected the True Wearables
 22    defendants’ attempts to bar Jensen from accessing highly confidential
 23    information. Powell Decl., Exs. 22 and 23. Additionally, Apple’s outside
 24    counsel in this case unsuccessfully attempted to exclude Jensen on behalf of
 25    another client in another case. Id., Ex. 18 at 24-25. This recurrence suggests
 26    that Plaintiffs’ adversaries, including Apple, are well aware that depriving
 27    Plaintiffs of their experienced choice of counsel would severely prejudice
 28    Plaintiffs.

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                                                                                            Exhibit 1
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   1         Jensen is accustomed to abiding by protective orders, appropriately
   2   handling and maintaining designated materials, and ensuring that he never
   3   reveals those materials, or the confidential information they contain, to his
   4   clients. Jensen Decl. ¶¶ 5 and 9; Kiani Decl. ¶ 10. Moreover, when appropriate,
   5   Jensen uses the best safeguard possible—he refrains from engaging in any
   6   discussion that could arguably implicate any information revealed to him under
   7   a protective order—as should any other outside lawyer. Jensen Decl. ¶ 5; Kiani
   8   Decl. ¶ 10. Because the actual prejudice to Plaintiffs outweighs any alleged—
   9   although unexplained—harm to Apple, this Court should reject Apple’s
 10    proposed restriction.
 11                 b.     The Court Should Reject Apple’s Attempt to Provide
 12                        Plaintiffs’ Trade Secrets To Its In-House Counsel
 13          Apple argued Plaintiffs’ Section 2019.210 disclosure must be detailed and
 14    that this particular case requires a “more exacting level of particularity” than
 15    standard trade secret cases. Powell Decl., Ex. 25 at 21 n.1. Despite advocating
 16    for such a high standard, Apple insists that three of its in-house lawyers should
 17    have access to the highly confidential trade secrets set forth in Plaintiffs’
 18    Section 2019.210 disclosure. Id., Ex. 4 at 17. Apple provides no support or
 19    justification for requiring Plaintiffs to disclose trade secrets to Apple
 20    employees.     Apple’s proposal thus creates a significant risk of further
 21    misappropriation of Plaintiffs’ trade secrets.
 22          “Requiring a party to rely on its competent outside counsel does not
 23    create an ‘undue and unnecessary burden’” See Intel Corp. v. VIA Techs., Inc.,
 24    198 F.R.D. 525, 529 (N.D. Cal. 2000) (rejecting Intel’s request to allow its in-
 25    house counsel access to highly confidential material because Intel was
 26    represented by competent outside counsel); see also CytoSport, Inc. v. Vital
 27    Pharm., Inc., 2010 WL 1904840, at *2 (E.D. Cal. May 10, 2010) (rejecting
 28    request for outside counsel to view confidential material because forcing

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                                                                                           Exhibit 1
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   1   defendant to “rely on competent outside counsel does not create an ‘undue and
   2   unnecessary burden,’ sufficient to demonstrate actual prejudice”). Here, Apple
   3   is represented by Gibson Dunn, which claims it has 20 offices, 1300+ lawyers,
   4   and “129 years of excellence.”        See https://www.gibsondunn.com (accessed
   5   June 19, 2020). Apple will suffer no prejudice from denying Apple’s in-house
   6   counsel access to Plaintiffs’ trade secrets.
   7         Apple’s proposal also highlights its continued lopsided approach to
   8   litigating this case.    Apple is simultaneously seeking to prevent one of
   9   Plaintiffs’ outside counsel from accessing all highly confidential information
 10    while providing three of Apple’s in-house counsel access to Plaintiffs trade
 11    secrets. See Powell Decl., Ex. 4 at 17. Nothing supports such a one-sided and
 12    inequitable proposal. The Court should adopt Plaintiffs’ proposal.
 13          2.     Defendant’s Position
 14          The parties have two disputes over which individuals should receive
 15    access to another party’s highly confidential information. First, Apple seeks
 16    entry of a protective order that denies access of its highly confidential and
 17    sensitive “attorneys’ eyes only” documents to a party’s outside counsel who are
 18    competitive decision-makers or have served on a party’s Board of Directors
 19    within the last two years. This request is a reasonable and necessary measure to
 20    protect Apple’s valuable technical information from inadvertent disclosure or
 21    misuse. Second, to the extent Plaintiffs replead their trade secret claim, Apple
 22    seeks to have a limited number of its in-house counsel receive access to
 23    Plaintiffs’ alleged trade secrets, given the integral role in-house counsel is
 24    playing in the defense of this matter.
 25
 26
 27
 28

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                                                                                          Exhibit 1
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   1                a.     This Court Should Bar Those Who are Either
   2                       Competitive Decision-Makers Or Are Present Board
   3                       Members Or Were Board Members Within The Last
   4                       Two Years From Accessing Confidential Materials
   5         The parties agree that this action will involve disclosure of trade secret
   6   and other confidential and proprietary information; the parties disagree as to
   7   whether outside counsel who are competitive decision-makers or serve on a
   8   party’s Board of Directors should be permitted access to highly confidential
   9   documents designated by Apple as “Attorneys’ Eyes Only.” In support of their
 10    argument that such persons should have access, Plaintiffs rely on their briefing
 11    in the True Wearables case. However, Apple was not a party to that briefing
 12    and Plaintiffs’ attempts to liken this case to True Wearables fails in any event.
 13    In True Wearables, Plaintiffs asserted trade secret and infringement claims
 14    against the six-year old medical device start-up True Wearables, Inc. This is an
 15    inapposite comparison to the present case with Apple, one of the largest
 16    technology companies in the world. The accused products in this case, the
 17    Apple Watch Series 4 and 5, are extremely successful and valuable products
 18    already in the wearables space—far different than the fledgling startup in True
 19    Wearables.
 20          Ninth Circuit precedent is clear that district courts may preclude access to
 21    a party’s confidential and proprietary information from those involved in an
 22    opposing party’s competitive decision-making.           Brown Bag Software v.
 23    Symantec Corp., 960 F.2d 1465, 1470 (9th Cir. 1992). The Federal Circuit has
 24    defined what “competitive decision-making” means,8 and, to avoid any doubt as
 25
 26          8
               Competitive decision-making is “[s]horthand for a counsel’s activities,
 27    association, and relationship with a client that are such as to involve counsel’s
       advice and participation in any or all of the client’s decisions . . . made in light
 28    of similar or corresponding information about a competitor.” See U.S. Steel

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   1   to its meaning, Apple’s proposal explicitly incorporates that definition. Mr.
   2   Jensen, is a long-time contributor to Plaintiffs’ competitive decision-making.
   3   Mr. Jensen’s extensive participation in Plaintiffs’ business enterprises creates an
   4   untenable risk that his access to Apple’s confidential information will lead to the
   5   inadvertent disclosure to those most capable of misusing Apple’s information.
   6   But excluding competitive decision makers alone is not enough to resolve the
   7   dispute, because Plaintiffs argue that one of their outside counsel, Mr. Jensen,
   8   should not meet the Court’s definition of a competitive decision maker, a
   9   position that Apple strongly disputes. Rather than defer that issue to a later
 10    discovery dispute, Apple’s proposed protective order also explicitly excludes
 11    current Board Members and those that have served in that role within the last
 12    two years, which would exclude Mr. Jensen since he is a current member of the
 13    Board of Directors of Plaintiff Cercacor.        Restricting access from Board
 14    members has been consistently upheld in cases in which courts have been asked
 15    to impose those restrictions because participation at Board meetings “present[s]
 16    an unacceptable opportunity for the inadvertent disclosure of confidential
 17    information” because of the conflicting duty of disclosure inherent in Board
 18    service and an individual’s consent to abide by a protective order. See, e.g.,
 19    Meridian Enters. Corp. v. Bank of Am. Corp., 2008 WL 474326, at *4 (E.D.
 20    Mo. Feb. 15, 2008); Norbrook Labs., Ltd. v. G.C. Hanford Mfg. Co., 2003 WL
 21    1956214 (N.D.N.Y. April 24, 2003).
 22          Here, good cause exists for granting Apple’s protective order. First, the
 23    nature and pervasive scope of Mr. Jensen’s involvement with Plaintiffs’
 24    business enterprises cannot be adequately separated from his concurrent role in
 25    Plaintiffs’ wider litigation licensing business in a way that will otherwise ensure
 26    the confidentiality of Apple's information. Second, Mr. Jensen’s service on
 27
 28    Corp. v. United States, 730 F.2d 1465, 1468 & n.3 (Fed. Cir. 1984).

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                                                                                             Exhibit 1
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   1   Plaintiff Cercacor’s Board of Directors and its attendant fiduciary duty to that
   2   Board evince the conflict of interests inherent in allowing him access to Apple’s
   3   confidential trade secret information. Third, the balance of hardships clearly
   4   favors Mr. Jensen’s exclusion in this case. The harm to Apple of inadvertent
   5   disclosure of its most confidential information to Plaintiffs is substantial, given
   6   that this information is its “crown jewel,” disclosure to other companies of
   7   which would create substantial harm to Apple.          See Corp. Couns. Gd. To
   8   Software Trans. § 8:2; see also, e.g., buySAFE, Inc. v. Google, Inc., No. 3:13-
   9   CV-781, 2014 WL 2468553, at *2 (E.D. Va. June 2, 2014). By contrast,
 10    Mr. Jensen’s exclusion would pose little harm to Plaintiffs, who employ a
 11    variety of highly competent counsel (over fifteen partners and associates have
 12    appeared on filings and meet and confers in this case) to represent them in this
 13    and other cases.     Accordingly, an order preventing Mr. Jensen and others
 14    similarly situated from viewing Apple’s confidential information will not
 15    meaningfully impair Plaintiffs’ ability to conduct this litigation; it will simply
 16    prevent the inadvertent misuse or disclosure in other existing or potential
 17    litigation of confidential information obtained from this litigation.
 18                        i.    The Relationship Between Mr. Jensen And
 19                              Plaintiffs Presents An Unacceptable Risk Of
 20                              Inadvertent Disclosure Of Confidential
 21                              Information In This Case
 22          The decision to exclude counsel from discovery requires an assessment in
 23    each case of “the risk of inadvertent disclosure.” In re Matsushita Electric
 24    Industrial Co. v. United States, 929 F.2d 1577, 1579 (Fed. Cir. 1994) (quoting
 25    U.S. Steel Corp., 730 F.2d at 1468). That risk, in turn, “must be determined . . .
 26    by the facts on a counsel-by-counsel basis.” Id. Although the Federal Circuit
 27    has stated that the key inquiry in evaluating that risk involves determining
 28    whether the lawyer is involved in his client's “competitive decision making,” it

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                                                                                             Exhibit 1
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   1   has also made clear that that term is simply “shorthand” for broader
   2   considerations relevant to assessing the risk of inadvertent disclosure, such as “a
   3   counsel’s activities, association, and relationship with a client that are such as to
   4   involve counsel's advice and participation in any or all of the client's decisions.”
   5   U.S. Steel Corp. 730 F.2d at 1468 n.3. As one court has noted, “involvement in
   6   competitive decisionmaking, while an important consideration [under U.S. Steel
   7   Corp.], is not necessarily the exclusive one,” and proper analysis under U.S.
   8   Steel involves a “careful and comprehensive inquiry” into the lawyer's “role in
   9   the affairs of [his client's] company, his association and relationship with those
 10    in the corporate hierarchy who are competitive decisionmakers, and any other
 11    factor that enhances the risk of inadvertent disclosure.” Autotech Techs. Ltd.
 12    P’ship v. AutomationDirect.com, Inc., 237 F.R.D. 405, 408 (N.D. Ill. 2006).
 13          Therefore, the determination of whether Mr. Jensen may be excluded
 14    from access to confidential information involves a factual inquiry into whether
 15    his “activities, association, and relationship” with Plaintiffs “are such as to
 16    involve counsel’s advice and participation in any or all” of Plaintiffs’ decisions
 17    in operating their licensing business. U.S. Steel Corp., 730 F.2d at 1468 n.3.
 18          Over the course of Mr. Jensen’s longstanding representation of Plaintiffs,
 19    Mr. Jensen has served as both a day-to-day and long-term strategy advisor. He
 20    has evaluated the companies’ intellectual property portfolios and overseen legal
 21    due diligence, and he also served as Masimo’s acting Senior Vice President of
 22    OEM Business, Business Development and General Counsel. See Biography of
 23    Steve Jensen, accessible at https://www.knobbe.com/attorneys/steve-jensen. It
 24    was in this capacity that Mr. Jensen made business decisions relating to the
 25    manufacture of Masimo’s equipment and components.
 26          In a 2020 declaration describing Mr. Jensen’s role as Plaintiffs’ attorney,
 27    the former Chief Technology Officer at Masimo Corporation stated Mr. Jensen
 28    “would advise Masimo about when to file patent applications, where to file

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   1   patent applications, whether to pursue continuations, and other decisions related
   2   to creating patent portfolio value.” Masimo Corp. v. True Wearables, No. 3:18-
   3   CV-02001-JVS-JDE, Dkt. 82-6, Ex. 6 at ¶ 4 (Mar. 16, 2020).               Indeed,
   4   Mr. Jensen is listed as an attorney of record before the USPTO on each of the
   5   patents-in-suit and thus, may become a witness in this litigation, as the
   6   prosecuting patent attorney may sometimes be deposed regarding the statements
   7   made to the Patent and Trademark Office.
   8         Taken together, these facts create a situation in which Mr. Jensen’s
   9   experience as a business decision-maker is impossible to separate from his role
 10    as Plaintiffs’ outside counsel.     Given the depth of his involvement and
 11    investment in Plaintiffs’ business, Mr. Jensen should not be permitted to access
 12    Apple’s highly confidential information.
 13                       ii.    The Nature of Mr. Jensen’s Service on Cercacor’s
 14                              Board of Directors Conflicts With The Obligation
 15                              To Remain Silent Under A Protective Order
 16          Directors are fiduciaries of a corporation and, as such, occupy positions
 17    of trust and confidence on which corporate officials must rely. In re Allegheny
 18    Int'l, Inc., 954 F.2d 167, 180 (3d Cir. 1992). A significant part of a director’s
 19    duty of loyalty is to disclose to other decision-makers all information in his
 20    possession germane to a transaction at issue. Id.
 21          A Board member’s duty of disclosure arises from a director’s general
 22    duties of care, good faith, and loyalty to the corporation, and the duty of
 23    disclosure requires that directors “disclose fully and fairly all material
 24    information within the board’s control.” Skeen v. Jo-Ann Stores, 750 A.2d 1170
 25    (Del. 2000). The American Bar Association’s Corporate Director’s Guidebook
 26    states that corporate directors have the following duty of disclosure:
 27
                    As fiduciaries, directors have an obligation to take
 28                 reasonable steps to ensure that shareholders are

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   1                furnished with all relevant material information known
                    to the directors … . Likewise, directors also have the
   2
                    duty to information their fellow directors and
   3                management about information known to the director
                    that is relevant to corporate decisions.
   4
   5   ABA Section of Business Law, Corporate Director's Guidebook Fifth Edition,
   6   § 3(C)(4) (2007) (Exhibit A).
   7         Apple’s proposal seeks to exclude outside counsel with service on a
   8   Party’s or a competitor of a Party’s Board of Directors. The reason for this is
   9   because such counsel bear fiduciary duties of disclosure to their Board of
 10    Directors, yet must also abide by their ethical obligations as attorneys to the
 11    protective order. To permit these oft-conflicting commitments unnecessarily
 12    jeopardizes the security of Apple’s most sensitive information.
 13          Plaintiffs seek to invite these very risks by requesting that Mr. Jensen,
 14    member of both Cercacor’s Board of Directors and Masimo’s Board of
 15    Directors of the Masimo Foundation for Ethics, Innovation and Competition in
 16    Healthcare, receive access to Apple’s highly confidential information.
 17    Plaintiffs’ contentions that Mr. Jensen does not make business decisions would
 18    mean that he does not fulfill his obligations to either Board as a director and
 19    thus, cannot mean what they said. Directors are required to make decisions
 20    related to the business of the corporation in order to fulfill their fiduciary
 21    obligations. Mr. Jensen’s duties of disclosure inherent in his service on the
 22    Boards of both Plaintiffs directly fan the flames of the risks created in granting
 23    Mr. Jensen access to Apple’s protected information. The confidential technical
 24    information about Apple’s business which Mr. Jensen learns through an
 25    “attorneys’ eyes only” disclosure constitutes information that would be relevant
 26    to a variety of Plaintiffs’ corporate decisions. As such, Mr. Jensen’s fiduciary
 27    duty to disclose such information would obligate Mr. Jensen to inform the other
 28    directors of Cercacor about any confidential “attorneys’ eyes only” information

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   1   of Apple’s that was also relevant to Cercacor’s corporate decisions.
   2   Accordingly, Courts have recognized that there is direct conflict between
   3   outside counsel’s obligations to abide by a protective order and his simultaneous
   4   fiduciary duty to the corporation as a Board member and have uniformly refused
   5   to allow access by individuals such as Mr. Jensen to the highly
   6   confidential/trade secret information of another party. See Norbrook Labs. Ltd.
   7   v. G.C. Hanford Mfg. Co. 2003 WL1956214, at *5 (N.D.N.Y. Apr. 24, 2003)
   8   (“While the court does not doubt [outside counsel and Board member] Mr.
   9   Heath's assurances that he will abide by the protective order, it cannot endorse a
 10    situation that places Mr. Heath's ethical obligations as an attorney in direct
 11    competition with his fiduciary duty to Hanford); see also Meridian Enters.
 12    Corp. v. Bank of Am. Corp., 2008 WL474326, at *3 (E.D. Mo. Feb. 15, 2008)
 13    (finding “that the risk of inadvertent disclosure is great because Mr. McMullin
 14    is both a shareholder of [Plaintiff] and a member of its Board of Directors, and
 15    therefore has a fiduciary duty to [Plaintiff] to disclose all information in his
 16    possession germane to issues discussed”).
 17          To the extent Plaintiffs may argue that they have no interest in Apple’s
 18    underlying technology, that is false. Plaintiffs’ contention is belied by the fact
 19    that Cercacor sells a device that “measures hemoglobin” and “are synced via
 20    Bluetooth to an app which can display trends over time.” See Medgadget @
 21    CES 2016: Cercacor’s Ember Non-Invasive Hemoglobin Sensor, Scott Jung,
 22    Medgadget (Jan. 8, 2016), https://www.medgadget.com/2016/01/medgadget-
 23    ces-2016-cercacors-ember-non-invasive-hemoglobin-sensor.html;         see    also
 24    Athletes can know their hemoglobin instantly with Ember (Jan. 18, 2016),
 25    https://www.sportswearable.net/athletes-can-know-their-hemoglobin-instantly-
 26    with-ember/ (“Cercacor has produced a wearable which will provide you with
 27    real-time data.”). Plaintiffs’ product is designed to interact with Apple’s iPhone
 28    and the accused Apple Watch also interacts with the iPhone. The likelihood of

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   1   future overlap between the technology that the accused products practice and
   2   those of the products that Plaintiffs sell is increasing.    Indeed, Cercacor’s
   3   product and the Apple Watch are both wearables and are targeted to the
   4   consumer market. The wearable market is growing, especially as it relates to
   5   health-related applications. It is incredibly unfair and prejudicial for Cercacor
   6   to have a member of its Board of Directors with a fiduciary duty to steer that
   7   company in the right direction to have had access to Apple’s highly confidential
   8   technical, financial, and source code information.
   9         Assume, for example, that Cercacor is considering introducing a new
 10    feature that technical documentation from Apple shows to have been rejected as
 11    unsuccessful. By virtue of his access to Apple’s highly confidential financial,
 12    technical, and source code information, Mr. Jensen knows that Apple has
 13    already rejected that feature as being unworkable. As a result, Mr. Jensen,
 14    sitting in the Board meeting considering the issue, knows that Cercacor will be
 15    wasting million dollars if it proceeds.      Does he tell the Board and the
 16    shareholders? Mr. Jensen has a fiduciary duty to advise the company and at the
 17    same time, a prohibition from disclosing that information under the protective
 18    order in this case. That is why the concern is so acute for Board members. As
 19    explained in Norbrook Labs, Board members and those with competitive
 20    decision-making should be denied access to Apple’s “attorneys’ eyes only”
 21    highly confidential technical, financial, and source code information. 2003
 22    WL1956214, at *5.
 23          And where source code is involved, the risk is even greater. Indeed,
 24    Plaintiffs cite no cases in this court or the Federal Circuit where Board members
 25    of a reviewing party are subsequently allowed to view a competitor’s guarded
 26    technical information.
 27
 28

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   1                       iii.   The Risk Of Inadvertent Disclosure of Apple’s
   2                              Confidential Information Outweighs Harm To
   3                              Plaintiffs, If Any
   4         This litigation involves sensitive and highly confidential technology
   5   present in the Accused Products (the Apple Watch Series 4 and 5). Thus, the
   6   confidential technical documents at issue is information that Apple must be
   7   careful not to allow to fall into the hands of those that may be interested in
   8   developing products that may compete with or otherwise exploit the technology
   9   in the Accused Products or drafting patent claims to read on those products.
 10    Any disclosure or improper use of Apple’s confidential information by
 11    Mr. Jensen or any outside counsel, even if inadvertent, would severely harm
 12    Apple by revealing its proprietary technology. Indeed, Apple could lose the
 13    entire competitive advantage offered by its proprietary features if its source code
 14    were disclosed.
 15          We emphasize, of course, that our concern is inadvertent disclosure. We
 16    do not question Mr. Jensen’s integrity as an officer of the court. But as the
 17    Federal Circuit has stated, “[i]nadvertence, like the thief-in-the-night, is no
 18    respecter of its victims.” U.S. Steel Corp., 730 F.2d at 1468. Where counsel is,
 19    like Mr. Jensen, an integral part of his client's litigation licensing enterprise, and
 20    is exposed to confidential information that may aid in advancing that enterprise,
 21    “compartmentalization of protected information is . . . ‘a feat beyond the
 22    compass of ordinary minds.’” Autotech, 237 F.R.D. at 408 (quoting Shepard v.
 23    United States, 290 U.S. 96 (1933)). Or, to put it more bluntly: “once knowledge
 24    has been gained, a person cannot perform a prefrontal lobotomy on himself.”
 25    Id. at 408 n.3.
 26          The issue of inadvertent disclosure can take on additional significance in
 27    cases involving patents and trade secrets when the firm representing a party in
 28    litigation matters also represents the party in patent prosecution and other

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   1   intellectual property matters related to patent prosecution. See In re Deutsche
   2   Bank Tr. Co. Ams., 605 F.3d 1373 (Fed. Cir. 2010). While Mr. Jensen says that
   3   he no longer is involved in patent prosecution for Plaintiffs, his partners and
   4   associates are. He works regularly with those colleagues in patent litigation
   5   matters and the risk of inadvertent disclosure within his firm is thus a significant
   6   concern. For attorneys involved in “making strategic decisions on the type and
   7   scope of patent protection that might be available or worth pursuing, . . .
   8   competitive decisionmaking may be a regular party of their representation.” Id.
   9   at 1380. In such instances, “the risk of inadvertent disclosure of competitive
 10    information learned during litigation is therefore much greater.” Even where an
 11    attorney is not directly involved in patent prosecution, these attorneys may have
 12    “the opportunity to influence the direction of prosecution,” and the risk of
 13    inadvertent disclosure may nonetheless arise. Id.
 14          In short, granting Mr. Jensen unrestricted access to confidential
 15    information about Apple’s methods and systems would expose Apple to endless
 16    litigation, even if Mr. Jensen conducts himself entirely in good faith.
 17          By contrast, denying Mr. Jensen access to confidential information would
 18    impose no significant harm on Plaintiffs. Plaintiffs retain highly competent
 19    outside counsel to conduct their litigation, and have more than adequate
 20    resources to retain additional counsel if they deem it necessary. Plaintiffs have
 21    other highly competent counsel that have been involved in this case since its
 22    beginning (and even in previous cases). Indeed, Mr. Jensen is not designated as
 23    lead counsel—that is the role of Mr. Joseph Re. The availability of competent
 24    outside counsel is typically sufficient to defeat any claim that exclusion of in-
 25    house counsel would unduly prejudice the nonmoving party.             See, e.g., A.
 26    Hirsch Inc. v. United States, 657 F. Supp. 1297, 1305 (Ct. Int'l Trade 1987) (“in
 27    view of retained counsel’s competence, it is not clear how plaintiffs' position
 28    will be prejudiced by excluding [in-house] counsel from access”); Brown Bag

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   1   Software, 960 F.2d at 1471 (finding no prejudice where outside counsel had
   2   sufficient time and resources to review confidential materials and was
   3   competent).    The balance of hardships, therefore, strongly favors denying
   4   Mr. Jensen access to Apple’s confidential information.
   5                 b.   Apple’s Provision Providing Trade Secrets to its In-
   6                      House Counsel
   7         Plaintiffs argue that Apple’s proposal would result in a one-sided
   8   approach whereby its in-house counsel would receive access to Plaintiffs’
   9   alleged trade secrets and Plaintiffs’ in-house counsel would not receive the
 10    same. But by nature of their trade secret misappropriation claim, Plaintiffs have
 11    alleged that Apple already has possession of their trade secrets.9 If Plaintiffs’
 12    trade secret information is already in Apple’s possession, as Plaintiffs contend,
 13    then Plaintiffs should have no qualms about sharing that information with the
 14    persons at Apple directly involved in the defense of this lawsuit. And as Apple
 15    has explained repeatedly, a very limited number of Apple’s in-house counsel
 16    need access to this information in a case where Plaintiffs have asserted a
 17    serious, high exposure claim of trade secret misappropriation against the
 18    company. Contrary to Plaintiffs’ assertions, the competence of Apple’s outside
 19    counsel does not absolve in-house counsel’s need for access to this information.
 20          Apple’s in-house counsel is integrally involved in the defense of this
 21    lawsuit. They need to know the purported trade secrets that Plaintiffs contend
 22    were misappropriated (to the extent Plaintiffs replead that any purported trade
 23    secrets were in fact misappropriated by Apple) in order to advise on strategy—
 24    and, more importantly, to guide document collection and production, which
 25
             9
 26              Of course, Apple recognizes that the trade secret claim has been
       dismissed from this case. However, because the claim was dismissed with leave
 27
       to replead, Apple wants to make sure that this protective order adequately serves
 28    its interests and needs in the event the claim is repleaded.

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   1   depends on the purported trade secrets actually at issue, if any.       In-house
   2   counsel is overseeing document discovery, and therefore needs to know the
   3   identity of the purported trade secrets so that it can manage the search for
   4   responsive documents, and also prevent disclosure of Apple’s trade secrets.
   5         Moreover, Apple genuinely does not believe that it possesses any of
   6   Plaintiffs’ trade secrets—nor does Apple want any of Plaintiffs’ trade secrets.
   7   In-house counsel needs to know what information Plaintiffs claim Apple
   8   misappropriated, if any, so that it can address the allegations internally and
   9   excise any alleged trade secrets from Apple products as soon as possible. In-
 10    house counsel cannot do so without any information about the particular,
 11    alleged trade secrets at issue in this case—thereby hindering Apple’s ability to
 12    mitigate damages to the extent Plaintiffs have a valid misappropriation claim, as
 13    is Apple’s duty under the law. For these reasons, it is incredibly common for
 14    parties in trade secret cases to agree that a limited number of in-house counsel
 15    will have access to attorneys’ eyes only information, including the plaintiffs’
 16    Section 2019.210 disclosure.      See, e.g., Transcript of Case Management
 17    Proceedings, Waymo LLC v. Uber Techs., Inc., No. C 17-00939 WHA (N.D.
 18    Cal. March 16, 2017), ECF. No. 63 (permitting disclosure of highly confidential
 19    materials to one in-house counsel upon his or her agreement to be bound by the
 20    protective order); Order at 10, Bladeroom Grp. Ltd., et al., v. Facebook, Inc.,
 21    No. CV-15-01370-EJD (N.D. Cal. Aug. 3, 2015) ECF No. 54 (permitting
 22    disclosure of attorneys’ eyes only material to two designated in-house counsel
 23    who have no involvement in competitive decision-making, to whom disclosure
 24    is reasonably necessary for the litigation, and who have agreed to be bound by
 25    the protective order); MMCA Grp., Ltd. v. Hewlett-Packard Co., 2009 WL
 26    595537, at *1 (N.D. Cal. Mar. 5, 2009) (granting two of defendants’ in-house
 27    attorneys access to attorneys’ eyes only material given small risk of disclosure
 28    where the “attorneys who would be given access to AEO materials would be

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   1   litigation attorneys with no involvement” in defendants’ business affairs); see
   2   also, e.g., Order at 10, Mastronardi Int’l Ltd. v. SunSelect, 18-cv-00737-AWI-
   3   JLT, 2019 WL 3996608, at *9 (E.D. Cal. Aug. 23, 2019) ECF No. 60
   4   (permitting disclosure of attorneys’ eyes only material to any number of
   5   designated in-house counsel who are not involved competitive decision-making,
   6   to whom disclosure is reasonably necessary for the litigation, and who have
   7   agreed to be bound by the protective order).
   8   G.    Section 10 – Prosecution Bar
   9         The Parties’ proposals regarding the patent prosecution bar in Section 10
 10    are not amenable to convenient redlining and are presented separately below.
 11    Plaintiffs’ proposal:
 12          After the adoption of this provision by the parties, Outside Counsel
 13          of Record and any person associated with a Party who receive a
 14          Producing         Party’s   material      designated      “HIGHLY
 15          CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY
 16          CONFIDENTIAL – SOURCE CODE” under this Protective Order
 17          who accesses or otherwise learns of, in whole or in part, said
 18          material     designated      “HIGHLY        CONFIDENTIAL            –
 19          ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL –
 20          SOURCE CODE” under this Protective Order shall not prepare,
 21          prosecute, supervise, advise, counsel, or assist in the preparation or
 22          prosecution of any patent application seeking a patent on behalf of
 23          the Receiving Party or its acquirer, successor, or predecessor in the
 24          field of non-invasive monitoring during the pendency of this
 25          Action and for two years after final termination of this action. To
 26          avoid any doubt, “prosecution” as used in this paragraph does not
 27          include representing or advising a Party before a domestic or
 28          foreign agency in connection with a reissue, ex parte

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    1        reexamination, covered business method review, inter partes
    2        review, opposition, cancelation, or similar proceeding; though in
    3        connection with any such agency proceeding involving the patents-
    4        in-suit, Outside Counsel of Record for a Receiving Party shall not:
    5        (i) participate in the preparation, prosecution, supervision, advice,
    6        counsel, or assistance of any amended claims; (ii) reveal a
    7        Producing      Party’s   Protected     Material   to   any   prosecuting
    8        reexamination counsel or agent; or (iii) use a producing Party’s
    9        Protected Material for any purpose not permitted by Section 5.
  10         The applicability of this provision is to be determined on an
  11         individual-by-individual basis such that an individual attorney who
  12         has not received Protected Material designated “HIGHLY
  13         CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY
  14         CONFIDENTIAL – SOURCE CODE” is not restricted from
  15         undertaking any activities by virtue of this provision even if said
  16         individual attorney is employed by or works for the same firm or
  17         organization as an individual who has received such Protected
  18         Material.
  19    Apple’s proposal:
  20         Plaintiffs’ Language: Absent written consent from the Producing
  21         Party, any individual who receives access to “CONFIDENTIAL,”
  22         “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or
  23         “HIGHLY CONFIDENTIAL – SOURCE CODE” information
  24         shall not be involved, directly or indirectly, in the (i) prosecution
  25         of patents or patent applications relating to non-invasive
  26         physiological monitoring, including without limitation the patents
  27         at issue in this action and any patent or application claiming
  28         priority to or otherwise related to the patents at issue in this action,

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    1        before any foreign or domestic agency, including the United States
    2        Patent and Trademark Office (“the Patent Office”) or (ii) the
    3        acquisition of patents (including patent applications), or the rights
    4        to any such patents or patent applications with the right to
    5        sublicense, relating to the functionality, operation, and design of
    6        non-invasive physiological monitoring technologies. For purposes
    7        of this Paragraph, “prosecution” means advising on, consulting on,
    8        preparing, prosecuting, drafting, editing, and/or amending of patent
    9        applications, specifications, claims, and/or responses to office
  10         actions, or otherwise affecting the scope of claims in patents or
  11         patent applications relating to the functionality, operation, and
  12         design of non-invasive physiological monitoring technologies
  13         (generally or as described in any patent in suit), before any foreign
  14         or domestic agency, including the United States Patent and
  15         Trademark Office;. To avoid any doubt, “prosecution” as used in
  16         this Paragraph does not include providing patent prosecution
  17         counsel with public information to submit to the Patent Office.
  18         “Prosecution” as used in this Paragraph also does not include
  19         representing a party before a domestic or foreign agency in a
  20         patent challenge (including, but not limited to, a reissue protest, ex
  21         parte reexamination, inter partes reexamination, inter partes
  22         review, covered business method review, post-grant review or
  23         other patent office proceedings in the United States or elsewhere
  24         on behalf of a patentee but only if no amendments to the claims are
  25         made to the patent or patent application by anyone during that
  26         process.      If   an   individual      that   has   had   access   to
  27         “CONFIDENTIAL,”            “HIGHLY             CONFIDENTIAL         –
  28         ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL –

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   1         SOURCE CODE” information and participates in a reissue protest,
   2         ex parte reexamination, inter partes reexamination, inter partes
   3         review, covered business method review, post-grant review, or
   4         other patent office proceedings in the United States or elsewhere
   5         on behalf of a patentee, the claims of the patent involved in such
   6         proceedings may not be amended by anyone without violating this
   7         protective order. These prohibitions are not intended to and shall
   8         not preclude counsel from participating directly or indirectly in
   9         proceedings on behalf of a Party challenging the validity of any
 10          patent. This Prosecution Bar shall begin when access to “HIGHLY
 11          CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY
 12          CONFIDENTIAL – SOURCE CODE” information is first
 13          received by the affected individual and shall end two (2) years
 14          after final resolution of this action, including all appeals.
 15          1.     Plaintiffs’ Position
 16          The parties agree to add a prosecution bar to the Court’s Model Order.10
 17    Plaintiffs propose the Court adopt a prosecution bar based on the language from
 18    True Wearables. Compare Powell Decl., Ex. 2 (Plaintiffs’ proposal) at 17-18
 19    with Ex. 13 (True Wearables) at 18-19. The True Wearables prosecution bar is
 20    straightforward and properly allows both sides’ outside counsel to participate in
 21    post-grant patent proceedings before the Patent Office, but bars outside counsel
 22    from participating in amending the claims. Thus, Plaintiffs’ proposal prevents
 23    the inadvertent use of highly confidential information to amend claims without
 24    substantively prejudicing the patentee.
 25
 26
 27          10
                 Apple’s proposal incorrectly and confusingly begins with the phrase
 28    “Plaintiffs’ Language.” That appears to be a typographical error.


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   1         Apple has previously stipulated to similar language in other cases. Pinn
   2   (Powell Decl., Ex. 17) at 15 (permitting “participation in inter partes review
   3   except to amend claims”). This Court also routinely includes similar language.
   4   See Netflix (Powell Decl., Ex. 19) at 13 (permitting participation in inter partes
   5   review proceedings, “but counsel may not participate in the drafting of any new
   6   or amended claims in any such proceeding”); XR Comms. (Powell Decl., Ex. 20)
   7   at 13 (same); Uniloc 2017 LLC v. Microsoft Corp., No. 8:18-cv-02224-AG-
   8   JDE, Dkt. No. 30 (C.D. Cal. May 2, 2019) (Powell Decl., Ex. 23) at 10 (same).
   9   Indeed, other courts have rejected this same proposal by Apple in other cases,
 10    and adopted restrictions similar to Plaintiffs’ proposal. LBT IP I LLC v. Apple
 11    Inc., No. 1-19-cv-01245, Dkt. No. 28 (D. Del. April 27, 2020) (Powell Decl.,
 12    Ex. 15) at 1 (rejecting Apple’s proposal and allowing outside counsel to
 13    participate in Patent Office proceedings as long as they are not involved in
 14    “direct or indirect claim drafting or claim amendment activity”); Achates
 15    Reference Publishing, Inc. v. Symantec et al., No. 2:11-cv-294-JRG-RSP, Dkt.
 16    No. 447 (E.D. Tex. August 20, 2013) (Powell Decl., Ex. 16) at 1-2 (same).
 17          Nevertheless, Apple proposes a one-sided and problematic prosecution
 18    bar. See Powell Decl., Ex. 4 at 18-20. Apple proposes that its outside counsel
 19    can always participate in all aspects of challenging Plaintiffs’ patents, but
 20    Plaintiffs’ outside counsel can be involved in such proceedings “only if no
 21    amendments to the claims are made to the patent or patent application by
 22    anyone during this process.” Id. at 19 (emphasis added). Apple also proposes
 23    that, if Plaintiffs’ outside counsel is involved in post-grant proceedings, “the
 24    claims of the patent involved in such proceedings may not be amended by
 25    anyone without violating this protective order.” Id. (emphasis added). Apple’s
 26    proposal unfairly forces Plaintiffs to choose between preserving their right to
 27    amend their claims during post-grant proceedings or using their preferred
 28    counsel.

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   1         Plaintiffs proposal also makes clear that the prosecution bar applies “on
   2   an individual-by-individual basis,” such that only individual attorneys who
   3   actually receive access to Highly Confidential information are barred from
   4   patent prosecution. Id., Ex. 2 at 17-18. Other individuals at the same firm who
   5   have not received highly confidential information should not be restricted
   6   because such individuals present no risk of inadvertent use or disclosure. This
   7   language should be included to avoid any later argument that access by
   8   individual attorneys disqualifies the entire firm.     The Court should adopt
   9   Plaintiffs’ proposal.
 10          2.     Defendant’s Position
 11          The parties agree that a prosecution bar is appropriate for this matter
 12    because individuals granted access to confidential information, especially source
 13    code and other technical information, should not be permitted to use that
 14    information to prosecute patents. See generally In re Deutsche Bank Tr. Co.
 15    Ams., 605 F.3d 1373, 1381 (Fed. Cir. 2010). The parties disagree, however, as
 16    to two issues. First, Apple proposes that the prosecution bar provisions should
 17    preclude attorneys and others that have seen Protected Material from
 18    participating in any Patent Trial Appeal Board (“PTAB”) proceedings such as
 19    inter partes review (“IPR”) proceedings that will involve claim amendments to
 20    avoid the risk of inadvertent disclosure of that confidential information during
 21    the process of amending the claims.       Second, Apple’s position is that the
 22    prosecution bar should extend to the acquisition of patents because just as patent
 23    prosecution involves the risk that an attorney might inadvertently use another
 24    party’s confidential information to procure patent rights in new and pending
 25    applications based on that other party’s confidential information, so too can that
 26    attorney assist in buying patents that relate to the other party’s confidential
 27    information. Plaintiffs did not address this issue in their portion of the joint
 28    stipulation, but had previously rejected it during the meet and confer process.

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   1               a.     The Prosecution Bar Should Prohibit Those Who Receive
   2                      Apple’s Confidential Information From Participating in
   3                      Inter Partes Review Unless The Patent Owner Does Not
   4                      Attempt to Amend Its Claims
   5         The parties dispute the extent to which the protective order should bar
   6   outside counsel who access another party’s highly confidential materials from
   7   participating in IPR proceedings that involve claim amendments. Plaintiffs
   8   contend that such counsel should have full ability to participate in all non-
   9   amendment aspects of such proceedings. Apple does not object to Plaintiffs’
 10    counsel’s participation in IPR proceedings that will not involve claim
 11    amendments. In that type of proceeding, the claims cannot be narrowed or
 12    modified in a way that improperly uses the other party’s confidential
 13    information. But Apple does object to an attorney that receives confidential,
 14    highly confidential and source code material from an opponent from then being
 15    an attorney in an IPR where the claims of the patent the attorney is representing
 16    will be amended. For purposes of discussion, we will discuss this in the context
 17    of Apple’s highly confidential information and Plaintiffs’ counsel seeking to
 18    participate in representing Plaintiffs in IPRs that involve amendments. In that
 19    context, Apple’s objections to allowing Plaintiffs’ counsel that view its
 20    confidential, highly confidential, and source code information from participating
 21    in any IPR proceeding where the claims of the patent are amended is grounded
 22    in the same concern as barring the same counsel from actually amending the
 23    claims—the risk of inadvertent disclosure of information.
 24          Plaintiffs’ reliance on previous protective orders where Apple has
 25    stipulated not to include this additional protection misses the point.      Prior
 26    experience has demonstrated to Apple the need for this additional level of
 27    protection due to the appearance of impropriety that arises in litigation counsel
 28    who are barred from working on claim amendments being co-counsel with

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                                                                                           Exhibit 1
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   1   amendment counsel in the IPR and both sets of counsel signing onto the
   2   pleadings with the PTAB.       The concern is particularly acute here because
   3   Plaintiffs are highly litigious companies that that have shown time and again
   4   that they are willing to sue companies they view as a threat to their business.
   5   Knobbe Martens, Plaintiffs’ law firm in this litigation (and virtually all of
   6   Masimo’s intellectual property cases), also handles all of Plaintiffs’ patent
   7   prosecution and is intimately involved in their corporate strategy and decision-
   8   making. The need for heightened protection of Apple’s Protected Material is
   9   particularly important here.
 10          This issue has arisen in many cases, and courts frequently fashion
 11    protective orders that prohibit the participation by litigation counsel in any post-
 12    grant review proceedings, in any capacity.11 Apple’s proposal is much less
 13    restrictive, as it would permit Plaintiffs’ litigation counsel who have had access
 14    to Protected Material to participate in post-grant review proceedings that do not
 15    involve claim amendments.       To be clear, counsel that have seen Protected
 16    Material have to make a choice at the time an IPR or other PTAB proceeding is
 17    filed. That counsel can choose to appear as counsel for a patent owner in an IPR
 18
             11
 19             See, e.g., Boston Sci. Corp. v. Cook Grp. Inc., No. 15-980, 2017 WL
       547903, at *2 (D. Del. Feb. 10, 2017); Telebuyer, LLC v. Amazon.com, Inc., No.
 20
       13-CV-1677, 2014 WL 5804334, at 5-*7 (W.D. Wash. July 7, 2014); buySAFE,
 21    Inc. v. Google, Inc., No. 3:13-CV-781, 2014 WL 2468553, at *2 (E.D. Va. June
       2, 2014); Bear Creek Technologies Inc. v. Verizon Services Corp., No. 12-CV-
 22
       600, 2012 WL 3190762, at *2 n.6 (D. Del. July 25, 2012); Pragmatus AV, LLC
 23    v. Facebook, Inc, No. 5:11-CV-2168, 2012 WL 12355858, at *1 (N.D. Cal. July
       5, 2012); 55 Brake, LLC v. Audi of Am., No. 1:CV 08-177-BLW, 2011 WL
 24
       2747523, at *1–*2 (D. Idaho July 13, 2011); Edwards Lifesciences AG v.
 25    CoreValve, Inc., No. 08-91-GMS, 2011 WL 10565589, at *1 (D. Del. Feb. 23,
 26    2011); Methode Electronics, Inc. v. Delphi Automotive Systems LLC, No. 09-
       CV-13078, 2009 WL 3875980, at *4 (E.D. Mich. 2009), affirming and
 27    modifying in part magistrate's order, 679 F. Supp. 2d 828, 835–36 (E.D. Mich.
 28    Jan. 19, 2010).


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                                                                                              Exhibit 1
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   1   with the understanding that the claims of that patent will not be able to be
   2   amended even by other counsel involved in the IPR. If Plaintiffs believe that an
   3   amendment is going to be made, then it can hire other counsel that have not seen
   4   Apple’s confidential, highly confidential, and source code information to handle
   5   the IPR and make the amendments.
   6         The protections Apple seeks are especially warranted in cases where, as
   7   here, the case concerns the disclosure of a company’s source code—valuable
   8   information that Apple considers the “crown jewels” of its intellectual property
   9   portfolio. Unwired Planet LLC v. Apple Inc., No. 3:12-CV-00505-RCJ, 2013
 10    WL 1501489, at *5 (D. Nev. Apr. 11, 2013). Such cases “may require the bar to
 11    extend to post-issuance proceedings because they involve highly confidential
 12    information, such as source code, which, if disclosed, could compromise the
 13    value of the disclosing party’s products.”       Mirror Worlds Techs., LLC v.
 14    Facebook, Inc., No. 17-CV-3473 (JGK), 2017 WL 5969334, at *2 (S.D.N.Y.
 15    Nov. 20, 2017) (quotations omitted); cf. Drone Techs., Inc., v. Parrot S.A., 838
 16    F.3d 1283, 1300 n.13 (Fed, Cir. 2016) (“[S]ource code requires additional
 17    protections to prevent improper disclosure because it is often a company's most
 18    sensitive and most valuable property. As a result, district courts regularly
 19    provide for additional restrictions on discovery to account for the unique
 20    characteristics of source code.”) (citation omitted).
 21           Courts have recognized the risks in allowing litigation counsel to
 22    participate in post-grant proceedings where claims may be amended. See, e.g.,
 23    Mirror Worlds Techs., LLC 2017 WL 5969334, at *3 (citing Telebuyer, 2014
 24    WL 5804334, at *6) (“When a[n] attorney gains access to highly confidential
 25    information in an infringement case, there is a risk that the attorney will be able
 26    to use that information to . . . amend . . . the scope of [the patent] claims to
 27    sustain them against a challenge in a post-issuance proceeding.”). Plaintiffs
 28    argue that their attorneys who obtain access to Apple’s confidential materials

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                                                                                             Exhibit 1
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   1   should be allowed to participate in any IPR proceeding up until the patents are
   2   amended. If Plaintiffs decide to move to amend the challenged patent in the
   3   IPR, it is only at that point, Plaintiffs argue, that those attorneys who have
   4   viewed Apple’s confidential materials could continue as counsel in the IPR and
   5   they would simply have co-counsel join the IPR to be the ones to work on the
   6   amendments.       However, Plaintiffs’ proposal misses the point of these
   7   protections. Those who have viewed Apple’s confidential, highly confidential,
   8   and source code information are at risk for inadvertently disclosing the
   9   information to amendment counsel. Plaintiffs’ counsel with that knowledge
 10    would be co-counseling with amendment counsel. In that environment, the risk
 11    of inadvertent disclosure is extremely high—that is, that the litigation counsel
 12    with knowledge of Apple’s highly confidential information could guide
 13    amendment counsel to make amendments that would cover Apple products or
 14    steer amendment counsel away from making amendments that would exclude
 15    features in Apple’s products.        It is difficult “for the human mind to
 16    compartmentalize and selectively suppress information once learned, no matter
 17    how well-intentioned the effort may be to do so.” In re Deutsche Bank Tr. Co.
 18    Ams., 605 F.3d 1373, 1378 (Fed. Cir. 2010).
 19          Plaintiffs further argue that this provision is a matter of fairness. They
 20    call Apple’s proposal “one-sided” in that it would permit its outside counsel to
 21    participate in all aspects of challenging Plaintiffs’ patents. Again, Plaintiffs fail
 22    to appreciate the purpose of this protection. Plaintiffs’ outside counsel are
 23    receiving access to Apple’s most valuable and protected confidential
 24    information. The need for minimizing the risk of inadvertent disclosure is clear.
 25    Even if Apple’s litigation counsel reviewed Plaintiffs’ highly confidential and
 26    source code information, there is no risk of misusing that information in
 27    attacking Plaintiffs’ patents.
 28

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                                                                                               Exhibit 1
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   1         Plaintiffs’ last paragraph in their statement on this section attempts to
   2   characterize the parties as disputing whether the application of the prosecution
   3   bar applies on an individual-by-individual basis. Apple has never taken the
   4   position that a prosecution bar should apply to all individuals at the law firm
   5   receiving highly confidential information. Indeed, no reading of its proposal
   6   could support such an interpretation. It is clear from its proposal that the
   7   prosecution bar shall apply to those in receipt of highly confidential information
   8   on an individual basis.
   9         Apple’s proposal strikes an appropriate balance between the parties’
 10    interests. It would permit Plaintiffs’ trial counsel to represent Plaintiffs in post-
 11    grant review proceedings involving asserted patents that are not to be amended
 12    during those proceedings—thereby minimizing any burden or hardship on
 13    Plaintiffs. But that decision would need to be made in advance of entering an
 14    appearance in that post-grant proceeding. If amendments are to be made, then
 15    Plaintiffs would need to engage other counsel that have not reviewed Apple’s
 16    confidential, highly confidential, or source code information to represent it in
 17    the post-grant proceedings on that patent from the outset of the proceeding.
 18    Plaintiffs’ proposal, in contrast, would allow Plaintiffs’ trial counsel to
 19    (consciously or subconsciously) use their knowledge of Apple’s highly sensitive
 20    documents in such proceedings to strategically narrow Plaintiffs’ patent claims
 21    in an effort to avoid the prior art while still covering aspects of Apple’s
 22    products. The provision that Apple proposes is needed to protect against this
 23    exact risk, and should be included in the protective order entered in this case.
 24                 b.     The Significant Risk Of Inadvertent Disclosure Justifies
 25                        The Inclusion Of An Acquisition Bar In The Protective
 26                        Order
 27          Both parties agree that a patent prosecution bar should be put in place.
 28    The fundamental rationale behind such bars is that a person involved in writing

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                                                                                               Exhibit 1
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   1   patent claims in a pending patent application may choose to write the claim to
   2   cover technology he or she saw in the confidential files of the opposing party or
   3   to avoid amending or adding claims in pending patent applications that would
   4   not cover the confidential technology of the other party. That fundamental
   5   principle is equally applicable when an attorney is advising clients on whether
   6   to purchase new patents for its portfolio. In both situations, the attorney is being
   7   asked to provide advice to the client that could result in the client having new
   8   patent claims that can be asserted against the adversary.
   9         Thus, to prevent counsel’s inadvertent reliance on confidential
 10    information, a patent acquisition bar provision should be ordered to prohibit any
 11    of Plaintiffs’ counsel who actually review Apple’s sensitive technical material
 12    from participating in patent acquisitions relating to that material’s subject matter
 13    until two year after the case ends.
 14          A patent acquisition bar is a reasonable compromise on a necessary
 15    protection.   Courts regularly find it appropriate to restrict individuals who
 16    receive another party’s confidential technical information from later assisting in
 17    the acquisition of patents covering the disclosed technology.12 The rationale for
 18
 19
             12
                See, e.g., Order at 5, Realtime Adaptive Streaming LLC v. Google LLC,
 20    No. 18-CV-03629 (C.D. Cal. July 18, 2019), ECF No. 80; Intellectual Ventures
 21    I, LLC v. Lenovo Group Ltd., 2019 WL 343242, at *4 (D. Mass. Jan. 25, 2019);
       Order at 3, Uniloc USA, Inc. v. Apple Inc., No. 18-CV-00572 (N.D. Cal. July 2,
 22    2018), ECF No. 107; Order at 10, Univ. of Va. Patent Found. v. Gen. Elec. Co.,
 23    No. 14-CV-00051 (W.D. Va. June 11, 2015), ECF No. 61; Telebuyer, 2014 WL
       5804334, at *7; Inventor Holdings, LLC v. Google, Inc., 2014 WL 4369504, at
 24    *2 (D. Del. Aug. 27, 2014); Catch A Wave Techs., Inc. v. Sirius XM Radio, Inc.,
 25    No. 12-CV-05791, 2013 WL 9868422, at *1 (N.D. Cal. Aug. 6, 2013); EPL
       Holdings, LLC v. Apple Inc., No. C-12-04306, 2013 WL 2181584, at *5 (N.D.
 26    Cal. May 20, 2013); Unwired Planet LLC v. Apple Inc., No. 12-CV-00505,
 27    2013 WL 1501489, at *7 (D. Nev. Apr. 11, 2013); Transcript at 29:20–30:4,
       Intellectual Ventures I LLC v. Altera Corp., No. 10-CV-00065 (D. Del. Aug. 1,
 28    2012), ECF No. 145; E-Contact Techs., LLC v. Apple, Inc., No. 11-CV-00426,

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                                                                                              Exhibit 1
                                                                                                  -68-
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   1   such restrictions is well-established: “It is very difficult for the human mind to
   2   compartmentalize and selectively suppress information once learned, no matter
   3   how well-intentioned the effort may be to do so.” In re Deutsche Bank Tr. Co.
   4   Ams., 605 F.3d 1373, 1378 (Fed. Cir. 2010) (alteration omitted) (quoting FTC v.
   5   Exxon Corp., 636 F.2d 1336, 1350 (D.C. Cir. 1980)). Notwithstanding general
   6   provisions “specifying that designated confidential information may be used
   7   only for purposes of the current litigation,” and notwithstanding the good faith
   8   of all individuals involved, courts recognize that “there may be circumstances in
   9   which even the most rigorous efforts . . . to preserve confidentiality . . . may not
 10    prevent inadvertent compromise.” Id.; see also Catch A Wave Techs., Inc. v.
 11    Sirius XM Radio, Inc., No. 12-CV-05791, 2013 WL 9868422, at *1 (N.D. Cal.
 12    Aug. 6, 2013) (“The patent acquisition bar . . . adds an additional layer of
 13    protection by prohibiting not just disclosure and use, but also advising.”).
 14          Plaintiffs recognized and endorsed these settled principles when they
 15    agreed to a prosecution bar nearly identical in scope to the proposed acquisition
 16    bar. The justification underlying these two provisions is identical—it will be
 17    difficult, if not impossible, for an individual who has seen Apple’s confidential
 18    information to segregate that information mentally when later advising on patent
 19    prosecution or acquisition related to that information. The risks of inadvertent
 20    disclosure and competitive misuse are the same with respect to both prosecution
 21    and acquisition:
 22
                    Counsel for Plaintiff has acquiesced to the imposition
 23                 of a patent prosecution bar, and, therefore, apparently
 24                 agrees that there could possibly be a risk of
 25
 26    2012 WL 11924448, at *2 (E.D. Tex. June 19, 2012); cf. Blackbird Tech LCC v.
       Serv. Lighting & Elec. Supplies, Inc., No. 15-CV-00053, 2016 WL 2904592, at
 27    *6 (D. Del. May 18, 2016) (requiring covenant not to sue on patents acquired
 28    during duration of protective order).


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                                                                                              Exhibit 1
                                                                                                  -69-
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   1                inadvertent disclosure of Defendants’ confidential
                    information in the course of representing their client
   2
                    before the PTO. Therefore, it is hard to conceive that
   3                there would be little or no risk of inadvertent
                    disclosure when these same attorneys advise their
   4
                    client in matters regarding acquisitions of patents.
   5
       E-Contact Techs., LLC v. Apple, Inc., No. 11-CV-00426, 2012 WL 11924448,
   6
       at *2 (E.D. Tex. June 19, 2012); see also EPL Holdings, LLC v. Apple Inc., No.
   7
       C-12-04306, 2013 WL 2181584, at *4 (N.D. Cal. May 20, 2013) (explaining
   8
       that patent acquisition and prosecution create the same risk of inadvertent use
   9
       because “litigation counsel may consciously or subconsciously use their
 10
       knowledge . . . to advise a client on which patents to acquire”). And the concern
 11
       is further heightened here because Plaintiffs seek Apple’s valuable source code
 12
       and other technical documentation.        The disclosure of this confidential
 13
       technology carries significant risks of inadvertent disclosure and competitive
 14
       misuse. See Telebuyer, LLC v. Amazon.com, Inc., No. 13-CV-01677, 2014 WL
 15
       5804334, at *2 (W.D. Wash. July 7, 2014) (describing source code as “highly
 16
       confidential, technical information” that poses a “heightened risk of inadvertent
 17
       disclosure”) (citation omitted); Applied Signal Technology, Inc. v. Emerging
 18
       Markets Commc’ns, Inc., 2011 WL 197811 at *2 (N.D. Cal. Jan. 20, 2011)
 19
       (“confidential technical documents, including source code . . . may pose a
 20
       heightened risk of inadvertent disclosure”).
 21
             In sum, Apple should not be forced to incur the risk that Plaintiffs’
 22
       counsel will inadvertently rely on Apple’s highly sensitive technical information
 23
       to make competitive decisions regarding the acquisition of patents or patent
 24
       rights related to the technology at issue. In light of the foregoing, this Court
 25
       should enter Apple’s proposed acquisition bar.
 26
 27
 28

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                                                                                           Exhibit 1
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   1   H.    Sections 4.5 and 11 – Source Code
   2         The Parties’ disputes on Sections 4.5 and 11 are shown below, with
   3   underlined text showing Apple’s proposed additions to Plaintiffs’ proposal and
   4   strikethrough text showing Apple’s proposed deletions to Plaintiffs’ proposal:
   5         4.5     “HIGHLY     CONFIDENTIAL          –   SOURCE        CODE”
   6         Information    or   Items:   extremely    sensitive   “Confidential
   7         Information or Items” representing computer code, scripts,
   8         assembly, binaries, object code, source code listings (e.g., file
   9         names and path structure), descriptions of source code comments,
 10          (e.g., descriptions of declarations, functions, and parameters),
 11          object code listings, and Hardware Description Language (HDL)
 12          or Register Transfer Level (RTL) files that describe the hardware
 13          design of any ASIC or other chip, disclosure of which to another
 14          Party or Non-Party is likely to cause harm or significant
 15          competitive disadvantage to the Producing Party.              Other
 16          documents that quote source code may be designated pursuant to
 17          this Paragraph, provided that the Producing Party also produces a
 18          redacted version designated “HIGHLY CONFIDENTIAL –
 19          ATTORNEYS EYES ONLY,” which removes the quoted source
 20          code.    Native Computer Aided Design (CAD) files may be
 21          designated pursuant to this Paragraph, provided that any printouts
 22          of CAD files shall be designated “HIGHLY CONFIDENTIAL –
 23          ATTORNEYS EYES ONLY” and will not be included in the page
 24          limits discussed in Section 11 below.
 25
 26          11.     SOURCE CODE
 27          ...
 28

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                                                                                        Exhibit 1
                                                                                            -71-
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    1        (f)   The Receiving Party may request paper copies of limited
    2        portions of source code that are reasonably necessary for the
    3        preparation of court filings, pleadings, expert reports, or other
    4        papers, or for deposition or trial, but shall not request paper copies
    5        for the purposes of reviewing the source code other than
    6        electronically as set forth in Paragraph (c) in the first instance. The
    7        Receiving Party may generate PDF copies of limited portions of
    8        source code on the source code computer for purposes of asking
    9        the Producing Party to produce paper copies. Any printed portion
  10         that consists of more than fifteen (15) pages of a continuous block
  11         of Source Code or more than two hundred (200) pages total shall
  12         be presumed to be excessive, and the burden shall be on the
  13         Receiving Party to demonstrate the need for such a printed copy.
  14         The Receiving Party may print out no more than two hundred
  15         (200) pages total. Within ten (10) days, the Producing Party shall
  16         either (i) provide one copy set of such pages to the Receiving Party
  17         or (ii) inform the Requesting Party that it objects that the printed
  18         portions are excessive and/or not done for a permitted purpose.
  19         The Parties will cooperate in good faith if a different timeframe for
  20         production is required.     If, after meeting and conferring, the
  21         Producing Party and the Receiving Party cannot resolve the
  22         objection, the Receiving Party shall be entitled to seek a Court
  23         resolution of whether the printed Source Code in question is
  24         narrowly tailored and was printed for a permitted purpose. The
  25         burden shall be on the Receiving Party to demonstrate that such
  26         printed portions are no more than is reasonably necessary for a
  27         permitted purpose and not merely printed for the purposes of
  28         review and analysis elsewhere. The printed pages shall constitute

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    1        part of the Source Code produced by the Producing Party in this
    2        action. Printing of directory paths or structures and file names
    3        shall not count toward the consecutive or aggregate page count
    4        listed in this section.
    5        ...
    6         (h)   . . . The Producing Party shall not be responsible for any
    7        items left in the room following each inspection session, and the
    8        Receiving Party shall have no expectation of confidentiality for
    9        any items left in the room following each inspection session
  10         without a prior agreement to that effect.            However, if the
  11         Producing Party locates any material that appears to contain the
  12         work product of the Receiving Party, the Producing Party shall not
  13         review the material and shall contact the Receiving Party in
  14         accordance with their ethical duties.   ...
  15         (i)    . . . Upon three (3) days’ one (1) day’s advance notice to the
  16         Receiving Party by the Producing Party, the Receiving Party shall
  17         provide a copy of this log to the Producing Party.
  18         (j)    . . . Absent agreement of the Parties or order of this Court,
  19         noNo more than a total of fifteen (15) individuals identified by the
  20         Receiving Party shall have access to the printed portions of the
  21         Source Code (except insofar as such code appears in any court
  22         filing or expert report). The Parties agree to cooperate in good
  23         faith if it becomes necessary for more than fifteen (15) individuals
  24         to have access to the printed portions of the Source Code. A
  25         Producing Party’s source code material may only be transported by
  26         the Receiving Party at the direction of a person authorized under
  27         these provisions to another person authorized under these
  28

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                                                                                     Exhibit 1
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   1        provisions, on paper via hand carry, Federal Express, or other
   2        similarly reliable courier.
   3        (k)    For depositions, the Receiving Party shall not bring copies
   4        of any printed Source Code. Rather, at least ten (10) days before
   5        the date of the deposition, the Receiving Party shall notify the
   6        Producing Party about the specific portions of Source Code it
   7        wishes to use Source Code at the deposition, and the Producing
   8        Party shall bring printed copies of the Source Code those portions
   9        to the deposition for use by the Receiving Party. Copies of Source
 10         Code that are marked as deposition exhibits shall not be provided
 11         to the Court Reporter or attached to deposition transcripts; rather,
 12         the deposition record will identify the exhibit by its production
 13         numbers.       The Producing Party shall maintain the marked
 14         deposition exhibits during the pendency of this case. All other All
 15         paper copies of Source Code brought to the deposition by the
 16         Producing Party shall remain with the Producing Counsel’s outside
 17         counsel for secure destruction in a timely manner following the
 18         deposition.
 19         (l)    . . . If a Party reasonably believes that it needs to submit a
 20         portion of Source Code as part of a filing with the Court, the
 21         Parties shall meet and confer as to how to make such a filing while
 22         protecting the confidentiality of the Source Code and such Source
 23         Code will not be filed absent agreement from the Producing Party
 24         that the confidentiality protections will be adequate or order of this
 25         Court. . . .
 26         1.     Plaintiffs’ Position
 27         The Court’s Model Order does not address source code. Thus, Plaintiffs
 28    proposed the Court adopt language that corresponds to the source code

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                                                                                     Exhibit 1
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   1   provisions from True Wearables. See Ex. 13 (True Wearables) at 8-12. Apple
   2   replaced Plaintiffs’ proposal in its entirety and refused to compromise. In an
   3   effort to narrow the disputes, Plaintiffs agreed to work from Apple’s proposal.
   4   Apple adopted some of Plaintiffs’ changes but largely maintained its refusal to
   5   compromise. Apple initially refused to even explain its objections. See Powell
   6   Decl., Ex. 8 at 9, 11. Apple first provided some explanation of its position a
   7   few days before Plaintiffs provided their portion of this joint stipulation. Id.,
   8   Ex. 8 at 4-8. Plaintiffs address the disputes in turn below.
   9                a.     Section 4.5
 10          Plaintiffs proposed including the True Wearables definition of “source
 11    code.”   See Ex. 13 at 7 (“To the extent such Protected Material includes
 12    computer source code and/or live data (that is, data as it exists residing in a
 13    database or databases) (i.e., ‘Source Code Material’), the producing party may
 14    designate such Protected Material as ‘RESTRICTED CONFIDENTIAL
 15    SOURCE CODE.’”). That is a standard and commonly used definition of
 16    “source code” that includes actual source code and live data.          See also
 17    Intellectual Pixels Ltd. v. Sony Interactive Entertainment LLC, No. 8:19-cv-
 18    01432-JVS-KES, Dkt. No. 49 (C.D. Cal. Nov. 15, 2019) (Powell Decl., Ex. 22)
 19    at 6 (providing the same definition for “source code”). Nevertheless, Apple
 20    rejected Plaintiffs’ proposal.
 21          In an effort to compromise, Plaintiffs agreed to much of Apple’s
 22    definition. However, Plaintiffs could not agree to Apple’s insistence that mere
 23    “descriptions” of source code can be designated as “source code.” See Powell
 24    Decl., Ex. 4 at 4. That term is far too vague and would invite disputes as to
 25    whether a technical document describing product functions performed by source
 26    code constitutes a “description” of source code.           Apple’s proposal will
 27    impermissibly sweep in many technical documents that are not source code.
 28    Apple’s overly broad definition of what constitutes “source code,” combined

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   1   with Apple’s overly restrictive procedures for reviewing source code discussed
   2   below, would significantly hinder Plaintiffs’ ability to review Apple’s technical
   3   documents.
   4                b.       Section 11(f)
   5         The parties have several disputes regarding Section 11(f). First, Plaintiffs
   6   propose that “[t]he Receiving Party may generate PDF copies of limited
   7   portions of source code on the source code computer for purposes of asking the
   8   Producing Party to produce paper copies.”        Powell Decl., Ex. 4 at 21-22.
   9   Generating an electronic PDF copy on the source code computer is the most
 10    efficient way for a Receiving Party to tell the Producing Party what portion of
 11    the source code it would like printed. This approach also avoids disputes over
 12    whether the Producing Party printed source code in an illegible format, or in a
 13    format that uses more of a Receiving Party’s allocated pages than necessary.
 14          Apple argues the producing party should create paper copies only when
 15    they are “not objectionable or any objections are resolved.” Id., Ex. 8 at 6. That
 16    makes no sense because this provision does not involve printing paper copies.
 17    It merely allows the Receiving Party to create—on the source code computer—
 18    an electronic copy that the Producing Party can print if any objections have been
 19    resolved. Plaintiffs’ proposal does not allow the Receiving Party to create paper
 20    copies of anything.
 21          Second, Plaintiffs propose that the Receiving Party may move the Court
 22    for permission to print more than 200 pages total. Id., Ex. 4 at 22. Apple argues
 23    this provision is unnecessary and could be “misconstrued as Apple agreeing that
 24    printing more than 200 pages may be necessary in this case.” Id., Ex. 8 at 6.
 25    Plaintiffs recognize Apple does not agree that printing more 200 pages may be
 26    necessary. All Plaintiffs seek is the ability to ask the Court to increase that
 27    page limit. See Microsoft (Powell Decl., Ex. 23) at 7 (permitting party to ask to
 28    print additional pages beyond page limit)

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   1           In contrast, Apple proposes language that arguably prohibits the
   2   Receiving Party from even asking this Court to increase the 200-page total
   3   limit. Powell Decl., Ex. 4 at 22. Apple’s proposal specifically mentions a
   4   procedure allowing parties to increase the 15-consecutive-page limit but not the
   5   200-page total limit. Id. That language could easily be misconstrued as the
   6   parties agreeing the 200-page limit can never be increased, particularly in light
   7   of Apple’ refusal to agree to Plaintiffs’ proposal providing that a party may ask
   8   the Court for leave to print more than 200 pages.
   9           Third, Plaintiffs propose that printing directory paths or structures and
 10    filenames do not count towards the consecutive or aggregate page limits
 11    described. Id. This is appropriate because paths and filenames are not source
 12    code; they are analogous to a table of contents. The metadata included in
 13    directory listings also establish when a file was last modified and can also be
 14    used to show whether a file was modified from a prior version. A printed copy
 15    of the paths and filenames makes review of the actual source code far more
 16    efficient.
 17            Apple claims Masimo intends to use directory printouts to “facilitate
 18    some of its review of the code (which includes the structure of how files are
 19    grouped into file paths) outside of the source code review room.” Powell Decl.,
 20    Ex. 8 at 5. That again makes no sense. While paths and filenames can be
 21    designated and protected under the source code provisions, they are not actual
 22    source code. Maintaining a copy of paths and filenames is important to easily
 23    track a parties’ review of the actual source code in the source code review
 24    room.
 25                  c.    Section 11(h)
 26            The parties agree that the Receiving Party should not store notes or other
 27    material in the source code review room beyond the time when the party is
 28    reviewing code in the room. However, Plaintiffs believe counsel should abide

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   1   by their ethical duties not to review any work product that may be inadvertently
   2   left behind. Powell Decl., Ex. 4 at 23. This is consistent with counsel’s ethical
   3   duty to “refrain from examining” another attorney’s work product and
   4   “promptly notify the sender.” California Professional Rule of Conduct 4.4; see
   5   also Rico v. Mitsubishi Motors Corp., 42 Cal. 4th 807, 808 (2007). Plaintiffs’
   6   proposal is also consistent with the Federal Rules of Civil Procedure and
   7   Federal Rules of Evidence, which reject automatic waiver of privilege based on
   8   inadvertent disclosure. See Fed. R. Civ. P. 26(b)(5)(B); Fed. R. Evid. 502(b).
   9         Apple argues Plaintiffs’ proposal is “contrary” to prior provisions stating
 10    reviewers have no “expectation of confidentiality for materials left behind in the
 11    source code review room” and should “clean up.” Powell Decl., Ex. 8 at 6.
 12    That is why Plaintiffs included this provision: to clarify that if a party
 13    accidentally leaves work product behind, it should not be reviewed or used.
 14    Apple’s refusal to agree to this simple provision is troubling and reinforces the
 15    need for Plaintiffs’ proposal.
 16                 d.     Section 11(i)
 17          The parties agree on this section except Apple demands a one-day
 18    response to any requests for a log of individuals who review paper copies of
 19    source code. Powell Decl., Ex. 4 at 23. That is unreasonable. For example, one
 20    party may request a log on Christmas Eve and assert a violation occurred if the
 21    opposing party does not respond on Christmas Day.            Plaintiffs provide a
 22    reasonable three-day notice period, which balances prompt disclosure with
 23    avoiding unduly harassing opposing counsel on weekends and holidays. Apple
 24    previously stipulated to protective orders that included a similar log, but did not
 25    include a one-day response time. See Pinn (Powell Decl., Ex. 17) at 14. This
 26    Court has also adopted orders requiring similar logs be provided on seven days’
 27    notice. Microsoft (Powell Decl., Ex. 23) at 8.
 28

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   1                e.    Section 11(j)
   2         The parties have two disputes regarding Section 11(j). First, Plaintiffs
   3   propose that the number of individuals authorized to access printed Source Code
   4   can be increased beyond 15 individuals, but only by agreement of the parties or
   5   order of this Court. Powell Decl., Ex. 4 at 24. This could become necessary if,
   6   for example, individuals authorized to access source code need to be replaced
   7   because they withdraw from this case. Apple argued that, in other “extremely
   8   large cases, the parties have been able to manage within the 10 person limit and
   9   thus, Apple cannot imagine a situation in which more than 15 people will
 10    become necessary.” Id., Ex. 8 at 10. Whether this provision was necessary in
 11    other cases has nothing to do with whether it might become necessary in this
 12    case. There is no valid reason to preclude a party from even asking Apple or
 13    the Court to increase the limit. See CBS Interactive, Inc. v. Etilize, Inc., 257
 14    F.R.D. 195, 201 (N.D. Cal. 2009) (“[D]istrict courts have inherent authority to
 15    grant a motion to modify a protective order where ‘good cause’ is shown.’”).
 16          Second, Plaintiffs propose printed source code may be transported to and
 17    from individuals authorized to view the source code via hand carry, Federal
 18    Express, or other similarly reliable carrier. Powell Decl., Ex. 4 at 24. Apple
 19    rejected that proposal entirely. Id. Without this language, counsel may be
 20    required to personally fly source code printouts to their experts for use in
 21    preparing expert reports. That would be unduly restrictive. Indeed, this Court
 22    routinely includes language similar to Plaintiffs’ proposal.     See Intellectual
 23    Pixels (Powell Decl., Ex. 22) at 10 (permitting parties to transfer printed source
 24    code by “hand carry, via Federal Express, or via other similarly reliable courier
 25    with tracking capabilities”); Microsoft (Powell Decl., Ex. 23) at 8 (permitting
 26    parties to transport printed source code pages by “reliable hand carry” and
 27    “Federal Express”). Indeed, Apple previously stipulated to the inclusion of
 28    similar language. See Pinn (Powell Decl., Ex. 17) at 13 (allowing transportation

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   1   “via hand carry, Federal Express or other similarly reliable courier”).
   2                f.    Section 11(k)
   3         The parties have two disputes regarding Section 11(k). First, Plaintiffs
   4   propose that the Producing Party bring all printed source code to depositions
   5   upon request. Powell Decl., Ex. 4 at 24. This is reasonable and not unduly
   6   burdensome because the parties have agreed to a presumptive limit that no more
   7   than 200 pages that will be printed.
   8         In contrast, Apple requires ten days’ advanced notice of the specific
   9   portions of printed code that will be addressed at a deposition. Id. Apple’s
 10    proposal is highly problematic because it seeks disclosure of work product
 11    regarding the specific portions of the code about which the questioning attorney
 12    will ask, and would give the Producing Party an unfair advantage by knowing
 13    exactly what material will be addressed at a given deposition.            Further,
 14    deposition preparation often continues up to the day of the deposition, and
 15    relevant code is likely to be identified by the witness during the deposition. A
 16    10-day advance notice that requires identification of only specific portions of
 17    code is not workable. The Court should follow the standard rule that does not
 18    require advanced notice of exhibits that will be used at a deposition. Sporck v.
 19    Peil, 759 F.2d 312, 316 (3d Cir. 1985) (“[T]he selection and compilation of
 20    documents by counsel in this case in preparation for pretrial discovery falls
 21    within the highly-protected category of opinion work product.”); Stevens v.
 22    Corelogic, Inc, 2016 WL 397936, at *9 (S.D. Cal. Feb. 2, 2016) (“[C]ourts in
 23    this Circuit have viewed Sporck favorably.”).
 24          Second, Plaintiffs propose that the Producing Party maintain marked
 25    deposition exhibits during the pendency of this case. Powell Decl., Ex. 4 at 24.
 26    Apple struck this provision and proposes that the Producing Party destroy all
 27    deposition exhibits containing source code. Id. at 24-25. There is no potential
 28    harm from the Producing Party’s outside counsel maintaining a copy of the

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   1   exhibit.   Moreover, Apple’s proposal could create evidentiary issues if the
   2   parties later dispute the content of an exhibit that was introduced at a deposition.
   3                 g.    Section 11(l)
   4         Plaintiffs proposal merely confirms that this Court has the authority to
   5   order a party to file source code over the objection of the Producing Party.
   6   Powell Decl., Ex. 4 at 25. That is necessarily part of this Court’s inherent
   7   authority to manage its docket. Apple struck Plaintiffs’ proposed language and
   8   refused to explain its objection even after Plaintiffs repeatedly asked Apple to
   9   do so. See Id., Ex. 8 at 8.
 10          Accordingly, the Court should adopt Plaintiffs’ proposed source code
 11    provisions.
 12          2.      Defendant’s Position
 13          Over the course of three months, Apple has diligently negotiated with
 14    plaintiffs the terms of a protective order, despite Plaintiffs’ repeated efforts to
 15    delay that process. Plaintiffs’ accusations that Apple has refused to compromise
 16    or explain its objections are demonstrably false. Plaintiffs raised new disputes
 17    each time the parties exchanged proposed protective order provisions, making it
 18    impossible for the parties to focus on the specific issues in dispute and drawing
 19    the negotiation process out indefinitely.
 20                  a.    Section 4.5
 21          The parties dispute whether descriptions of source code should receive a
 22    “Highly Confidential – Source Code” designation in order to protect Apple’s
 23    sensitive technical information. As Apple explained to Plaintiffs numerous
 24    times during this process, Apple’s source code is extremely sensitive and every
 25    other business in its industry seeks to review its contents. The designation of
 26    descriptions of source code as “highly confidential” and thus requiring the same
 27    protections afforded source code is necessary to preserve Apple’s valuable
 28    technical information from improper disclosure or use. Apple goes to great

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   1   lengths to limit the use and review of its source code by any individuals,
   2   including its own employees and counsel.                 These protections extend to
   3   descriptions of the source code.            Descriptions of source code in internal
   4   documents and emails can and often do reveal important details about how the
   5   source code operates and thus deserve the same level of protection as the source
   6   code itself. Indeed, some descriptions are even more revealing of the operation
   7   of the products than the source code itself because the descriptions use simple
   8   and clear terms to explain how the source code works rather than source code
   9   terminology that can be complex to understand, particularly if one function calls
 10    a second function, which in turn calls a third, for example. Having a higher
 11    level description of what is happening is extremely valuable. Thus, limiting the
 12    provision to only source code comments is not sufficient. Apple’s proposal to
 13    bestow the same protections accorded to source code unto descriptions of source
 14    code is a reasonable and necessary protection of its valuable and sensitive asset.
 15           Moreover, Plaintiffs incorrectly claim that Apple’s proposal is “overly
 16    broad.” Apple’s proposal cabins the types of technical documents to which this
 17    provision applies by proposing the few types of documents that should receive
 18    this   designation:        “(e.g.,   descriptions   of   declarations,   functions,   and
 19    parameters).” Powell Decl. Ex. 3, at 57.
 20           This Court should adopt Apple’s proposal.
 21                 b.       Section 11(f)
 22                          i.        Generating Source Code as PDF Copies
 23           Plaintiffs propose generating electronic PDF copies of source code on the
 24    source code computer for the purpose of “asking the Producing Party to produce
 25    paper copies.” Plaintiffs’ proposal is an unreasonable request that does not
 26    justify exposing Apple’s confidential source code to impermissible disclosure or
 27    use by converting it to an electronic PDF copy. There are far more common and
 28    less risky means of telling the Producing Party what portion of the source code

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   1   the Receiving Party would like printed—for instance, indicating the starting and
   2   ending points of desired portions of source code. This is how typical litigation
   3   discovery and review of confidential, valuable information occurs. Notably,
   4   such language is not present in the provisions of the Protective Order entered in
   5   True Wearables.     Powell Decl., Ex. 13.     Yet at the last minute, Plaintiffs
   6   requested this unnecessary and inefficient provision. It should be rejected.
   7         Plaintiffs’ claim that this provision is “the most efficient” neglects the
   8   aims of a protective order—to minimize the unnecessary risk of improper
   9   disclosure and use of a party’s most sensitive and confidential information.
 10    Permitting the printing of Apple’s valuable source code to an electronic PDF
 11    copy contravenes these aims and this Court therefore should reject Plaintiffs’
 12    proposal.
 13                       ii.    Printing More Than 200 Pages
 14          In the beginning of this negotiation, Apple proposed a one-hundred page
 15    limit of any printed portion of source code, because, as it explained to Plaintiffs
 16    numerous times and still maintains, such a limit is more than necessary to allow
 17    Plaintiffs to sufficiently review any such portion of Apple’s information at issue
 18    in this case. In the interests of compromise, Apple agreed to compromise on a
 19    two-hundred page limit of any printed portion of source code. Now, however,
 20    Plaintiffs drags the dispute on further. Plaintiff seeks to add language explicitly
 21    permitting a reviewing party to demonstrate the need for any printed portion of
 22    source code beyond two hundred pages. This provision should be rejected for
 23    two reasons. First, Plaintiffs’ provision is unwarranted in light of the already-
 24    agreed provision in the protective order that the Protective Order may be
 25    modified by the Court. See Samplin Decl. Ex. A, at 32 (“Protective Order”)
 26    (“Modification by Court. This Order is subject to further court order based
 27    upon public policy or other considerations, and the Court may modify this Order
 28    sua sponte in the interests of justice.       All disputes between the Parties

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   1   concerning Protected Material, however designated, produced under the
   2   protection of this Order shall be resolved by the United States District Court for
   3   the Central District of California.”). Second, a two hundred page limit is more
   4   than adequate for Plaintiffs to view any printed portion of the source code and,
   5   therefore, Apple does not agree to include language that might be interpreted by
   6   the Court as suggesting that modification of that limit was contemplated by the
   7   parties.
   8                      iii.   Printing Directory Paths Information
   9          This is another provision that Plaintiffs inserted late in the parties’
 10    negotiations over Section 11, which delayed bringing this protective order
 11    dispute to the Court. As a further attempt to expand the number of pages it can
 12    print, Plaintiffs asked for source code directory paths, structures, and file names
 13    to be excluded. But those pieces of information are source code—they are
 14    absolutely necessary to enable a computer to compile the source code into
 15    executable instructions and are used universally across computing systems and
 16    languages. Source code directory paths provide detailed information about the
 17    source code and are thus just as sensitive as the source code instructions.
 18    Source code directory paths and file structures should count toward the page
 19    limits described. Moreover, it was with this understanding that source code
 20    directory paths, structures, and file names would be included in the page count
 21    that Apple, in the interest of compromise, agreed to a two-hundred-page limit of
 22    any printed portion source code, a limit more than adequate for review of any
 23    printed portion of the source code.
 24           Permitting Plaintiffs to sidestep limits on source code printing takes away
 25    the incentive for Plaintiffs to be careful and deliberate in choosing portions of
 26    code to print, and encourages Plaintiffs to print out larger portions of code than
 27    truly necessary and review them at their leisure in their office or at home (i.e.,
 28    outside of the secure environment). Plaintiffs’ preferences and convenience

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   1   plainly do not outweigh the need to protect Apple’s valuable and vulnerable
   2   source code.      As Apple explained during meet-and-confer discussions with
   3   Plaintiffs, the entire purpose of having a source code review room, in which the
   4   source code is made available for review (and the existence of which the parties
   5   agree is necessary), is for the review to occur in the secure environment.
   6   Plaintiffs’ “preference and convenience should not trump the need to protect the
   7   source code for what Apple considers to be its crown jewels—the products at
   8   issue in this case.” Unwired Planet LLC v. Apple Inc., No. 3:12-CV-00505-
   9   RCJ, 2013 WL 1501489, at *5 (D. Nev. Apr. 11, 2013).
 10                 c.      Section 11(h)
 11          The parties dispute who must bear the burden of locating any material left
 12    in the source code review room. Plaintiffs seek to require the Producing Party
 13    to review any confidential material left in the review room and to contact the
 14    Receiving Party regarding the identification of such material.
 15          Plaintiffs request an unnecessary imposition on the Producing Party to
 16    contact the Receiving Party and to make judgments about whether something
 17    the Producing Party leaves behind is work product or not. To streamline the
 18    process of the review, Apple requests that Plaintiffs be responsible for all
 19    materials, potential work product or otherwise, left in the review room. If
 20    anything is left behind, the Receiving Party should bear the burden of notifying
 21    the Producing Party.
 22                 d.      Section 11(i)
 23          Apple seeks one-day advance notice for the Receiving Party to provide
 24    the Producing Party with a log of the reviewers and recipients of paper copies of
 25    the source code. As Apple has explained to Plaintiffs in the parties’ meet-and-
 26    confers, if one party determines that its source code has been disclosed or used
 27    contrary to the provisions of the Protective Order, that party needs every tool at
 28    its disposal to stop the further dissemination of the source code.         These

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   1   provisions are necessary because past experience demonstrates that misuse can
   2   occur and, in fact, in at least one instance, the absence of more urgent measures
   3   like this provision impaired Apple’s ability to act as quickly as it would have
   4   liked to prevent further risk of misuse. In Valencell Inc. v. Apple Inc., the
   5   plaintiffs sent a shipment consisting almost entirely of Apple’s documents
   6   marked “Highly Confidential – Attorneys’ Eyes Only” to be used by the
   7   plaintiffs’ counsel at the deposition of an Apple witness. Order at 2, Valencell
   8   Inc. v. Apple Inc. (E.D.N.C. Aug. 28, 2017) ECF No. 216. Instead of being sent
   9   to the hotel where Plaintiffs’ counsel was staying, the shipment was misdirected
 10    to a third party who then alerted Apple of his receipt of its materials. Despite
 11    being aware of the non-delivery, the plaintiffs delayed in disclosing to Apple the
 12    disruptions in the shipment. Id. at 3. Only when Apple contacted the plaintiffs
 13    and requested the source code log did the plaintiffs subsequently notify Apple of
 14    this disruption and of a second unrelated missing shipment “consisting of almost
 15    1,000 pages of Apple’s source code” that been intended to be sent to one of the
 16    plaintiffs’ experts but instead was reported by FedEx as never having left its
 17    distribution center and was not received by the expert. Id.      If Apple’s source
 18    code is sent to the wrong individual or left at a FedEx distribution center, both
 19    of which occurred in Valencell, Apple would need to know immediately every
 20    person that had access to the source code to identify the potential source of that
 21    leak. In such a situation, three days would be completely inadequate. Turning
 22    Plaintiffs’ example around, if Apple source code was leaked on the Internet on
 23    Christmas Eve, then Apple would indeed expect to have a list of the people who
 24    had access to it on Christmas Day. This provision hopefully will never be
 25    necessary. But, if it is necessary to request a log, the requesting party deserves a
 26    response within one day. Plaintiffs’ “preference and convenience should not
 27    trump the need to protect the source code for what Apple considers to be its
 28    crown jewels—the products at issue in this case.” Unwired Planet LLC v. Apple

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   1   Inc., No. 3:12-CV-00505-RCJ, 2013 WL 1501489, at *5 (D. Nev. Apr. 11,
   2   2013).
   3                 e.     Section 11(j)
   4            The parties dispute (1) language concerning how many individuals may
   5   review and receive the Producing Party’s source code on behalf of the
   6   Receiving Party; and (2) the transportation of source code by the Receiving
   7   Party.
   8                        i.    Increasing the Number of Reviewers
   9            Much like the dispute over number of pages of source code that can be
 10    printed, here, Apple originally proposed a limit of ten people to access source
 11    code, but agreed to a compromise of fifteen people on behalf of a Receiving
 12    Party.    A limit on the number of reviewers of a party’s source code is a
 13    necessary protection against the risk of inadvertent disclosure.      Plaintiffs’
 14    attempt to permit the increase the limit of the number of reviewers beyond
 15    fifteen should fail for the same reason that the Court should reject similar
 16    language in the page limit provision above. Plaintiffs’ provision is unwarranted
 17    in light of the already-agreed provision that the protective order may be
 18    modified. See Samplin Decl. Ex. A, at 32 (“Modification by Court. This Order
 19    is subject to further court order based upon public policy or other
 20    considerations, and the Court may modify this Order sua sponte in the interests
 21    of justice. All disputes between the Parties concerning Protected Material,
 22    however designated, produced under the protection of this Order shall be
 23    resolved by the United States District Court for the Central District of
 24    California.”).     Further, Apple opposes inclusion of any provision in this
 25    protective order suggesting that it agrees that adding more people to that limit
 26    was contemplated. Apple does not contemplate either party needing more than
 27    fifteen individuals to review the other side’s source code.
 28

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   1                      ii.    Restrictions on how source code may be
   2                             transported
   3         This is another example of Plaintiffs’ many attempts to indefinitely draw
   4   out the negotiation of the protective order. Each time the parties exchanged
   5   protective order provisions, Plaintiffs inserted new clauses into agreed-upon
   6   sections and manufactured new disputes. This provision was added in the latest
   7   version Plaintiffs sent despite months of negotiation over the protective order
   8   without any suggestion by Plaintiffs that a transportation provision was needed.
   9         Plaintiffs propose unnecessary language outlining who may transport
 10    printed source code to and from individuals authorized to view the source code.
 11    The protective order already provides provisions on how many copies can be
 12    made and where they are to be stored and by whom. See Powell Decl. Ex. 3, at
 13    74 (“The Receiving Party’s outside counsel of record and any person receiving a
 14    copy of any Source Code shall maintain and store any paper copies of the
 15    Source Code at their offices in a manner that prevents duplication of or
 16    unauthorized access to the Source Code.”). Plaintiffs argue that the absence of
 17    this language suggests that a party may be “required to personally fly source
 18    code printouts to their experts for use in preparing expert reports.” That may be
 19    the case. Apple’s source code is extremely sensitive and Apple should not have
 20    to take the risk that it will be lost in the mail, FedEx, or any other courier
 21    service. See Valencell at 2 (shipment consisting “almost entirely of Apple
 22    documents” marked “Attorneys’ Eyes Only” “were intended to be sent to the
 23    hotel where [the plaintiffs’] counsel would be staying, but were misdirected by
 24    an unknown man to a third party”); id. at 2 (“The other shipment . . .
 25    [consisting] of almost 1,000 pages of Apple’s source code . . . was to be sent to
 26    [the plaintiffs’] expert, but he did not receive the shipment and it is reported by
 27    FedEx as never having left its Fort Worth Distribution Center.”).
 28          Source code is going to be produced in a single location for review.

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   1   Thus, the experts will be traveling to the source code review room to complete
   2   the review. It is not too much of a burden to require that they obtain printed
   3   copies in a similar fashion.
   4                f.     Section 11(k)
   5                       i.    Bringing Source Code to the Deposition
   6         The parties dispute whether the Producing Party shall bring all printed
   7   source code to depositions upon request or whether the Producing Party shall
   8   receive ten days’ notice to bring specific portions of source code to be addressed
   9   at a deposition.
 10          Plaintiffs request the Producing Party bear the burden of bringing all of
 11    the printed source code to the deposition. Apple does not agree. Instead,
 12    Apple’s proposal requires Plaintiffs to identify only the portions of the source
 13    code they need and avoid needlessly exposing Apple’s source code to
 14    inadvertent or improper disclosure. It also forces Plaintiffs to be careful and
 15    deliberate in choosing portions of code to print, discouraging Plaintiffs from
 16    requesting the printing of larger portions of code than truly necessary. Apple’s
 17    provision ensures the adequate protection of its confidential information. This
 18    Court should accept Apple’s proposal.
 19                        ii.   Maintaining Marked Deposition Exhibits
 20          The parties dispute whether the Producing Party must maintain marked
 21    deposition exhibits during the pendency of this case. Plaintiffs argue that there
 22    is no potential harm in requiring Apple to maintain paper copies of its
 23    confidential source code. Not so. Plaintiffs’ proposal unnecessarily preserves
 24    Apple’s confidential technical information in a medium that allows it to be
 25    easily misused. By contrast, there is no risk, as Plaintiffs argue, that Apple’s
 26    proposal could create the evidentiary issue that the parties might dispute the
 27    content of an exhibit introduced at a deposition. The exhibit is clearly identified
 28    by the court reporter and the deposition transcript and Apple cannot foresee any

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   1   scenario that results in the outcome Plaintiffs describe.
   2                g.     Section 11(l)
   3         The parties dispute whether the protective order requires confirmation
   4   that the Court has the authority to order a party to file source code over the
   5   objection of the Producing Party.         Plaintiffs’ provision is redundant and
   6   unwarranted in light of the already-agreed provision in the protective order that
   7   the Protective Order may be modified.           See Samplin Decl. Ex. A, at 32
   8   (“Modification by Court. This Order is subject to further court order based
   9   upon public policy or other considerations, and the Court may modify this Order
 10    sua sponte in the interests of justice.         All disputes between the Parties
 11    concerning Protected Material, however designated, produced under the
 12    protection of this Order shall be resolved by the United States District Court for
 13    the Central District of California.”).
 14          As Plaintiffs admit, their proposal merely restates the Court’s inherent
 15    authority—something that Apple has never disagreed with. This is another
 16    example of Plaintiffs’ many attempts to indefinitely draw out the negotiation
 17    process of the protective order. Each time the parties exchanged protective
 18    order provisions, Plaintiffs inserted new clauses into agreed-upon sections,
 19    manufacturing new disputes and making it impossible for the parties to identify
 20    the issues actually in dispute. This is one such example.
 21          In light of the foregoing, this Court should reject Plaintiffs’ language.
 22    I.    Section 17 – Disposition After Trial
 23          The Parties’ dispute on Section 17 is shown below, with underlined text
 24    showing Apple’s proposed additions to Plaintiffs’ proposal and strikethrough
 25    text showing Apple’s proposed deletions to Plaintiffs’ proposal:
 26          17.    FINAL DISPOSITION
 27          AfterNot later than sixty (60) days after the Final Disposition of
 28          this Action, as defined in Paragraph 6, within 60 days of a written

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   1         request by the Designating Party, each Receiving Party shall return
   2         all Protected Material to the Producing Party or destroy such
   3         material. . . .
   4         1.     Plaintiffs’ Position
   5         Plaintiffs again propose following the Court’s Model Order. Compare
   6   Powell Decl., Ex. 1 (Model Order) at 14-15 with Ex. 2 (Plaintiffs’ proposal) at
   7   28-29. The Court’s Model Order provides that information should be deleted or
   8   returned at the end of the case within 60 days of receiving a request from the
   9   opposing party. This provision makes sense, as it helps prevent inadvertent
 10    failures to delete or return information and avoids any dispute as to the precise
 11    date of “Final Disposition.” This language is commonly included in protective
 12    orders. See, e.g., Glaukos (Powell Decl., Ex. 21) at 16.
 13          Apple proposes that the obligation to return or destroy be automatically
 14    triggered by “Final Disposition.” Powell Decl., Ex. 4 at 30. Apple provides no
 15    justification for departing from the Court’s Model Order other than suggesting
 16    Apple used automatic provisions in other cases. Plaintiffs believe the Court’s
 17    standard language reflects the better practice. Plaintiffs also do not believe that
 18    Apple’s prior practice in other cases is a sufficient reason to depart from this
 19    Court’s Model Order. Moreover, it makes practical sense to place the burden on
 20    the Producing Party to remember to ask for the return or destruction of its
 21    confidential information. The Court should adopt Plaintiffs’ proposal.
 22          2.     Defendant’s Position
 23          The parties are in agreement about every aspect of this provision, besides
 24    Plaintiffs’ request for a requirement of written notice to trigger return or
 25    destruction of Protected Material following Final Disposition. This case will
 26    involve production of highly confidential technical information, including
 27    source code. Apple therefore already is certain that it wants Plaintiffs to return
 28    or destroy all such material that they receive from Apple following the

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   1   resolution of this action, and Apple assumes that Plaintiffs want the same from
   2   Apple with respect to their sensitive information and source code. The parties
   3   should not be required to provide formal, written notice to effectuate that result.
   4         Plaintiffs’ argument that written notice is necessary to ascertain the
   5   timing of “Final Disposition” is wrong. Apple has reached agreement with
   6   opposing parties in scores of other litigations on the language it proposes here
   7   (i.e., return or destruction of Protected Material following Final Disposition of
   8   the action, without written notice), and has never in those cases encountered an
   9   unsolvable issue with respect to the meaning of “Final Disposition.” Final
 10    disposition is not a nebulous concept. It will be very clear to Plaintiffs when
 11    they should return or destroy Apple’s Protected Material—and on the off chance
 12    it is not, Plaintiffs can simply send Apple’s counsel an email seeking guidance.
 13          Likewise unpersuasive is Plaintiffs’ statement that it “makes practical
 14    sense to place the burden on the Producing Party to remember to ask for the
 15    return or destruction of its confidential information.” In fact, the statement is
 16    concerning, as it underscores Plaintiffs’ belief that if Apple inadvertently fails to
 17    satisfy the formality of written notice, Plaintiffs get to hold onto Apple’s highly
 18    confidential information, including source code and potentially trade secrets,
 19    indefinitely. That is certainly not how these protective order provisions are
 20    meant to work. Indeed, it would defeat the very purpose of a protective order—
 21    which is meant to govern the receipt, possession, and use of other parties’
 22    confidential information during the pendency of the lawsuit for which the
 23    confidential information was produced in the first place.
 24          Finally, as is clear from the text, Apple is not requesting a unilateral
 25    provision.    Apple’s proposal is bilateral—and would relieve Apple and
 26    Plaintiffs from the formality of written notice to compel destruction or return of
 27    materials that they already know they do not want circulating outside of their
 28    respective companies following Final Disposition of this action. Frankly, Apple

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   1   is surprised that the parties were unable to resolve this issue without court
   2   intervention, as Apple’s proposal seems to be in the best interests of all
   3   parties—preventing a “gotcha” where a party simply forgets that the protective
   4   order requires the formality of written notice to effectuate return or destruction.
   5          Apple recognizes that this Court’s general Model Order includes the
   6   “written request” language Plaintiffs seek.       Apple nonetheless respectfully
   7   submits that written requests should not be required to compel return or
   8   destruction of the Protected Material that will be involved in this case—which
   9   has the potential to include some of the most sensitive information at Apple.
 10    Apple notes that the Northern District’s Model Order does not require written
 11    notice for the return or destruction of Protected Material following Final
 12    Disposition of the action. See Samplin Decl. Ex. D, at 74. While Apple
 13    recognizes that this District has not published its own distinct Model Order for
 14    cases “involving patents, highly sensitive confidential information and/or trade
 15    secrets,” Apple submits that the Northern District’s language on this dispute, for
 16    this particular type of case, is instructive.
 17           Simply put, short of pointing to this Court’s Model Order, Plaintiffs have
 18    provided no practical or legal reason to oppose Apple’s sensible and customary
 19    proposal. Apple respectfully requests that the Court so order Apple’s proposed
 20    version of this protective order provision accordingly.
 21                                       Respectfully submitted,
 22
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 23
       Dated: June 26, 2020               By: /s/ Adam B. Powell
 24                                           Joseph R. Re
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 25                                           Perry D. Oldham
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 26                                           Adam B. Powell
 27                                           Attorneys for Plaintiffs
                                              Masimo Corporation and
 28                                           Cercacor Laboratories

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          18
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
          19
                   MASIMO CORPORATION,                      CASE NO. 8:20-cv-00048-JVS (JDEx)
          20       a Delaware corporation; and
                   CERCACOR LABORATORIES, INC.,
                   a Delaware corporation,                  MEMORANDUM OF POINTS AND
          21                                                AUTHORITIES IN SUPPORT OF
                                      Plaintiffs,           DEFENDANT APPLE INC.’S
          22                                                MOTION FOR PARTIAL
                         v.                                 RECONSIDERATION OF
          23                                                PROTECTIVE ORDER (DKT. NO. 67)
          24       APPLE INC.,
                   a California corporation,
                                                            Hearing
          25
                                      Defendant.
                                                            Date:            August 6, 2020
          26                                                Time:            10:00 a.m.
                                                            Courtroom:       6A
          27                                                Judge:           Hon. John D. Early
          28

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                   RECONSIDERATION OF PROTECTIVE ORDER                CASE NO. 8:20-CV-00048-JVS (JDEX)


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            1                                            INTRODUCTION
            2            Apple requests that the Court reconsider and amend two provisions of the
            3      Protective Order:    (1) Section 9.3, to permit the disclosure of Plaintiffs’ Section
            4      2019.210 statement to a limited number of Apple’s in-house counsel; and (2) Section
            5      10, to include an acquisition bar.
            6            Apple proposed both of these provisions in its draft protective order submitted on
            7      June 26, 2020 (Dkt. No. 61-5, Ex. A), and explained its reasoning in the parties’ Joint
            8      Stipulation filed the same day (Dkt. No. 61-1, at 47-49, 59-62). The Court entered a
            9      Protective Order without either provision on June 30, 2020 (Dkt. No. 67). But the Court
          10       did not explain its reasons for denying Apple’s request to include these provisions.1
          11       Apple submits that in the absence of any order or explanation suggesting otherwise, it
          12       appears that the Court manifestly failed to consider material facts presented by Apple
          13       before entering the Protective Order. See Local Rule 7-18(c). The Court should
          14       reconsider its Order on both issues accordingly.
          15             With respect to Section 9.3, Apple sought access for three of its in-house counsel
          16       to the Section 2019.210 statement that Plaintiffs promised to produce in the case. 2
          17       Protective order provisions that permit a limited number of in-house counsel access to
          18       highly confidential information, including Section 2019.210 disclosures, are common in
          19       trade secret actions throughout this Circuit because, without them, it is next to
          20       impossible for a corporate trade secret defendant to mount a defense. See Dkt. No. 61-
          21       1, at 48-49 (citing numerous exemplar cases). Such a provision is particularly warranted
          22       here, because Apple’s in-house counsel plays a key role in the collection and production
          23
          24         1
                         The Court entered the Protective Order without a corresponding decision—and
                   therefore denied, without explanation, additional protective order provisions requested
          25       by the parties. This Motion is limited to Apple’s Sections 9.3 and 10 proposals.
          26         2
                          Plaintiffs’ first amended trade secret misappropriation claim was dismissed with
                   leave to replead on June 25, 2020 (Dkt. No. 60), but Plaintiffs have confirmed that they
          27       intend to replead the claim. See Dkt. No. 68 (Plaintiffs agreeing to schedule for motion
                   to dismiss its soon-to-be repleaded trade secret misappropriation claim). Thus, Plaintiffs
          28       will be required to serve the subject Section 2019.210 disclosure. See Dkt. No. 37
                   (staying trade secret discovery pending compliance with 2019.210).
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                   RECONSIDERATION OF PROTECTIVE ORDER         1           CASE NO. 8:20-CV-00048-JVS (JDEX)


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            1      of documents responsive to Plaintiffs’ requests, and because if there is a legitimate trade
            2      secret claim (which there does not appear to be), Apple’s in-house counsel needs to
            3      know the identity of the trade secrets to aid in the defense of the claim and to excise the
            4      trade secrets. Apple’s in-house counsel cannot form their own conclusions, or make
            5      independent decisions, as to Plaintiffs’ trade secret claim without access to a
            6      particularized description of the alleged trade secrets at issue in this case. Apple
            7      therefore submits that in issuing a Protective Order without Apple’s proposed Section
            8      2019.210 provision, the Court failed to consider material facts that will hinder Apple’s
            9      ability to defend—and potentially resolve—the trade secret misappropriation claim in
          10       this case.
          11             With respect to Section 10, Apple requested a patent acquisition bar for the same
          12       reasons that the parties agreed warrant a patent prosecution bar. The Court denied
          13       Apple’s request without explanation and, in doing so, appears to have failed to consider
          14       the risks of inadvertent disclosure and competitive misuse previously articulated by
          15       Apple throughout its portion of the Joint Stipulation (Dkt. No. 61-1, at 47-49)—
          16       particularly by these Plaintiffs who are highly litigious and have shown time and again
          17       that they are willing to sue companies they view as a threat to their business. Apple
          18       respectfully submits that in a case like this one—where the parties and the Court agree
          19       that a patent prosecution bar is necessary—it makes perfect sense to likewise put in place
          20       a patent acquisition bar that prohibits Plaintiffs’ counsel who actually review Apple’s
          21       sensitive technical material from participating in patent acquisitions relating to that
          22       material’s subject matter until two years after the case ends. Indeed, Plaintiffs failed to
          23       present any facts that weigh in favor of the alternative result adopted by this Court.
          24             Apple respectfully submits that without these proposed Sections 9.3 and 10
          25       provisions, Apple’s ability to defend itself in this litigation will be significantly
          26       impaired, and its sensitive, technical information will be at an unacceptably high risk of
          27       inadvertent disclosure and competitive misuse. The Court should reconsider Sections
          28       9.3 and 10, and enter an amended Protective Order containing Apple’s proposals on

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            1      these two issues.
            2                                             BACKGROUND
            3            Recognizing that this litigation will involve some of Apple’s most valuable and
            4      highly confidential information, for over three months Apple diligently negotiated the
            5      terms of a protective order with Plaintiffs.       Apple sought the protections that it
            6      reasonably believes it needs to defend itself against Plaintiffs’ asserted patent and trade
            7      secret claims, and to protect its sensitive and confidential information and trade secrets
            8      in the process. Despite Apple’s best efforts, the parties arrived at an impasse on several
            9      issues. The parties briefed those issues to the Court in a Joint Stipulation filed on June
          10       26, 2020. Apple appended to that Joint Stipulation its proposed protective order;
          11       Plaintiffs did the same with their proposed protective order.
          12             On June 30, 2020, the Court entered the Protective Order. Dkt. No. 67. The
          13       Protective Order adopts certain of Apple’s proposed provisions, while rejecting others
          14       in favor of Plaintiffs’ proffered provisions. The Protective Order was not accompanied
          15       by a written memorandum or decision. Apple therefore has no insight into the Court’s
          16       reasons for rejecting certain of Apple’s proposed protective order provisions—
          17       including, of relevance to this Motion, the Section 2019.210 language Apple proposed
          18       for Section 9.3 and the acquisition bar Apple proposed for Section 10.
          19                                         STANDARD OF REVIEW
          20             “A district court has the inherent power to reconsider and modify its interlocutory
          21       orders prior to the entry of judgment.” Smith v. Massachusetts, 543 U.S. 462, 475
          22       (2005); Fed. R. Civ. P. 54(b) (“[A]ny order or other decision . . . that adjudicates fewer
          23       than all the claims or the rights and liabilities of fewer than all the parties . . . may be
          24       revised at any time before the entry of a [final] judgment.”). Local Rule 7-18 provides
          25       that a motion for reconsideration may be filed on the following grounds: “(a) a material
          26       difference in fact or law from that presented to the Court before such decision that in the
          27       exercise of reasonable diligence could not have been known to the party moving for
          28       reconsideration at the time of such decision, or (b) the emergence of new material facts

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                                                                                                                  Exhibit 2
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            1      or a change of law occurring after the time of such decision, or (c) a manifest showing
            2      of a failure to consider material facts presented to the Court before such decision.” Local
            3      R. 7-18. This Motion is brought under subsection (c) of Local Rule 7-18.
            4                                                ARGUMENT
            5      A.     Disclosure of Plaintiffs’ Section 2019.210 Statement to a Limited Number of
                          Apple’s In-House Counsel (Section 9.3)
            6
                          Apple sought access for three of its in-house counsel to Plaintiffs’ Section
            7
                   2019.210 disclosure given the integral role Apple’s in-house counsel plays in defending
            8
                   cases like this one. Far from identifying their trade secrets with reasonable particularity
            9
                   more than six months into this case, Plaintiffs have yet to even adequately plead those
          10
                   purported trade secrets under Federal Rule of Civil Procedure 8. See Dkt. No. 60, at 6-
          11
                   8. As a result, Apple does not know what trade secrets Plaintiffs believe Apple
          12
                   misappropriated or where the alleged trade secrets could be found. Apple therefore
          13
                   cannot identify or return any alleged trade secret information. This situation is untenable
          14
                   and unfair now, but it will be even worse if Apple’s in-house counsel cannot access the
          15
                   Section 2019.210 disclosure when Plaintiffs finally produce one. At that point, Plaintiffs
          16
                   will be able to demand trade secret-related discovery, but Apple’s in-house counsel will
          17
                   have no ability to provide direction or input on discovery responses or documents. Nor
          18
                   will Apple’s in-house counsel be able to form any independent conclusions as to the
          19
                   merits of the trade secret claim—certainly not as to any possibility of its resolution.
          20
                   Apple therefore respectfully submits that the Court failed to consider the negative impact
          21
                   that will result on this litigation—including its potential resolution—if only the Court
          22
                   and Apple’s outside counsel have access to a particularized description of the alleged
          23
                   trade secrets at issue.
          24
                         In determining whether in-house counsel should be permitted to view the
          25
                   opposing party’s trade secrets, the Ninth Circuit has advised courts to balance the risk
          26
                   to the producing party of inadvertent disclosure of its trade secrets to competitors against
          27
                   the risk to the receiving party that protection of the trade secrets will impair the receiving
          28

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            1      party’s defense. See Brown Bag Software v. Symantec Corp., 960 F.2d 1465, 1470 (9th
            2      Cir. 1992). A crucial inquiry is whether in-house counsel was involved in “competitive
            3      decisionmaking”—i.e., giving advice or participating in decisions about product design,
            4      pricing, and the like in light of similar or corresponding information about a competitor.
            5      Id. (citing U.S. Steel Corp. v. United States, 730 F.2d 1465 (Fed. Cir. 1984)).
            6            Against this backdrop, courts throughout this Circuit routinely permit a limited
            7      number of in-house counsel to access attorneys’ eyes only information—including
            8      Section 2019.210 disclosures—in trade secret cases. See, e.g., Mastronardi Int’l Ltd. v.
            9      SunSelect, 2019 WL 3996608, at *9 (E.D. Cal. Aug. 23, 2019) (permitting disclosure of
          10       attorneys’ eyes only material to any number of designated in-house counsel who are not
          11       involved in competitive decision-making, to whom disclosure is reasonably necessary
          12       for the litigation, and who have agreed to be bound by the protective order); Transcript
          13       of Case Management Proceedings, Waymo LLC v. Uber Techs., Inc., No. C 17-00939
          14       WHA (N.D. Cal. March 16, 2017), ECF No. 63 (permitting disclosure of highly
          15       confidential materials to one in-house counsel upon his or her agreement to be bound by
          16       the protective order); Order at 10, Bladeroom Grp. Ltd., v. Facebook, Inc., No. CV-15-
          17       01370-EJD (N.D. Cal. Aug. 3, 2015) ECF No. 54 (permitting disclosure of attorneys’
          18       eyes only material to two designated in-house counsel who have no involvement in
          19       competitive decision-making, to whom disclosure is reasonably necessary for the
          20       litigation, and who have agreed to be bound by the protective order); MMCA Grp., Ltd.
          21       v. Hewlett-Packard Co., 2009 WL 595537, at *1 (N.D. Cal. Mar. 5, 2009) (granting two
          22       of defendants’ in-house attorneys access to attorneys’ eyes only material given small
          23       risk of disclosure where the “attorneys who would be given access to AEO materials
          24       would be litigation attorneys with no involvement” in defendants’ business affairs).
          25       Apple is ready and willing to designate attorneys from its litigation group who are not
          26       competitive decision makers and who are willing to be bound by the Protective Order.
          27             As Apple previously explained, disclosure to in-house counsel is essential in this
          28       case for the same reasons it was essential in the other cases in this Circuit where in-

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            1       house counsel have been permitted access to highly confidential information, including
            2       Section 2019.210 disclosures. See Dkt. No. 61-1, at 47-49. In particular, Apple’s in-
            3       house counsel plays a key role in organizing document discovery in this case, and
            4       therefore needs to know the identity of the purported trade secrets so that it can manage
            5       the search for documents responsive to Plaintiffs’ discovery requests and also prevent
            6       disclosure of Apple’s trade secrets in the process. Id. at 48. This is not a case where
            7       outside counsel is—or could be—solely responsible for the collection and review of
            8       documents responsive to the opposing party’s requests. Apple’s in-house counsel is
            9       essential to the process, and will be unable to do their job with respect to the trade secret
          10        side of the case if they cannot learn what the alleged trade secrets are.
          11              Moreover, Apple genuinely does not believe that it possesses any of Plaintiffs’
          12        trade secrets—nor does it want access to any of that information. Apple’s in-house
          13        counsel needs to know what information Plaintiffs claim Apple misappropriated so that
          14        it can excise the information from Apple’s products as soon as possible (to the extent
          15        the claim has merit) and mitigate damages consistent with its duty under the law. Id.
          16        Indeed, while Apple’s outside counsel is capable of defending Apple against Plaintiffs’
          17        claim of trade secret misappropriation in the courtroom, Apple’s outside counsel will be
          18        powerless when it comes to altering Plaintiffs’ products and/or mitigating damages if
          19        they learn that Plaintiffs’ alleged trade secrets are incorporated into Apple’s products
          20        and cannot advise Apple of that fact. For these reasons, Apple submits that it is highly
          21        appropriate—and, indeed, necessary—for a limited number of its in-house counsel to be
          22        permitted access to the Section 2019.210 disclosure served in this action. It appears that
          23        in denying Apple’s request for Section 2019.210 disclosure access, the Court failed to
          24        consider these material facts.
          25              Importantly, granting Apple’s in-house counsel the access it seeks would not
          26        impose any significant harm on Plaintiffs—and certainly not any harm that outweighs
          27        that which will result to Apple if its in-house counsel cannot even discern the purported
          28        trade secrets the company is alleged to have misappropriated. The risk of disclosure is

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            1       particularly minimal here where, by nature of their trade secret misappropriation claim,
            2       Plaintiffs have alleged that Apple already has possession of their trade secrets. If
            3       Plaintiffs’ trade secret information is already in Apple’s possession as Plaintiffs contend,
            4       Plaintiffs should have no qualms about sharing that information with the limited number
            5       of persons at Apple directly involved in the defense of this lawsuit. Moreover, the in-
            6       house counsel for whom Apple will seek access are not involved in competitive
            7       decision-making. Therefore, this case is akin to the many other cases throughout this
            8       Circuit where courts have found the risk of inadvertent disclosure outweighed by the
            9       need for effective legal decision making.
          10                 The balance of hardships favors Apple’s position on this issue. The potential
          11        harm to Plaintiffs in disclosing their confidential information to an extremely limited
          12        number of Apple’s in-house counsel is far outweighed by the impact the preclusion of
          13        such information will have on Apple’s ability to defend this case. Apple’s request for
          14        access for the three in-house counsel integrally involved in the defense of this action,
          15        who are not involved in competitive decision-making for the company, is reasonable
          16        under the standard set out in similar cases in this Circuit. 3 This Court should grant
          17        Apple’s Motion for Reconsideration with respect to this issue, and modify Section 9.3
          18        of the Protective Order accordingly.
          19        B.       Inclusion of an Acquisition Bar (Section 10)
          20                 In addition to the patent prosecution bar that both parties agree is necessary in this
          21        case involving sensitive, technical information, Apple also sought an acquisition bar—
          22        to prohibit any of Plaintiffs’ counsel who actually review Apple’s sensitive, technical
          23        material from participating in patent acquisitions relating to that material’s subject
          24        matter until two years after the case ends. See Dkt. No. 61-1, at 59-62. The current
          25        Protective Order gives opposing counsel who review Apple’s sensitive, technical
          26
          27             3
                          While Apple would prefer that access be granted to more than three of its in-house
                    counsel, given the number of in-house counsel involved in this case, Apple narrowed its
          28        request to three in-house counsel in response to Plaintiffs’ confidentiality concerns. At
                    a minimum, Apple respectfully requests access for two of these in-house counsel.
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            1       material carte blanche to participate in patent acquisitions relating to that material’s
            2       subject matter—even though this case necessarily will involve the production of some
            3       of Apple’s most confidential and sensitive technical information that could be misused
            4       during the process of advising on an acquisition just as readily as it can be misused
            5       during patent prosecution. Apple submits that the Court failed to consider material facts
            6       demonstrating the high risks of inadvertent disclosure and competitive misuse in this
            7       case created by a Protective Order without an acquisition bar.
            8             Plaintiffs seek access to Apple’s highly confidential, sensitive, and valuable,
            9       source code. The disclosure of source code carries significant risks of inadvertent
          10        disclosure and competitive misuse. See, e.g., Telebuyer, LLC v. Amazon.com, Inc., 2014
          11        WL 5804334, at *2 (W.D. Wash. July 7, 2014) (describing source code as “highly
          12        confidential, technical information” that poses a “heightened risk of inadvertent
          13        disclosure”) (citation omitted); Applied Signal Tech., Inc. v. Emerging Markets
          14        Commc’ns, Inc., 2011 WL 197811, at *2 (N.D. Cal. Jan. 20, 2011) (“confidential
          15        technical documents, including source code . . . may pose a heightened risk of
          16        inadvertent disclosure”). The concerns about the detrimental impact any inadvertent
          17        public disclosure of Apple’s source code and technical documentation would have on
          18        Apple’s business is particularly heightened here—where Plaintiffs are highly litigious
          19        companies that that have shown time and again that they are willing to sue companies
          20        they view as a threat to their business and who have been involved in numerous corporate
          21        acquisitions, including two announced just this year.
          22              Given these facts, it is necessary to restrict Plaintiffs’ counsel who review Apple’s
          23        sensitive, technical information from later assisting Plaintiffs in the acquisition of
          24        patents covering the disclosed technology. The rationale for an acquisition bar of the
          25        type Apple seeks is well-established: “It is very difficult for the human mind to
          26        compartmentalize and selectively suppress information once learned, no matter how
          27        well-intentioned the effort may be to do so.” In re Deutsche Bank Tr. Co. Ams., 605
          28        F.3d 1373, 1378 (Fed. Cir. 2010) (alteration omitted) (quoting FTC v. Exxon Corp., 636

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            1       F.2d 1336, 1350 (D.C. Cir. 1980)). Notwithstanding general provisions “specifying that
            2       designated confidential information may be used only for purposes of the current
            3       litigation,” and notwithstanding the good faith of all individuals involved, courts
            4       recognize that “there may be circumstances in which even the most rigorous efforts . . .
            5       to preserve confidentiality . . . may not prevent inadvertent compromise.” Id.; see also
            6       Catch A Wave Techs., Inc. v. Sirius XM Radio, Inc., 2013 WL 9868422, at *1 (N.D. Cal.
            7       Aug. 6, 2013) (“The patent acquisition bar . . . adds an additional layer of protection by
            8       prohibiting not just disclosure and use, but also advising.”).
            9             Plaintiffs themselves recognized and endorsed these settled principles when they
          10        agreed to a prosecution bar nearly identical in scope to Apple’s proposed acquisition
          11        bar. The justification underlying both provisions is identical: it will be difficult, if not
          12        impossible, for an individual who has seen Apple’s highly confidential information
          13        (such as its source code and technical design documents) to segregate that information
          14        mentally when later advising on patent prosecution or acquisition related to that
          15        information. The risks of inadvertent disclosure and competitive misuse are the same
          16        with respect to both prosecution and acquisition:
          17                     Counsel for Plaintiff has acquiesced to the imposition of a
          18                     patent prosecution bar, and, therefore, apparently agrees that
                                 there could possibly be a risk of inadvertent disclosure of
          19                     Defendants’ confidential information in the course of
          20                     representing their client before the PTO. Therefore, it is hard
                                 to conceive that there would be little or no risk of inadvertent
          21                     disclosure when these same attorneys advise their client in
          22                     matters regarding acquisitions of patents.
          23
                    E-Contact Techs., LLC v. Apple, Inc., 2012 WL 11924448, at *2 (E.D. Tex. June 19,
          24
                    2012); see also EPL Holdings, LLC v. Apple Inc., 2013 WL 2181584, at *4 (N.D. Cal.
          25
                    May 20, 2013) (explaining that patent acquisition and prosecution create the same risk
          26
                    of inadvertent use because “litigation counsel may consciously or subconsciously use
          27
                    their knowledge . . . to advise a client on which patents to acquire”). Far from novel, the
          28

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            1       acquisition bar Apple requested—and that this Court denied without explanation—has
            2       been routinely granted by courts throughout the country in situations like this one. See,
            3       e.g., Order at 5, Realtime Adaptive Streaming LLC v. Google LLC, No. 18-CV-03629
            4       (C.D. Cal. July 18, 2019), ECF No. 80; Intellectual Ventures I, LLC v. Lenovo Group
            5       Ltd., 2019 WL 343242, at *4 (D. Mass. Jan. 25, 2019); Order at 3, Uniloc USA, Inc. v.
            6       Apple Inc., No. 18-CV-00572 (N.D. Cal. July 2, 2018), ECF No. 107; Order at 10, Univ.
            7       of Va. Patent Found. v. Gen. Elec. Co., No. 14-CV-00051 (W.D. Va. June 11, 2015),
            8       ECF No. 61; Telebuyer, 2014 WL 5804334, at *7; Inventor Holdings, LLC v. Google,
            9       Inc., 2014 WL 4369504, at *2 (D. Del. Aug. 27, 2014); Catch A Wave Techs., Inc., 2013
          10        WL 9868422, at *1; EPL Holdings, LLC, 2013 WL 2181584, at *5; Unwired Planet
          11        LLC v. Apple Inc., 2013 WL 1501489, at *7 (D. Nev. Apr. 11, 2013); Transcript at 29:20-
          12        30:4, Intellectual Ventures I LLC v. Altera Corp., No. 10-CV-00065 (D. Del. Aug. 1,
          13        2012), ECF No. 145; E-Contact Techs., LLC, 2012 WL 11924448, at *2; cf. Blackbird
          14        Tech LCC v. Serv. Lighting & Elec. Supplies, Inc., 2016 WL 2904592, at *6 (D. Del.
          15        May 18, 2016) (requiring covenant not to sue on patents acquired during duration of
          16        protective order).
          17              It is undisputed that there is a significant risk of inadvertent disclosure by
          18        attorneys that review Apple’s confidential, highly confidential and source code
          19        information in patent prosecution. That same risk equally applies when the attorneys
          20        are involved in patent acquisitions. The material fact that the risk is the same for patent
          21        prosecution and patent acquisition appears to have been overlooked by the Court because
          22        the acquisition bar was not included in the Protective Order. Therefore, Apple requests
          23        reconsideration to include the patent acquisition bar to address this material fact.
          24                                                CONCLUSION
          25              For the foregoing reasons, Apple respectfully requests that the Court amend the
          26        Protective Order to (1) permit disclosure of Plaintiffs’ Section 2019.210 disclosure to at
          27        least two of Apple’s in-house counsel; and (2) include an acquisition bar preventing any
          28        of Plaintiffs’ counsel who actually review Apple’s sensitive technical material from

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            1       participating in patent acquisitions relating to that material’s subject matter until two
            2       year after the case ends.
            3
            4       Dated: July 8, 2020                    Respectfully submitted,
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                         EXHIBIT 3
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          17                           UNITED STATES DISTRICT COURT
          18     FOR THE CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
          19     MASIMO CORPORATION,                      CASE NO. 8:20-cv-00048-JVS (JDEx)
                 a Delaware corporation; and
          20     CERCACOR LABORATORIES, INC.,             APPLE’S OPPOSITION TO
                 a Delaware corporation,                  PLAINTIFFS’ APPLICATION TO
          21                                              SEAL DOCUMENTS FILED IN
                                    Plaintiffs,           SUPPORT OF APPLE’S OPPOSITION
          22                                              TO PLAINTIFFS’ MOTION FOR
                       v.                                 PRELIMINARY INJUNCTION
          23
                 APPLE INC.,                              No Hearing Noticed
          24     a California corporation,
                                                          Hon. James V. Selna
          25                        Defendant.
          26
          27
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Gibson, Dunn &
                 APPLE’S OPPOSITION TO PLAINTIFFS’
Crutcher LLP     APPLICATION TO SEAL DOCUMENTS FILED
                 IN SUPPORT OF APPLE’S OPPOSITION                  CASE NO. 8:20-CV-00048-JVS (JDEX)


                                                                                                       Exhibit 3
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            1          There is no basis in law or logic for Plaintiffs to request that this Court seal word
            2    for word quotations from published patents, including patents that Plaintiffs themselves
            3    identified and filed publicly in this case. Nonetheless, that is what Plaintiffs object to in
            4    Apple’s Opposition to Plaintiffs’ Motion for Preliminary Injunction: Comparisons of
            5    the exact language—with no modifications—set out in published patents.
            6          Plaintiffs’ Application to Seal Documents Filed in Support of Apple’s Opposition
            7    to Plaintiffs’ Motion for Preliminary Injunction (Dkt. Nos. 145–46) is contrary to Local
            8    Rule 79-5.2.2, which requires that any motion to seal must be “narrowly tailored to seal
            9    only the sealable material.” L.R. 79-5.2.2 (a)(ii). Far from being “narrowly tailored,”
          10     Plaintiffs seek to seal information that is already public, and thus cannot show any
          11     reason that it should be sealed, much less the required “good cause” or “compelling
          12     reasons why the strong presumption of public access in civil cases should be overcome.”
          13     L.R. 79-5.2.2 (a)(i). Plaintiffs’ request is likewise contrary to the Protective Order,
          14     which does not apply to public information. And finally, Plaintiffs position lacks any
          15     support in the law. In sum, the request is frivolous, should therefore be denied, and the
          16     Court should issue an Order to Show Cause why Plaintiffs should not be sanctioned for
          17     filing the request. See Local Rule 11-9.
          18     I.    Plaintiffs Are Attempting to Seal Quotes From Published Patents
          19           In its Opposition to Plaintiffs’ Motion for a Preliminary Injunction (“Opposition”)
          20     (Dkt. Nos. 138–43), Apple took great care to redact every characterization Plaintiffs
          21     made concerning what constitutes their alleged trade secrets. The only relevant portions
          22     of its filings that Apple left unredacted are direct quotations from U.S. Patent No.
          23     10,219,754 (“the ’754 patent”), which Plaintiffs themselves already made public on this
          24     docket. For example, Plaintiffs filed the ’754 patent as an unredacted, public exhibit to
          25     their First Amended Complaint (“FAC”) (Dkt. No. 28), and alleged in the FAC that the
          26     ’754 patent contains their trade secrets. See FAC ¶ 220 & Ex. 30. Further, Plaintiffs
          27     described in an unredacted portion of their Second Amended Complaint (Dkt, No. 88-2
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                                                                                                                 Exhibit 3
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            1    (redacted version)) (“SAC”) how the ’754 allegedly contains subject matter that was
            2    allegedly obtained from Plaintiffs:
            3          For example, Claim 1 of the ’754 Patent recites a method for estimating
            4          physiological parameters when modulated light from a first light source and a
            5          second light source is emitted toward a body part of a user, the method
            6          comprising determining a first multiplier value by: turning on the first light
            7          source; generating a first initial signal in response to capturing a first light
            8          sample corresponding to the first light source; demodulating the first initial
            9          signal to produce first initial demodulated signals; filtering and decimating the
          10           first initial demodulated signals; and determining the first multiplier value
          11           based on the filtered and decimated first initial demodulated signals;
          12           determining a second multiplier value by: turning on the second light source;
          13           generating a second initial signal in response to capturing a second light
          14           sample corresponding to the second light source; demodulating the second
          15           initial signal to produce second initial demodulated signals; filtering and
          16           decimating the second initial demodulated signals; and determining the
          17           second multiplier value based on the filtered and decimated second initial
          18           demodulated signals; capturing multiple light samples while the first light
          19           source and the second light source are turned on to emit modulated light
          20           toward the body part of the user and converting the multiple light samples into
          21           a captured signal; demodulating the captured signal to produce multiple
          22           demodulated signals; performing a first decimation stage by: low pass
          23           filtering each demodulated signal; and decimating each demodulated signal;
          24           performing a second decimation stage after the first decimation stage by: low
          25           pass filtering each demodulated signal; and decimating each demodulated
          26           signal; demultiplexing each demodulated signal after the second decimation
          27           stage to produce a first signal associated with the first light source and a
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Crutcher LLP     APPLICATION TO SEAL DOCUMENTS FILED
                 IN SUPPORT OF APPLE’S OPPOSITION            2           CASE NO. 8:20-CV-00048-JVS (JDEX)


                                                                                                             Exhibit 3
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            1          second signal associated with the second light source; multiplying the first
            2          signal by the first multiplier value using a first multiplier circuit to obtain a
            3          first conditioned signal; multiplying the second signal by the second
            4          multiplier value using a second multiplier circuit to obtain a second
            5          conditioned signal; and analyzing the first conditioned signal and the second
            6          conditioned signal to estimate the physiological parameter of the user.
            7    SAC ¶ 266. Thus, The contents of the ’754 patent were already made public by Plaintiffs
            8    themselves, and Apple has every right—as does anyone else—to quote this public
            9    document in unsealed filings and compare it, as Apple does, with other published
          10     patents.
          11           There cannot be good cause to seal public documents like the patents that Apple
          12     quotes. For example, courts, including this Court, routinely and appropriately deny
          13     motions to seal information that a party has already filed publicly in the same action.
          14     See, e.g., Joint Equity Comm. of Inv’rs of Real Estate Partners, Inc. v. Coldwell Banker
          15     Real Estate Corp., 2012 WL 234396, at *2 (C.D. Cal. 2012) (“Defendants’ assertions of
          16     confidentiality are frivolous in large part because Plaintiffs have already filed many of
          17     the same documents without seal on the public docket.”); Prospect Capital Corp. v.
          18     Enmon, No. 08 CIV. 3721 (LBS), 2010 WL 2594633, at *2 (S.D.N.Y. June 23, 2010),
          19     aff’d in part and remanded, 675 F.3d 138 (2d Cir. 2012) (“Arnold & Itkin’s motion to
          20     file exhibits under seal is also denied. As Arnold & Itkin concedes, the documents it
          21     attempts to seal have already been filed with the Court as exhibits to its Supplemental
          22     Memorandum of Law.”); see also Apple, Inc. v. Samsung Elecs. Co., Ltd., 2014 WL
          23     722489, at *1 (N.D. Cal. 2014) (finding that a request to seal figures that were already
          24     revealed in a publicly filed brief “goes too far”); Cooke v. Town of Colorado City, Ariz.,
          25     2013 WL 3155411, at *2 (D. Ariz. 2013) (“There can be no secrets in previously publicly
          26     disclosed records that no one has previously sought to protect. As a result, there can be
          27     no good cause or compelling reasons to keep such non-existent ‘secrets.’”). Because
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                                                                                                              Exhibit 3
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            1    Plaintiffs already filed the entirety of the ’754 patent without seal on the public docket,
            2    they cannot show as a matter of law any basis for requesting that the Court now seal
            3    quotations from that patent.
            4          Moreover, even if Plaintiffs did not publicly file the ’754 patent on the docket,
            5    their request to seal would still be frivolous, because patents are public documents that
            6    cannot by definition contain anything secret. See Ultimax Cement Mfg. Corp. v. CTS
            7    Cement Mfg. Corp., 587 F.3d 1339, 1355 (Fed. Cir. 2009) (“[I]t is well established that
            8    disclosure of a trade secret in a patent places the information comprising the secret into
            9    the public domain. Once the information is in the public domain and the element of
          10     secrecy is gone, the trade secret is extinguished.”); Henry Hope X–Ray Prods., Inc. v.
          11     Marron Carrel, Inc., 674 F.2d 1336, 1342 (9th Cir. 1982) (“Matters disclosed in a patent
          12     publication destroy any trade secret contained therein.”); Forcier v. Microsoft Corp.,
          13     123 F. Supp. 2d 520, 528 (N.D. Cal. 2000) (“It is well established that the disclosure of
          14     a trade secret in a patent places the information comprising the secret into the public
          15     domain.”). Thus, Plaintiffs’ assertion that “mere publication in a patent does not
          16     automatically show specific information is ‘generally known’ under California law”
          17     (Application at 2) is simply false. Under any applicable law, the subject matter of the
          18     ’754 patent is in the public domain.
          19           Plaintiffs cite Kittrich Corp. v. Chilewich Sultan, LLC, 2013 WL 12131376, at *4
          20     (C.D. Cal., Feb. 20, 2013), for the proposition that publication on the Internet does not
          21     necessarily destroy information’s status as a trade secret. Application at 2. The court in
          22     Kittrich, however, explained that “[p]ublication on the Internet does not necessarily
          23     destroy the secret if the publication is sufficiently obscure or transient or otherwise
          24     limited so that it does not become generally known to the relevant people, i.e., potential
          25     competitors or other persons to whom the information would have some economic
          26     value.” Kittrich, 2013 WL 12131376, at *4 (citation omitted) (emphasis added). By
          27     contrast, a published patent is not akin to some obscure website that may never be visited
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                 APPLE’S OPPOSITION TO PLAINTIFFS’
Crutcher LLP     APPLICATION TO SEAL DOCUMENTS FILED
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            1    by the “relevant people,” particularly when the relevant people here are “persons of
            2    ordinary skill in the art” who are presumed to know all prior patents in the relevant field.
            3    See Custom Accessories, Inc. v. Jeffrey-Allan Industries, Inc., 807 F.2d 955, 962 (Fed.
            4    Cir. 1986). Because the entire ’754 patent is public, there can be no basis for sealing
            5    direct quotations from it.
            6          Notwithstanding that everything in the ’754 is public, Plaintiffs attempt to assert
            7    that the Court should seal quotations from that patent because they allege that the quoted
            8    material constitutes their trade secrets. Application at 2. That does not mean the
            9    information is still secret; it does not unpublish the ’754 patent. Plaintiffs also attempt
          10     to argue that portions of the ’754 patent should be sealed because “knowing which
          11     particular techniques Plaintiffs use or consider effective is valuable information that
          12     competitors could use to improperly compete against Plaintiffs.” Id. at 1–2. This
          13     argument is also meritless.       Again, anyone can review the patent and see this
          14     information. Furthermore, the two other patents that Apple quotes in comparison with
          15     the ’754 patent (U.S. Patent Nos. 8,471,713 and 9,861,305) are Plaintiffs’ patents—the
          16     quoted language is language that they made public.
          17           Plaintiffs have not established any good cause or compelling reasons to seal
          18     quotations from the ’754 patent—either in this request, or their prior request to file their
          19     Motion for a Preliminary Injunction under seal. Specifically, nothing in the declaration
          20     filed in support of Plaintiffs prior request even mentions the ’754 patent, or demonstrates
          21     any compelling reason to seal a publicly available document. See Dkt. No. 111, ¶ 4.1
          22     Plaintiffs repeat the same arguments in their current request, but again fail to show any
          23     good cause for sealing a public patent. When Apple informed the Court that it intends
          24     to oppose Plaintiffs’ sealing request, Plaintiffs added an additional purported
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                     Plaintiffs point to the fact that the Court granted their Application to Seal their Motion
                 for a Preliminary Injunction (Dkt. No. 110), but the Court granted Plaintiffs’ application
          27     the very next day (Dkt. No. 113), and there was no basis to argue then or now that the
                 Application meant that Apple could not quote public patents in its defense without
          28     referencing any of Plaintiffs’ internal documents.

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Crutcher LLP     APPLICATION TO SEAL DOCUMENTS FILED
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                                                                                                                  Exhibit 3
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            1    justification for their request by asserting that the information should be sealed because
            2    it was marked “HIGHLY CONFIDENTIAL – ATTORNEYS EYES ONLY.” But the
            3    Local Rules are clear that simply because “the information may have been designated
            4    confidential pursuant to a protective order is not sufficient justification for filing under
            5    seal.” L.R. 79-5.2.2 (a)(i). Thus, Plaintiffs’ designation under the Protective Order
            6    cannot support their argument for sealing.
            7          In sum, there is nothing to justify sealing quotations from a publicly available
            8    patent that Plaintiffs themselves filed without seal on the docket and described in their
            9    complaints.
          10     II.   The Court Should Issue an Order to Show Cause Why Plaintiffs Should Not
          11           Be Sanctioned for Filing a Frivolous Sealing Request
          12           It is appropriate for a court to issue sanctions when a party files frivolous sealing
          13     requests. See Nevro Corp. v. Bos. Sci. Corp., 312 F. Supp. 3d 804, 805 (N.D. Cal. 2018)
          14     (sanctioning law firm $500 per lawyer involved for “objectively frivolous” sealing
          15     requests that had “no legitimate justification” and “therefore [were] in clear violation of
          16     Rule 11 of the Federal Rules of Civil Procedure”). As discussed above, nothing in
          17     Plaintiffs’ Application justifies their sealing request. Requesting to seal quotations
          18     comparing two public patents—including from one that Plaintiffs already filed publicly
          19     in this action—is the height of frivolity and a clear Rule 11 violation. It also highlights
          20     the greater problem here: Plaintiffs are going to any lengths to stop Apple from showing
          21     that the trade secret claims in this case have been baseless from the outset.
          22           Accordingly, Apple respectfully requests that the Court issue an Order to Show
          23     Cause why Plaintiffs should not be sanctioned for their frivolous sealing request.
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                 APPLE’S OPPOSITION TO PLAINTIFFS’
Crutcher LLP     APPLICATION TO SEAL DOCUMENTS FILED
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            1    Dated: August 25, 2020                Respectfully submitted,
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                                                       By: /s/ Joshua H. Lerner
            8                                              Joshua H. Lerner
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                 APPLE’S OPPOSITION TO PLAINTIFFS’
Crutcher LLP     APPLICATION TO SEAL DOCUMENTS FILED
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    14
    15                    IN THE UNITED STATES DISTRICT COURT

    16                 FOR THE CENTRAL DISTRICT OF CALIFORNIA

    17                               SOUTHERN DIVISION

    18
         MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
    19   a Delaware corporation; and            )
         CERCACOR LABORATORIES, INC.,           ) Hon. James V. Selna
    20   a Delaware corporation                 ) Magistrate Judge John D. Early
                                                )
    21               Plaintiffs,                ) REPLY IN SUPPORT OF
                                                ) PLAINTIFFS’ APPLICATION TO
    22         v.                               ) SEAL DOCUMENTS FILED IN
                                                ) SUPPORT OF APPLE’S
    23   APPLE INC., a California corporation   ) OPPOSITION TO PLAINTIFFS’
                                                ) MOTION FOR PRELIMINARY
    24                                          ) INJUNCTION
                     Defendant.                 )
    25                                          )
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                                                                                     Exhibit 4
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     1         Apple’s opposition rests entirely on a strawman: that Plaintiffs
     2   supposedly seek to seal quotations from patents or public filings. But quoting
     3   isolated statements from public documents is not the issue. The issue is the way
     4   that Apple compiled and presented the information.
     5         Apple’s Opposition to Plaintiffs’ Motion for Preliminary Injunction
     6   purports to “walk[] through each bullet point of Plaintiffs alleged trade secrets
     7   (Br. at 7-11) and demonstrate[] that each was disclosed in either the ’713 Patent,
     8   the ’305 Patent, or both, before the publication of Apple’s ’754 Patent.” Dkt.
     9   140 at 8. But Apple did far more than just quote the ’713 Patent and ’305
    10   Patents in isolation. For example, Apple included an “Appendix” with two
    11   columns: one column that lists each bullet point of Plaintiffs’ combination trade
    12   secret and a second column purportedly quoting separate publications. Dkt.
    13   140-1. Apple redacted the first column but not the second column. Thus, Apple
    14   did not merely quote public documents.         Apple cobbled together separate
    15   publications, had its expert opine that the publications could “be used together,”
    16   and then asserted that the hindsight combination reflects Plaintiffs’ trade secret.
    17   See Dkt. 142 ¶ 142.1
    18         Plaintiffs should be permitted to redact such information because it
    19   operates to identify a combination that Plaintiffs allege is a trade secret.
    20   “[C]ompetitors could not obtain [the information] anywhere else.” See Apple
    21   Inc. v. Samsung Elecs. Co., Ltd., 727 F.3d 1229, 1221 (Fed. Cir. 2013). Indeed,
    22   even “combinations of public information from a variety of different sources
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           Apple also suggests Plaintiffs disclosed their trade secret in the Second
    26   Amended Complaint. Dkt. 148 at 2-3. But the paragraph Apple quoted was in
         Plaintiffs’ correction of inventorship cause of action. See Dkt. 88-2 ¶ 266.
    27   Plaintiffs merely quoted Claim 1 of the patent—just as Plaintiffs did for all
    28   other patents that they seek to correct inventorship.

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                                                                                               Exhibit 4
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     1   when combined in a novel way can be a trade secret.” Metricolor LLC v.
     2   L'oreal S.A., 2020 WL 3802942, at *12 (C.D. Cal. July 7, 2020).
     3         Plaintiffs asked this Court to seal the combination that Plaintiffs allege is
     4   a trade secret in its Motion for Preliminary Injunction, Apple did not oppose,
     5   and this Court granted Plaintiffs’ application. Dkt. 110; Dkt. 113. Plaintiffs
     6   designated the sealed material “HIGHLY CONFIDENTIAL – ATTORNEYS
     7   EYES ONLY” pursuant to the Protective Order. See Dkt. 111-1 at 7-9. Under
     8   the Court’s Protective Order, Apple had an obligation to not disclose such
     9   information except to authorized individuals. Dkt. 67 ¶ 9.3. To challenge that
    10   designation, Apple must meet and confer with Plaintiffs and file a motion if the
    11   parties are unable to resolve their dispute.        Id ¶¶ 8.1-8.4.    “Unless the
    12   Designating Party has waived or withdrawn the confidentiality designation, all
    13   parties shall continue to afford the material in question the level of protection to
    14   which it is entitled under the Producing Party’s designation until the Court rules
    15   on the challenge.” Id. ¶ 8.4. The Protective Order in this case provides the
    16   procedure that Apple was required to follow.           Instead of following that
    17   procedure, Apple simply published the information.
    18         Finally, Apple’s arguments on the merits of Plaintiffs’ claim are also
    19   inappropriate on a procedural application to seal. As Apple’s previously cited
    20   authority explains, the issue of public disclosure in a patent is a factual issue
    21   “for the jury to decide.” Atl. Research Mktg. Sys., Inc. v. Troy, 659 F.3d 1345,
    22   1357 (Fed. Cir. 2011) (emphasis added). Until then, courts should “preserve the
    23   secrecy” of an “alleged trade secret.” See Cal. Civ. Code § 3426.5. The Ninth
    24   Circuit has explained that “compelling reasons” to seal exist “when . . . court
    25   files have become a vehicle for improper purposes, such as the use of records to
    26   . . . release trade secrets.” Kamakana v. City and County of Honolulu, 447 F.3d
    27   1172, 1179 (9th Cir. 2006). Accordingly, Plaintiffs respectfully request the
    28   Court grant their application to seal.
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                                                                                                Exhibit 4
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     1                                Respectfully submitted,
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     3
         Dated: August 26, 2020       By: /s/ Adam B. Powell
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                                                                                     Exhibit 4
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                         EXHIBIT 5
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     6                             NOTE: CHANGES MADE BY THE COURT
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    11                    IN THE UNITED STATES DISTRICT COURT
    12                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
    13                                 SOUTHERN DIVISION
    14
         MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
    15   a Delaware corporation; and            )
         CERCACOR LABORATORIES, INC.,           ) Hon. James V. Selna
    16   a Delaware corporation                 ) Magistrate Judge John D. Early
                                                )
    17               Plaintiffs,                ) ORDER GRANTING
                                                ) PLAINTIFFS’ APPLICATION TO
    18         v.                               ) SEAL DOCUMENTS FILED IN
                                                ) SUPPORT OF APPLE’S
    19   APPLE INC., a California corporation   ) OPPOSITION TO PLAINTIFFS’
                                                ) MOTION FOR PRELIMINARY
    20                                          ) INJUNCTION
                     Defendant.                 )
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                                                                                     Exhibit 5
                                                                                        -122-
 Case 8:20-cv-00048-JVS-JDE Document 336-3 Filed 04/08/21 Page 129 of 129 Page ID
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     1         Having considered Plaintiffs’ Application To Seal Documents Filed In
     2   Support Of Apple’s Opposition To Plaintiffs’ Motion For Preliminary
     3   Injunction and finding good cause therefor, the Application is GRANTED.
     4         IT IS HEREBY ORDERED THAT the clerk shall seal the following
     5   docket entries:
     6         (1)    Defendant Apple Inc’s Application to File Under Seal Apple’s
     7                Opposition to Plaintiffs’ Motion For Preliminary Injunction And
     8                Supporting Documents (Dkt. 138);
     9         (2)    Apple’s Opposition To Plaintiffs’ Motion For Preliminary
    10                Injunction (Dkt. 140); and
    11         (3)    The Declaration Of Majid Sarrafzadeh In Support Of Apple’s
    12                Opposition To Plaintiffs’ Motion For Preliminary Injunction (Dkt.
    13                142).
    14         Plaintiffs shall file public redacted copies of the above documents
    15   within 48 hours.
    16
    17   DATED :August 27, 2020
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    19                                               __________________________
    20                                               The Honorable James V. Selna
                                                     United States District Judge
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                                                                                          Exhibit 5
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